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                                                                   EXHIBIT FORM
       EXHIBITS OF
       DEFENDANTS                                                           Bad River Band of the Lake Superior Tribe
                                                                        of Chippewa Indians of the Bad River Reservation
 ENBRIDGE ENERGY, LP
  ENBRIDGE ENERGY                                                                                       v.
    COMPANY, INC.
                                                                                Enbridge Energy Company, Inc. and
   Case No. 3:19-cv-00602                                                       Enbridge Energy, Limited Partnership

Date        Identification                                                         Description                                                        Offers, Objections,
         No.        Witness                                                                                                                           Rulings, Exceptions
1999    DX-0001                  1999 Metcalf, Gilbert E & Kevin A. Hassett, Measuring the Energy Savings (ENB00490180 - ENB00490192)                 May Use


1999    DX-0002                  1999 Metcalf, Gilbert E. A distributional analysis of green tax reforms (ENB00490193 - ENB00490219)                  May Use


2002    DX-0003                  2002 Waterborne Commerce Statistics Center Region-to-Region Public Domain Data Base (ENB00431232 -                   May Use
                                 ENB00431652)

2003    DX-0004                  Integrated Streambank Protection Guidelines (BRB208042 - BRB208666)                                                  Will Use

2006    DX-0005                  Mercury Concentrations in Wild Rice, Bad River Watershed, Wisconsin, 2006,                                           May Use
                                 https://www.sciencebase.gov/catalog/item/5d63dbaae4b01d82ce986c44

2008    DX-0006                  Hansen, et al. Sources and sinks of Escherichia coli in benthic and pelagic fish, 2008 (ENB00425993 - ENB00425999)   May Use


2010    DX-0007                  2010 Grainger, Corbett A., and Charles D. Kolstad, Who Pays a Price on Carbon (ENB00490137 - ENB00490154)            May Use


2011    DX-0008                  Dig report (ENB00424688 - ENB00424729)                                                                               May Use


2012    DX-0009                  2012 Enbridge's Line 9B Reversal and Line 9 Capacity Expansion Project Application (ENB00438536 -                    May Use
                                 ENB00438589)

2014    DX-0010                  2014 RECS Data re Michigan Residential Propane (ENB00489961 - ENB00489963)                                           May Use


2014    DX-0011                  2014 RECS Data re Wisconsin Residential Propane (ENB00489964 - ENB00489966)                                          May Use




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Date       Identification                                                      Description                                                     Offers, Objections,
        No.        Witness                                                                                                                     Rulings, Exceptions
2015   DX-0012               2015 RECS Table CE5.8 (ENB00489967 - ENB00489971)                                                                 May Use


2016   DX-0013               PADD 1 and 3 Transportation Fuels Markets 2016 (ENB00439113 - ENB00439267)                                        May Use


2016   DX-0014               United Refining 10-k 2016 (ENB00641088)                                                                           May Use

2016   DX-0015               Enbridge 2018 Inland Spill Response Tactics Guide (ENB00612418 - ENB00612595)                                     May Use


2016   DX-0016               French McCay, Potential effects thresholds for oil spill risk assessments, 2016 (ENB00648472 - ENB00648489)       May Use


2017   DX-0017               PADD 2 and 4 Transportation Fuels Markets 2017 (ENB00439268 - ENB00439418)                                        May Use


2017   DX-0018               Portland Pipeline Form 6 2017 (ENB00439830 - ENB00439901)                                                         May Use


2017   DX-0019               2017 Wisconsin Governor Walker Executive Order 268 (ENB00440905 - ENB00440906)                                    May Use


2017   DX-0020               Fitzpatrick et al., Flood of July 2016 in Northern Wisconsin and the Bad River Reservation, 2017 (ENB00425355 -   May Use
                             ENB00425392)

2018   DX-0021               2018 CAPP Crude Oil Forecast, Markets and Transportation (ENB00436746 - ENB00436795)                              May Use


2018   DX-0022               Inter Pipeline, Delivery Energy, NGL Processing (ENB00438476 - ENB00438477)                                       May Use


2018   DX-0023               2018 NAPA Asphalt Pavement Industry Survey (ENB00438478 - ENB00438523)                                            May Use


2018   DX-0024               2018 PBF Energy Annual Report (ENB00439602 - ENB00439829)                                                         May Use


2018   DX-0025               Portland Pipeline Form 6 2018 (ENB00439902 - ENB00439974)                                                         May Use


2018   DX-0026               2018 Public Domain Data, Waterborne Statistics Commerce Center, USACE (ENB00431653 - ENB00432029)                 May Use


2018   DX-0027               Enbridge Inland Spill Response Tactics Guide, 2018 (ENB00645037 - ENB00645214)                                    May Use

2019   DX-0028               ATRI Operational Costs of Trucking 2019 (ENB00436695 - ENB00436742)                                               May Use




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Date       Identification                                                   Description                                     Offers, Objections,
        No.        Witness                                                                                                  Rulings, Exceptions
2019   DX-0029               Dakota Access Form 6 2019 (ENB00436852 - ENB00436929)                                          May Use


2019   DX-0030               FERC Form 6, 2019 (ENB00437078 - ENB00437159)                                                  May Use


2019   DX-0031               2019 Enbridge Line 5 NGL Composition (ENB00437233 - ENB00437233)                               May Use

2019   DX-0032               Explorer Form 6 2019 (ENB00437500 - ENB00437585)                                               May Use


2019   DX-0033               Flanagan South Form 6 2019 (ENB00437591 - ENB00437665)                                         May Use


2019   DX-0034               Hardin Street Form 6 2019 (ENB00437668 - ENB00437746)                                          May Use


2019   DX-0035               Imperial 10-K 2019 (ENB00437898 - ENB00438084)                                                 May Use


2019   DX-0036               PBF 2019 10K (ENB00439421 - ENB00439583)                                                       May Use


2019   DX-0037               Portland Pipeline Form 6 2019 (ENB00439975 - ENB00440046)                                      May Use


2019   DX-0038               SAE Form 6 2019 (ENB00440130 - ENB00440205)                                                    May Use


2019   DX-0039               2019 Royal Dutch Shell PLC Investor's Handbook (ENB00440211 - ENB00440337)                     May Use

2019   DX-0040               Spearhead Form 6 2019 (ENB00440338 - ENB00440417)                                              May Use


2019   DX-0041               St Lawrence Seaway Traffic Report 2019 (ENB00440423 - ENB00440471)                             May Use


2019   DX-0042               Suncor 2019 Annual Report (ENB00440481 - ENB00440644)                                          May Use


2019   DX-0043               2019 CN Investor Fact Book (ENB00429999 - ENB00430051)                                         May Use


2019   DX-0044               2019 US Bureau of Economic Analysis - Table SAGDP2N (ENB00431222 - ENB00431224)                May Use


2019   DX-0045               2019 Average Retail Prices for Auto Propane in Canada (ENB00489972 - ENB00489980)              May Use


2019   DX-0046               Line 5 PE-IR, MP 1165 Circumferential ILI Features – 2019 Update (ENB00417589 - ENB00417600)   May Use


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Date       Identification                                                       Description                                                      Offers, Objections,
        No.        Witness                                                                                                                       Rulings, Exceptions
2019   DX-0047               Healthy Pets, Healthy People. E. Coli Infection. Centers for Disease Control and Prevention, 2019 (ENB00425965 -    May Use
                             ENB00425967)

2020   DX-0048               2020 Liquid Pipelines Customer Handbook (ENB00436622 - ENB00436641)                                                 May Use


2020   DX-0049               Argus Media article -AltaGas could double Ridley volumes in 2020 (ENB00436691 - ENB00436694)                        May Use


2020   DX-0050               Hardin Street Form 6 2020 (ENB00437747 - ENB00437822)                                                               May Use


2020   DX-0051               Imperial 10-K 2020 (ENB00438085 - ENB00438287)                                                                      May Use


2020   DX-0052               Mid Valley Form 6 2020 (ENB00438721 - ENB00438796)                                                                  May Use


2020   DX-0053               2020 Oil & Gas Journal Worldwide Refining Survey (ENB00439093 - ENB00439111)                                        May Use


2020   DX-0054               2020 Average Throughput and Capacity at Key Pipeline Points, CER, Natural Gas Pipeline Transportation System        May Use

2020   DX-0055               PBF Logistics December 2020 Form 10-K (ENB00640647 - ENB00640815)                                                   May Use


2020   DX-0056               American Truck Drivers 2020 (ENB00430686 - ENB00430703)                                                             May Use


2020   DX-0057               Action Plan to Reduce the Impact of Noise on the Beluga Whale (Delphinapterus leucas) and Other Marine Mammals at   May Use
                             Risk in the St. Lawrence Estuary (ENB00664301 - ENB00664339)

2021   DX-0058               Canada Energy Regulator - Canada’s Pipeline System 2021 - Natural Gas Pipeline Transportation System                May Use
                             (ENB00436796 - ENB00436821)

2021   DX-0059               2021 Biggs Appraisal, Subjects of Value - The Inspection and Appraisal of Rail Equipment, Vol. 16 Iss. 1            May Use
                             (ENB00430704 - ENB00430705)

2021   DX-0060               2021 Petroleum Driver Shortage at a Glance Fact Sheet, National Tank Truck Carriers (ENB00430848 -                  May Use
                             ENB00430849)

2021   DX-0061               2021 Weinstein, Clower and Assoc., Regional Impact of Enbridge Line 5 Shutdown (ENB00490454 - ENB00490470)          May Use


2021   DX-0062               2021 Discharge Scenarios (ENB00435294 - ENB00435305)                                                                May Use




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  Date           Identification                                                        Description                                                    Offers, Objections,
              No.        Witness                                                                                                                      Rulings, Exceptions
 7/7/1960    DX-0063               Bad River Indian Reservation - Revised Ownership List (ENB00000354 - ENB00000365)                                  May Use


1/28/1977    DX-0064               T.I.A.S. No. 8720 (U.S. Treaty), 28 U.S.T. 7449 (U.S. Treaty), 1977 WL 181731 (U.S. Treaty)                        May Use


 8/3/1979    DX-0065               Interpretation Response #PI-79-027, letter to Mr. Leo L. Andrews, Duncan, Oklahoma (ENB00425134 -                  May Use
                                   ENB00425134)

11/30/1979   DX-0066               PUBLIC LAW 96-129-NOV. 30, 1979. (ENB00425142 - ENB00425169)                                                       May Use


 8/6/1984    DX-0067               Interpretation Response #PI-84-0103, letter to The Honorable Thomas A. Luken, House of Representatives,            May Use
                                   Washington, D.C. (ENB00425135 - ENB00425139)

5/28/1991    DX-0068               Interpretation Response # PI-91-015, letter to The Honorable Jerry F. Costello, U.S. House of Representative       May Use
                                   (ENB00425140 - ENB00425141)

11/5/1992    DX-0069               Letter from Charles H. Andresen to David Siegler re: Lakehead Pipe Line Company, Limited Partnership- Bad River    Will Use
                                   Indian Reservation Easement [sic], Our File No. 10039 -38 (ENB00190295 - ENB00190297)

12/23/1992   DX-0070               Agreement between the Bad River Band of the Lake Superior Tribe of Chippewa Indians of the Bad River Reservation   May Use
                                   in Wisconsin and Lakehead Pipe Line Company, LP (BRB018206 - BRB018211)

12/23/1992   DX-0071               Agreement (ENB00040375 - ENB00040380)                                                                              Will Use


 2/1/1993    DX-0072               Letter from Donald Moore, Sr. to Robin Jaeger re: Lakehead Pipe Line Easement (BRB004097 - BRB004098)              Will Use


6/30/1994    DX-0073               Hydraulic Design of Flood Control Channels, Engineer Manual (ENB00664673 - ENB00664855)                            Will Use


Dec. 1996    DX-0074               USDA Streambank and Shoreline Protection Guidelines (ENB00664856 - ENB00664998)                                    Will Use

Jun. 1999    DX-0075               FERC Cost of Service Rates Manual (ENB00426533 - ENB00426638)                                                      Will Use


6/11/1999    DX-0076               Deed ID 430 10180_430 3H322 (BRB098305 - BRB098309)                                                                Will Use


7/15/1999    DX-0077               Deed ID 430 5871 (BRB098172 - BRB098175)                                                                           Will Use


7/15/1999    DX-0078               Deed ID 430 6596 (BRB098195 - BRB098196)                                                                           Will Use




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  Date           Identification                                                     Description                Offers, Objections,
              No.        Witness                                                                               Rulings, Exceptions
7/16/1999    DX-0079               Deed ID 430 5899_ee_430 3H22 (BRB098428 - BRB098432)                        Will Use


8/11/1999    DX-0080               Deed ID 430 6603 (BRB098197 - BRB098198)                                    Will Use


8/16/1999    DX-0081               Deed ID 430 10943 (BRB098147 - BRB098152)                                   Will Use

8/22/1999    DX-0082               Deed ID 430 6072 (BRB098176 - BRB098177)                                    Will Use


9/15/1999    DX-0083               Deed ID 430 6078 (BRB098178 - BRB098182)                                    Will Use


10/14/1999   DX-0084               Deed ID 430 6352 (BRB098185 - BRB098186)                                    Will Use


10/14/1999   DX-0085               Deed ID 430 6573 (BRB098191 - BRB098192)                                    Will Use


11/4/1999    DX-0086               Deed ID 430 6217_430 3B23 (BRB098095 - BRB098096)                           Will Use


11/4/1999    DX-0087               Deed ID 430 9707_430 3B23 and 430 E 266 (BRB098097 - BRB098101)             Will Use


11/18/1999   DX-0088               Deed ID 430 10942 (BRB098140 - BRB098146)                                   Will Use


11/23/1999   DX-0089               Deed ID 430 6287 (BRB098183 - BRB098184)                                    Will Use

11/23/1999   DX-0090               Deed ID 430 6574 (BRB098193 - BRB098194)                                    Will Use


11/24/1999   DX-0091               Deed ID 430 6188_ee_430 3H322 (BRB098433 - BRB098438)                       Will Use


12/6/1999    DX-0092               Certification with Deed to Restricted Indian Land (BRB054087 - BRB054091)   Will Use


 2/8/2000    DX-0093               Deed ID 430 10777_430 3H322 (BRB098353 - BRB098356)                         Will Use


 4/3/2000    DX-0094               Deed ID 430 6683 (BRB098199 - BRB098200)                                    Will Use


4/10/2000    DX-0095               Deed ID 430 6520 (BRB098189 - BRB098190)                                    Will Use


4/25/2000    DX-0096               Deed ID 430 6895 (BRB098201 - BRB098202)                                    Will Use


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  Date           Identification                                                      Description                                                    Offers, Objections,
              No.        Witness                                                                                                                    Rulings, Exceptions
 5/8/2000    DX-0097               Deed ID 430 6519 (BRB098187 - BRB098188)                                                                         Will Use


6/26/2000    DX-0098               Report of Encoding Error of TAAMS conveyance Document for Deed ID 430 6504_ee_430 S 13 (BRB098808 -              Will Use
                                   BRB098808)

7/19/2000    DX-0099               Deed ID 430 7192 (BRB098203 - BRB098204)                                                                         Will Use


 4/2/2001    DX-0100               Deed ID 430 8392_430 E 266 (BRB098686 - BRB098690)                                                               Will Use


 7/2/2001    DX-0101               Bad River Reservation Integrated Resources Management Plan (BRB023690 - BRB023847)                               May Use


 7/3/2001    DX-0102               Deed ID 430 7092_430 3H322 (BRB098439 - BRB098440)                                                               Will Use


10/3/2001    DX-0103               Deed ID 430 7237 (BRB098205 - BRB098206)                                                                         Will Use


10/16/2001   DX-0104               Letter from Mike Wiggins to John Downing Re: Great Lakes Gas Transmission Company Project Number PNW 01-         Will Use
                                   081: Erosion Control Maintenance (BRB190535-BRB190544)

11/7/2001    DX-0105               Email from Naomi Tillison re: CWA 401 Certification- Enbridge Meander Horizontal Directional Drilling Proposal   Will Use
                                   with attachments (BRB200589-BRB200634)

11/15/2001   DX-0106               Deed ID 430 7325 (BRB098207 - BRB098208)                                                                         Will Use

12/12/2001   DX-0107               Deed ID 430 7287.1 (BRB098736 - BRB098740)                                                                       Will Use


1/23/2002    DX-0108               Deed ID 430 7449 (BRB098209 - BRB098210)                                                                         Will Use


1/23/2002    DX-0109               Deed ID 430 9709_430 R 146 (BRB098746 - BRB098749)                                                               Will Use


2/26/2002    DX-0110               Deed ID 430 7474 (BRB098211 - BRB098212)                                                                         Will Use


3/25/2002    DX-0111               Deed ID 430 7513 (BRB098213 - BRB098214)                                                                         Will Use


4/26/2002    DX-0112               Deed ID 430 7522 (BRB098555 - BRB098555)                                                                         Will Use


6/25/2002    DX-0113               Deed ID 430 7640.1 (BRB098556 - BRB098559)                                                                       Will Use



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  Date           Identification                                                   Description                                          Offers, Objections,
              No.        Witness                                                                                                       Rulings, Exceptions
9/20/2002    DX-0114               Deed ID 430 11045_430 3H322 (BRB098375 - BRB098379)                                                 Will Use


10/24/2002   DX-0115               Deed ID 430 7815.1 (BRB098741 - BRB098745)                                                          Will Use


11/12/2002   DX-0116               Deed ID 430 10951_430 E 266 (BRB098625 - BRB098636)                                                 Will Use

11/13/2002   DX-0117               MEMO For Your Information from R. Dashner re: Bad River Revetment Project (BRB252175 - BRB252175)   Will Use


2/12/2003    DX-0118               Deed ID 430 7937.1 (BRB098124 - BRB098127)                                                          Will Use


 3/4/2003    DX-0119               Deed ID 430 8052_430 3H322 (BRB098441 - BRB098444)                                                  Will Use


4/21/2003    DX-0120               Deed ID 430 8085_ee_430 3H322 (BRB098445 - BRB098449)                                               Will Use


4/22/2003    DX-0121               Deed ID 430 8142_430 3H322 (BRB098454 - BRB098457)                                                  Will Use


 5/5/2003    DX-0122               Deed ID 430 8131_430 3H322 (BRB098450 - BRB098453)                                                  Will Use


 6/3/2003    DX-0123               Deed ID 430 8178 (BRB098215 - BRB098216)                                                            Will Use


10/21/2003   DX-0124               Deed ID 430 8527 (BRB098223 - BRB098225)                                                            Will Use

10/28/2003   DX-0125               Deed ID 430 8534 (BRB098236 - BRB098237)                                                            Will Use


10/29/2003   DX-0126               Deed ID 430 8526 (BRB098217 - BRB098222)                                                            Will Use


10/31/2003   DX-0127               Deed ID 430 8533 (BRB098232 - BRB098235)                                                            Will Use


10/31/2003   DX-0128               Deed ID 430 8546 (BRB098238 - BRB098239)                                                            Will Use


11/3/2003    DX-0129               Deed ID 430 8561 (BRB098240 - BRB098250)                                                            Will Use


11/4/2003    DX-0130               Deed ID 430 8562 (BRB098251 - BRB098254)                                                            Will Use


11/5/2003    DX-0131               Deed ID 430 8610 (BRB098255 - BRB098257)                                                            Will Use


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  Date           Identification                                                    Description                                                     Offers, Objections,
              No.        Witness                                                                                                                   Rulings, Exceptions
12/16/2003   DX-0132               Deed ID 430 8678_430 3H322 (BRB098460 - BRB098461)                                                              Will Use


12/31/2003   DX-0133               Deed ID 430 8658_430 3H322 (BRB098458 - BRB098459)                                                              Will Use


 2/5/2004    DX-0134               Deed ID 430 8740 (BRB098258 - BRB098260)                                                                        Will Use

Mar. 2004    DX-0135               Great Lakes Gas Transmission Co. Plan View- Rock Revetment Layout (Phase One) (BRB251150 - BRB251152)           Will Use


 4/1/2004    DX-0136               Deed ID 430 10474_430 3H322 (BRB098332 - BRB098335)                                                             Will Use


6/23/2004    DX-0137               Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 6 -23-04-285 (BRB101128 - BRB101129)   Will Use


 7/2/2004    DX-0138               Deed ID 430 9226.1 (BRB098560 - BRB098565)                                                                      Will Use


7/10/2004    DX-0139               Deed ID 430 9296_430 3H322 (BRB098462 - BRB098463)                                                              Will Use


7/12/2004    DX-0140               Deed ID 430 9288 (BRB098261 - BRB098263)                                                                        Will Use


7/23/2004    DX-0141               Deed ID 430 9338_430 3H322 (BRB098464 - BRB098465)                                                              Will Use


 8/4/2004    DX-0142               Deed ID 430 9391_430 3H322 (BRB098466 - BRB098467)                                                              Will Use

8/11/2004    DX-0143               Deed ID 430 9366 (BRB098264 - BRB098265)                                                                        Will Use


8/18/2004    DX-0144               Deed ID 430 9441 (BRB098266 - BRB098268)                                                                        Will Use


8/25/2004    DX-0145               Deed ID 430 9462 (BRB098269 - BRB098270)                                                                        Will Use


8/25/2004    DX-0146               Deed ID 430 9426_430 3H322 (BRB098468 - BRB098469)                                                              Will Use


8/30/2004    DX-0147               Deed ID 430 9427_430 3H322 (BRB098470 - BRB098470)                                                              Will Use


Sep. 2004    DX-0148               Phase I Archaeological Survey Great Lakes Gas Transmission Company - Bad River Bank Revetment Project (WR-      Will Use
                                   0152) (BRB252249 - BRB252340)




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  Date           Identification                                                      Description                                                 Offers, Objections,
              No.        Witness                                                                                                                 Rulings, Exceptions
Sep. 2004    DX-0149                Phase I Archaeological Survey Great Lakes Gas Transmission Company - Bad River Bank Revetment Project (WR-   Will Use
                                    0152) (BRB252635 - BRB252638)

Sep. 2004    DX-0150                Great Lakes Gas Transmission Company Bad River Bank Revetment Project Threatened and Endangered Species      Will Use
                                    Report (BRB250967 - BRB251012)

Sep. 2004    DX-0151                Phase 1 Archaeological Survey-Great Lakes Gas Transmission Company-Bad River Bank Revetment Project          Will Use
                                    (BRB251013 - BRB251103)

 9/8/2004    DX-0152                Deed ID 430 9532_430 3H322 (BRB098478 - BRB098480)                                                           Will Use


9/22/2004    DX-0153                Deed ID 430 9522_430 E 266 (BRB098691 - BRB098697)                                                           Will Use


10/4/2004    DX-0154                Deed ID 430 9529_430 3H322 (BRB098471 - BRB098473)                                                           Will Use


10/11/2004   DX-0155                Deed ID 430 9599 (BRB098271 - BRB098275)                                                                     Will Use


11/4/2004    DX-0156                Deed ID 430 9687_430 3H322 (BRB098484 - BRB098493)                                                           Will Use


12/9/2004    DX-0157                Deed ID 430 9595_430 S 13 (BRB098809 - BRB098813)                                                            Will Use


12/22/2004   DX-0158                Letter from Carol Frost to Kevin Osterbauer with enclosures (BRB254121 - BRB254279)                          Will Use

12/28/2004   DX-0159                Deed ID 430 9652_430 S 13 (BRB098814 - BRB098817)                                                            Will Use


12/29/2004   DX-0160                Deed ID 430 9673_430 3H322 (BRB098481 - BRB098483)                                                           Will Use


 2/4/2005    DX-0161                Deed ID 430 9764_430 E 266 (BRB098703 - BRB098710)                                                           Will Use


 2/7/2005    DX-0162                Deed ID 430 9767_430 S 13 (BRB098818 - BRB098823)                                                            Will Use


 2/8/2005    DX-0163                Deed ID 430 9765_430 E 266 (BRB098711 - BRB098718)                                                           Will Use


 2/8/2005    DX-0164                Deed ID 430 9756_430 R 146 (BRB098750 - BRB098753)                                                           Will Use


2/24/2005    DX-0165                Deed ID 430 9799_430 3H322 (BRB098494 - BRB098496)                                                           Will Use



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 Date           Identification                                                     Description                                                 Offers, Objections,
             No.        Witness                                                                                                                Rulings, Exceptions
Mar. 2005   DX-0166                Addendum To Phase I Archaeological Survey Great Lakes Gas Transmission Company - Bad River Bank Revetment   Will Use
                                   Project (WR-0173) (BRB252341 - BRB252470)

Mar. 2005   DX-0167                Addendum to Phase I Archaeological Survey Great Lakes Gas Transmission Company Phase II Bad River Bank      Will Use
                                   Revetment Project (BRB251917 - BRB251982)

3/8/2005    DX-0168                Deed ID 430 9876_430 E 266 (BRB098719 - BRB098727)                                                          Will Use


3/30/2005   DX-0169                Deed ID 430 9890_430 S 13 (BRB098824 - BRB098827)                                                           Will Use


4/14/2005   DX-0170                Deed ID 430 9931_430 3H322 (BRB098505 - BRB098508)                                                          Will Use

4/21/2005   DX-0171                Deed ID 430 9908_430 3H322 (BRB098497 - BRB098500)                                                          Will Use


4/21/2005   DX-0172                Deed ID 430 9929 _430 3H322 (BRB098501 - BRB098504)                                                         Will Use


4/22/2005   DX-0173                Deed ID 430 10175_430 3H322 (BRB098301 - BRB098304)                                                         Will Use


4/22/2005   DX-0174                Deed ID 430 10187_430 3H322 (BRB098310 - BRB098313)                                                         Will Use


5/1/2005    DX-0175                Deed ID 430 9951_430 3H322 (BRB098513 - BRB098516)                                                          Will Use


5/3/2005    DX-0176                Deed ID 430 9943_430 3H322 (BRB098509 - BRB098512)                                                          Will Use


5/4/2005    DX-0177                Deed ID 430 9954_430 E 266 (BRB098728 - BRB098735)                                                          Will Use


5/9/2005    DX-0178                Deed ID 430 10004 (BRB098521 - BRB098525)                                                                   Will Use

5/13/2005   DX-0179                Deed ID 430 10330_430 3H322 (BRB098322 - BRB098324)                                                         Will Use


5/23/2005   DX-0180                Deed ID 430 10056_430 3H322 (BRB098282 - BRB098285)                                                         Will Use


5/28/2005   DX-0181                Deed ID 430 9961_430 3H322 (BRB098517 - BRB098520)                                                          Will Use


5/31/2005   DX-0182                Deed ID 430 9978 (BRB098276 - BRB098281)                                                                    Will Use




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  Date           Identification                                                      Description                                                     Offers, Objections,
              No.        Witness                                                                                                                     Rulings, Exceptions
6/21/2005    DX-0183                Email re: Re: Bad River Bank Revetment Project/BIA Forester Marking Trees (BRB252177 - BRB252177)                Will Use


6/22/2005    DX-0184                Email re: RE: Bad River Bank Revetment Project/BIA Forester Marking Trees (BRB252178 - BRB252178)                Will Use


7/19/2005    DX-0185                Meeting Notes - Great Lakes Gas Transmission Company Bad River Bank Revetment Project Phase 2 Bad River Tribal   Will Use
                                    Natural Resources Department Meeting (BRB252179 - BRB252181)

7/26/2005    DX-0186                Deed ID 430 10112_430 3H322 (BRB098286 - BRB098295)                                                              Will Use


Aug. 2005    DX-0187                Addendum To Phase I Archaeological Survey Great Lakes Gas Transmission Company - Bad River Bank Revetment        Will Use
                                    Project (WR-0191) (BRB252471 - BRB252634)

Aug. 2005    DX-0188                Addendum to Sept. 2004 Threatened & Endangered Species Report Great Lakes Gas Transmission Limited Partnership   Will Use
                                    Bad River Bank Revetment Project, Phase II (BRB251852 - BRB251916)

8/16/2005    DX-0189                Deed ID 430 10118_430 3H322 (BRB098296 - BRB098299)                                                              Will Use


8/23/2005    DX-0190                Coleman Engineering Company drawings: Great Lakes Gas Transmission Company Bad River Bank Revetment Project      Will Use
                                    Phase II (BRB254723 - BRB254723)

8/29/2005    DX-0191                Great Lakes Gas Transmission Limited Partnership Bad River Bank Revetment Project Phase 2 WIDNR, Chapter 30      Will Use
                                    Individual Permit Application, Supplemental Information (BRB255611 - BRB255612)

Sep. 2005    DX-0192                WDNR Technical Standard, Silt Curtain (1070), September 2005. (ENB00665017 - ENB00665019)                        May Use


 9/6/2005    DX-0193                Deed ID 430 10215_430 E 266 (BRB098566 - BRB098575)                                                              Will Use


 9/6/2005    DX-0194                Deed ID 430 10216_430 E 266 (BRB098576 - BRB098583)                                                              Will Use

9/22/2005    DX-0195                Deed ID 430 10224_430 E 266 (BRB098584 - BRB098590)                                                              Will Use


10/4/2005    DX-0196                Deed ID 430 10245_430 3H322 (BRB098318 - BRB098321)                                                              Will Use


10/13/2005   DX-0197                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 10 -13-05-179 (BRB101133 - BRB101135)   Will Use


10/18/2005   DX-0198                Deed ID 430 10230_430 3H233 (BRB098314 - BRB098317)                                                              Will Use




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  Date           Identification                                                        Description                                               Offers, Objections,
              No.        Witness                                                                                                                 Rulings, Exceptions
10/19/2005   DX-0199                Photo (NRE0067803)                                                                                           Will Use


10/19/2005   DX-0200                Photo (NRE0067811)                                                                                           Will Use


10/22/2005   DX-0201                Deed ID 430 10253 (BRB098102 - BRB098105)                                                                    Will Use

10/24/2005   DX-0202                Deed ID 430 10237_430 E 266 (BRB098591 - BRB098598)                                                          Will Use


10/25/2005   DX-0203                Deed ID 430 10239_430 E 266 (BRB098599 - BRB098603)                                                          Will Use


11/10/2005   DX-0204                Deed ID 430 10259_430 E 266 (BRB098604 - BRB098613)                                                          Will Use


12/5/2005    DX-0205                Great Lakes Gas Transmission Company Bad River Bank Revetment Project Phase II Ashland County, Wisconsin     Will Use
                                    Construction Drawings (BRB251153 - BRB251168)

1/25/2006    DX-0206                Deed ID 430 10364_430 R 49 (BRB098758 - BRB098762)                                                           Will Use

2/14/2006    DX-0207                Deed ID 430 10386_430 3H322 (BRB098325 - BRB098327)                                                          Will Use


2/16/2006    DX-0208                Site Plan (BRB251169 - BRB251170)                                                                            Will Use


2/27/2006    DX-0209                Deed ID 430 10385 (BRB098526 - BRB098531)                                                                    Will Use


 4/4/2006    DX-0210                Deed ID 430 10419 (BRB098532 - BRB098538)                                                                    Will Use


 6/3/2006    DX-0211                Deed ID 430 10463_430 3H322 (BRB098328 - BRB098331)                                                          Will Use


6/23/2006    DX-0212                Deed ID 430 10485 (BRB098539 - BRB098544)                                                                    Will Use


Aug. 2006    DX-0213                Report Of Geotechnical Investigation for Bad River Revetment Slope Stability Prepared For: Great Lakes Gas   Will Use
                                    Transmission Company – CEC Project No. Gd-05509 (BRB096437 - BRB096489)

 9/1/2006    DX-0214                Deed ID 430 10570_430 R 49 (BRB098763 - BRB098767)                                                           Will Use


11/21/2006   DX-0215                Deed ID 430 10602_430 S 13 (BRB098778 - BRB098780)                                                           Will Use




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  Date           Identification                                                       Description                                                        Offers, Objections,
              No.        Witness                                                                                                                         Rulings, Exceptions
12/18/2006   DX-0216                Deed ID 430 10614_430 E 266 (BRB098614 - BRB098616)                                                                  Will Use


1/17/2007    DX-0217                Deed ID 430 10653_430 3H322 (BRB098336 - BRB098338)                                                                  Will Use


 2/7/2007    DX-0218                Deed ID 430 10694_430 3H322 (BRB098339 - BRB098341)                                                                  Will Use

 3/5/2007    DX-0219                Deed ID 430 10708 (BRB098110 - BRB098112)                                                                            Will Use


3/12/2007    DX-0220                Deed ID 430 10705_430 3H322 (BRB098342 - BRB098344)                                                                  Will Use


3/16/2007    DX-0221                Deed ID 430 10714_430 R 49 (BRB098768 - BRB098771)                                                                   Will Use


3/27/2007    DX-0222                Deed ID 430 10779_430 3H322 (BRB098357 - BRB098366)                                                                  Will Use


3/30/2007    DX-0223                Deed ID 430 10709 (BRB098545 - BRB098549)                                                                            Will Use


3/30/2007    DX-0224                Deed ID 430 10711 (BRB098550 - BRB098554)                                                                            Will Use


 6/1/2007    DX-0225                Deed ID 430 10770_430 3H322 (BRB098348 - BRB098352)                                                                  Will Use


 6/7/2007    DX-0226                Deed ID 430 10766_430 3H322 (BRB098345 - BRB098347)                                                                  Will Use

 6/7/2007    DX-0227                Deed ID 430 10771_430 E 266 (BRB098617 - BRB098624)                                                                  Will Use


 9/1/2007    DX-0228                National Rail Freight Infrastructure Capacity and Investment Study, Association of American Railroads (ENB00430770   May Use
                                    - ENB00430838)

 9/4/2007    DX-0229                Deed ID 430 10807_430 3H322 (BRB098367 - BRB098370)                                                                  Will Use


12/19/2007   DX-0230                Deed ID 430 10862 (BRB098128 - BRB098139)                                                                            Will Use


 2/8/2008    DX-0231                Deed ID 430 10884_430 3H322 (BRB098371 - BRB098374)                                                                  Will Use

5/13/2008    DX-0232                The Rising Price of Hydrocarbons, Economic and Fiscal Budget Studies, Vol 2 No. 1 (ENB00490286 - ENB00490291)        May Use




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  Date           Identification                                                      Description                                         Offers, Objections,
              No.        Witness                                                                                                         Rulings, Exceptions
2/18/2009    DX-0233                PHMSA Pipeline Failure Report - Mid-Valley Pipeline Company (ENB00438859 - ENB00438905)              May Use


4/19/2009    DX-0234                Reuters Article, Sunoco Shuts Midwest Pipeline After Spill (ENB00440895 - ENB00440896)               May Use


3/12/2010    DX-0235                Deed ID 430 11134 (BRB098153 - BRB098157)                                                            Will Use

3/12/2010    DX-0236                Report of Encoding Error of TAAMS conveyance Document for Deed ID 430 10118_430 3H322 (BRB098300 -   Will Use
                                    BRB098300)

12/31/2010   DX-0237                Sunoco Logistics Partners L.P Form 10-K (ENB00440694 - ENB00440854)                                  May Use


 6/6/2011    DX-0238                Map of Bad River Reservation, Bad River Watershed, and the Penokee Mountain Ore Body                 Will Use


6/20/2011    DX-0239                Buckeye_sys_map_062011 (ENB00436744 - ENB00436744)                                                   May Use


 7/6/2011    DX-0240                Bad River Band Water Quality Standards (ENB00252055- ENB00252082)                                    May Use

12/5/2011    DX-0241                Dig report (ENB00424730 - ENB00424730)                                                               May Use


 6/6/2012    DX-0242                Oil & Gas Journal article -Cochin Pipeline reversal (ENB00439112 - ENB00439112)                      May Use


9/26/2012    DX-0243                Sunoco Press Release (ENB00440855 - ENB00440857)                                                     May Use


11/29/2012   DX-0244                In-Line-Inspection Run, Milepost 1164.6451 (ENB00424658 - ENB00424687)                               May Use


11/30/2012   DX-0245                In-Line-Inspection Run, Milepost 1168.9568 (ENB00424731 - ENB00424773)                               May Use


12/1/2012    DX-0246                In-Line-Inspection Run, Milepost 1169.1182 (ENB00424775 - ENB00424819)                               May Use


12/3/2012    DX-0247                Dig report (ENB00424821 - ENB00424821)                                                               May Use


 1/6/2013    DX-0248                Appraisal BIA Tract 430 3H46                                                                         Will Use

 1/6/2013    DX-0249                Appraisal BIA Tract 430 3B23                                                                         Will Use




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 Date           Identification                                                     Description               Offers, Objections,
             No.        Witness                                                                              Rulings, Exceptions
1/6/2013    DX-0250                Appraisal BIA Tract 430 3H22                                              Will Use


1/6/2013    DX-0251                Appraisal BIA Tract 430 S13                                               Will Use


1/6/2013    DX-0252                Appraisal BIA Tract 430 3H318                                             Will Use

1/6/2013    DX-0253                Appraisal BIA Tract 430 E33                                               Will Use


1/6/2013    DX-0254                Appraisal BIA Tract 430 3H308                                             Will Use


1/6/2013    DX-0255                Appraisal BIA Tract 430 R49                                               Will Use


1/6/2013    DX-0256                Appraisal BIA Tract 430 E532                                              Will Use


1/6/2013    DX-0257                Appraisals BIA Tract 430 R146                                             Will Use


1/6/2013    DX-0258                Appraisals BIA Tract 430 E266                                             Will Use


1/6/2013    DX-0259                Appraisals BIA Tract 430 R154                                             Will Use


2/5/2013    DX-0260                Letter from Realty Officer to Darryl Sayler (ENB00024080 - ENB00024080)   Will Use

2/5/2013    DX-0261                Letter to Darryl Sayler (ENB00024080 - ENB00024082)                       Will Use


3/8/2013    DX-0262                USDOI BIA Enbridge Right-of-way Application (ENB00003064 - ENB00003073)   Will Use


3/13/2013   DX-0263                Title Status Report for Tract 430 3352.pdf (ENB00000846 - ENB00000865)    May Use


3/13/2013   DX-0264                Title Status Report for Tract 430 3H322.pdf (ENB00000866 - ENB00000910)   May Use


3/13/2013   DX-0265                Title Status Report for Tract 430 E266.pdf (ENB00000979 - ENB00001025)    May Use


3/13/2013   DX-0266                Title Status Report for Tract 430 R49.pdf (ENB00001026 - ENB00001049)     May Use


3/13/2013   DX-0267                Title Status Report for Tract 430 3B23.pdf (ENB00001058 - ENB00001078)    May Use


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  Date           Identification                                                      Description                                                      Offers, Objections,
              No.        Witness                                                                                                                      Rulings, Exceptions
3/13/2013    DX-0268                Title Status Report for Tract 430 3H318.pdf (ENB00001095 - ENB00001138)                                           May Use


3/13/2013    DX-0269                Title Status Report for Tract 430 3H30B.pdf (ENB00001139 - ENB00001154)                                           May Use


3/13/2013    DX-0270                Title Status Report for Tract 430 S13.pdf (ENB00001173 - ENB00001210)                                             May Use

3/13/2013    DX-0271                Title Status Report for Tract 430 R146.pdf (ENB00001211 - ENB00001227)                                            May Use


3/13/2013    DX-0272                Title Status Report for Tract 430 3H46.pdf (ENB00001228 - ENB00001255)                                            May Use


3/13/2013    DX-0273                Title Status Report for Tract 430-E33.pdf (ENB00001256 - ENB00001275)                                             May Use


3/13/2013    DX-0274                Title Status Report for Tract 430 R154.pdf (ENB00001289 - ENB00001302)                                            May Use


 4/9/2013    DX-0275                Email string starting with email from Erik Arnold re: Enbridge easement renewals (BRB043053 - BRB043054)          Will Use


4/19/2013    DX-0276                Letter from Douglas B. Aller to Mike Wiggins, Jr. re: Pipeline Easement Renewal (ENB00001729)                     May Use


4/19/2013    DX-0277                Letter from Douglas Aller to Mike Wiggins re: Pipeline Easement Renewal (ENB00040381)                             Will Use


5/21/2013    DX-0278                Email re: Re: Enbridge (BRB110428 - BRB110428)                                                                    Will Use

 8/5/2013    DX-0279                Land Buy Back Program for Tribal Nations Real Estate Appraisal Methodologies                                      May Use


8/22/2013    DX-0280                Bad River MP 1165.10, Control Point Map – Superior Region (ENB00664386 - ENB00664393)                             May Use


10/3/2013    DX-0281                TORQ – Kerrobert Crude Oil Rail Terminal – Saskatchewan Construction Project, World Market Intelligence           May Use
                                    (ENB00432236 - ENB00432243)

10/7/2013    DX-0282                March 30, 2020 EIA Wholesale Propane Prices.xls (ENB00436990 - ENB00436990)                                       May Use


12/17/2013   DX-0283                Letter from Steven Marshik to Brian Meier re: 2014 Line 5 MP 1163.44 Valve Cut-In, EFRD Initiative (ENB00250668   Will Use
                                    - ENB00250671)

1/23/2014    DX-0284                Enbridge Proposed EFRD Location and Access Route Map (ENB00708582)                                                Will Use




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 Date           Identification                                                        Description                                                         Offers, Objections,
             No.        Witness                                                                                                                           Rulings, Exceptions
2/11/2014   DX-0285                Email string starting with email Mike Harris FW: Your schedule for next week - Bad River Meeting with attachments      Will Use
                                   (ENB00321017 - ENB00321021)

2/17/2014   DX-0286                Enbridge Proposed EFRD Location Utility Route Map (ENB00708580)                                                        Will Use


2/27/2014   DX-0287                Email string starting with email from Brian Meier RE: Your schedule for next week - Bad River Meeting with             Will Use
                                   attachments (ENB00335773 - ENB00335776)

3/19/2014   DX-0288                Wisconsin Rail Plan 2030, Chapter 4, Wisconsin Dept. of Transportation, adopted March 19, 2014 (ENB00432034 -          May Use
                                   ENB00432060)

3/19/2014   DX-0289                Wisconsin Rail Plan 2030, Chapter 2, Wisconsin Dept. of Transportation, adopted March 19, 2014 (ENB00432072 -          May Use
                                   ENB00432083)

3/19/2014   DX-0290                Wisconsin State Rail Plan 2030, Chapter 5, Wisconsin Department of Transportation, adopted March 19, 2014              May Use
                                   (ENB00432182 - ENB00432211)

3/28/2014   DX-0291                Enbridge Site Layout EFRD Map (ENB00708581)                                                                            Will Use


3/28/2014   DX-0292                Enbridge Revised Site Layout EFRD Map (ENB00708583)                                                                    Will Use


3/28/2014   DX-0293                EFRD Plan Site Layout Drawing (ENB00708589)                                                                            Will Use


3/28/2014   DX-0294                EFRD Plan Site Layout Drawing (ENB00708590)                                                                            Will Use


3/28/2014   DX-0295                Barr Transmittal Letter re: EFRD Site Layout Drawings (ENB00708591)                                                    Will Use


5/2/2014    DX-0296                Email re: RE: Enbridge Line 5 – MP 1163.44 Valve Cut-in & MP 1168.18 Valve Cut-in (BRB076481 - BRB076482)              Will Use

5/30/2014   DX-0297                Letter from Ervin Soulier, Jr. to Matthew McFarlane re: Environmental review of the right-of-way for the 88kV          Will Use
                                   transmission line operated by Xcel Energy-Northern States Power of Wisconsin across the Bad River Reservation with
                                   enclosures (BRB082995 - BRB083002)

Jun-2014    DX-0298                Dagmar Schmidt Etkin, Risk of Crude and Bitumen Pipeline Spills in the United States Analyses of Historical Data and   May Use
                                   Case Studies (1968-2012), June 2014 (ENB00435942 - ENB00435962)

7/2/2014    DX-0299                Email string starting with email from Sandra Dietz re: Enbridge pipeline renewal (BRB145950 - BRB145951)               Will Use




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  Date           Identification                                                        Description                                                       Offers, Objections,
              No.        Witness                                                                                                                         Rulings, Exceptions
7/25/2014    DX-0300                Order re: Probate No. P000111962 in connection with Tract 3B23 (BRB098828 - BRB098846)                               Will Use


11/14/2014   DX-0301                In-Line-Inspection Run, edig ID 17884 (ENB00424522 - ENB00424571)                                                    May Use


11/14/2014   DX-0302                In-Line-Inspection Run, edig ID 19817 (ENB00424822 - ENB00424882)                                                    May Use

12/4/2014    DX-0303                U.S. Rail Transportation of Crude Oil - Background and Issues for Congress, Congressional Research Service           May Use
                                    (ENB00431005 - ENB00431032)

12/11/2014   DX-0304                Letter from Enbridge to Bad River Reservation, Re Wetland Delineation Report, Enbridge Line 5, Milepost 1163 and     May Use
                                    1168 (BRB009666 - BRB009766)

 1/9/2015    DX-0305                Wisconsin Governor Walker Energy Emergency Declaration Press Release (ENB00440907 - ENB00440909)                     May Use


2/27/2015    DX-0306                Memorandum to Chris Gardner from Jessica Olson, Subject Enbridge Line 5, MP 1163 and 1168 EFRD Status Update         May Use
                                    (ENB00400175 - ENB00400181)

2/27/2015    DX-0307                Memorandum from Jessica Olson to Chris Gardner re Enbridge Line 5, MP 1163 and 1168 EFRD Status Update               Will Use
                                    (ENB00400177 - ENB00400181)

 3/9/2015    DX-0308                Email string starting with email from Lisa Wilson re: Recap - Wisconsin State of the Tribes address (ENB00335706 -   May Use
                                    ENB00335708)

3/13/2015    DX-0309                Deed ID 430 11453_430 S 13 (BRB098781 - BRB098783)                                                                   Will Use


3/27/2015    DX-0310                Line 5 PE-IR 2015 EMAT (ENB00424280 - ENB00424280)                                                                   May Use


3/27/2015    DX-0311                L5 MP 1184.3463 GW 124610, Acuren Inspection Field Report (ENB00654931 - ENB00654980)                                May Use

 4/1/2015    DX-0312                Letter from Ervin Soulier, Jr. to Richard Adams re: Environmental review of the right-of-way (BRB046279 -            May Use
                                    BRB046287)

 4/9/2015    DX-0313                Bad River Easement Renewal Project: Summery of meeting - 4/9/2015 (ENB00003996 - ENB00003997)                        May Use


4/23/2015    DX-0314                Rick Olivo, Bad River Tribe Receives Nearly 2.5 Million Drinking Water Package, apg.wi.com, June 21, 2022            May Use


4/30/2015    DX-0315                Rule Summary - Enhanced Tank Car Standards and Operational Controls for High-Hazard Flammable Trains, USDOT,         May Use
                                    last updated April 30, 2015 (ENB00430963 - ENB00430965)



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 Date           Identification                                                         Description                                                        Offers, Objections,
             No.        Witness                                                                                                                           Rulings, Exceptions
5/18/2015   DX-0316                Letter from Mike Wiggins Jr. to Richard Adams environmental review of the right-of-way (BRB046288 - BRB046296)         May Use


6/10/2015   DX-0317                Email string starting with email from Lissa Radke re: Tribal Council requests a presentation on Enbridge Pipeline #5   May Use
                                   (BRB151515)

6/10/2015   DX-0318                Letter from Ervin Soulier to Bradley Shamla (BRB011361 - BRB011369)                                                    Will Use


7/8/2015    DX-0319                Letter from Trent Wetmore to Ervin Soulier re: Request for Environmental Review of the Right-of-Way for Enbridge       May Use
                                   Energy, Limited Partnership's Line 5 (BRB002740 - BRB002742)

7/21/2015   DX-0320                Letter from Ervin Soulier to Trent Wetmore environmental review of the right-of-way (BRB002743 - BRB002745)            May Use

7/30/2015   DX-0321                Email from Trent Wetmore re: Proposed Dates to meet with Enbridge (BRB078967 - BRB078969)                              May Use


Aug. 2015   DX-0322                MPLX General August Web Site August 2015 (ENB00438906 - ENB00438987)                                                   May Use


8/3/2015    DX-0323                Email string starting with email from Trent Wetmore re: Proposed Dates to meet with Enbridge (ENB00658124 -            May Use
                                   ENB00658127)

8/6/2015    DX-0324                Meeting Agenda - Bad River Easement Discussion (ENB00677663 - ENB0067765)                                              May Use


8/6/2015    DX-0325                Agenda - Bad River Easement Discussion (ENB00677663 - ENB00677665)                                                     Will Use

8/11/2015   DX-0326                Calumet drops Superior oil terminal idea - Duluth News Tribune (ENB00430742 - ENB00430743)                             May Use


8/28/2015   DX-0327                Dig report (ENB00654805 - ENB00654853)                                                                                 May Use


9/1/2015    DX-0328                Letter from Trent Wetmore to Ervin Soulier re: Request for Environmental Review of the Right-of-Way for Enbridge       May Use
                                   Energy, Limited Partnership's Line 5 (BRB002747 - BRB002749)

9/16/2015   DX-0329                Transcript of BRB Tribal Council_2015 09 16 Transcript                                                                 Will Use


9/16/2015   DX-0330                BRB Tribal Council_2015 09 16 - audio                                                                                  Will Use

9/18/2015   DX-0331                Email string starting with email from Amy Back re: Amy Back has some questions for us (BRB080105 - BRB080106)          May Use




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  Date           Identification                                                        Description                                                        Offers, Objections,
              No.        Witness                                                                                                                          Rulings, Exceptions
9/30/2015    DX-0332                Letter from Jessica Strand to Matt Ruskosky re: Enbridge Energy - Pipeline Repair Work on the Bad River Reservation   May Use
                                    Line 5, Mileposts 1164.2392 with enclosures (BRB002498 - BRB002512)

10/1/2015    DX-0333                Email from Amy Back re: Enbridge Easement Renewal Process (BRB101561)                                                 May Use


10/12/2015   DX-0334                Dig report (ENB00654854 - ENB00654930)                                                                                May Use


10/19/2015   DX-0335                Email re: Enbridge Easement Renewal Process (BRB101561 - BRB101561)                                                   Will Use


10/20/2015   DX-0336                Email from Andrew Girga re: Bad River Letter, Line 5 MP 1164 Integrity Dig with attachment (BRB041008 -               May Use
                                    BRB041010)

10/20/2015   DX-0337                Letter from Larry Harness to Naomi Tillison re: Enbridge Energy, LP Line 5, Milepost (MP) 1164.2393 (BRB041009 -      Will Use
                                    BRB041010)

10/20/2015   DX-0338                Email re: Bad River Letter, Line 5 MP 1164 Integrity Dig (BRB041008 - BRB041008)                                      Will Use


10/29/2015   DX-0339                Email re: NNG Rib Lake Branch Line Potato River Crossing Replacement (BRB066776 - BRB066777)                          Will Use


10/29/2015   DX-0340                O&M Project Description form for project: Rib Lake Potato River Crossing Project (BRB066802 - BRB066804)              Will Use


11/11/2015   DX-0341                In-Line-Inspection Run, Milepost 1164.2394 (ENB00424606 - ENB00424656)                                                May Use

11/11/2015   DX-0342                L5 MP 1164.2394 GW 96860, Acuren Inspection Field Report (ENB00424657 - ENB00424657)                                  May Use


Jan. 2016    DX-0343                National Large Wood Design Manual (ENB00663620 - ENB00664284)                                                         Will Use


1/21/2016    DX-0344                Cobell Land Buy Back Mapping of Purchasable Tracts Slideshow (BRB054395 - BRB054395)                                  Will Use


1/22/2016    DX-0345                Email from Suzi Smith re: materials for tomorrow's (1/22) work session with attachment (BRB054392 - BRB054393)        Will Use


1/26/2016    DX-0346                Prepared Direct Testimony - Steven Levine (ENB00436457 - ENB00436600)                                                 May Use


 2/4/2016    DX-0347                Transcript of BRB Tribal Council_2016 02 04 Transcript                                                                May Use


 2/4/2016    DX-0348                BRB Tribal Council_2016 02 04 - audio                                                                                 Will Use



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 Date           Identification                                                       Description                                                      Offers, Objections,
             No.        Witness                                                                                                                       Rulings, Exceptions
2/12/2016   DX-0349                California planners reject Valero oil-by-rail project, Reuters (ENB00430706 - ENB00430714)                         May Use


3/4/2016    DX-0350                Letter from Robert Blanchard to Santee Lewis with attachment (BRB044662 - BRB044663)                               Will Use


3/11/2016   DX-0351                Environmental Strategy Meeting minutes and 3/11/16 handout (BRB178847 - BRB178853)                                 May Use

3/18/2016   DX-0352                Environmental Strategy Meeting minutes and Strategy Meeting Agenda (BRB178845 - BRB178846)                         May Use


4/15/2016   DX-0353                Strategy Team Meeting Agenda (BRB178843)                                                                           May Use


4/19/2016   DX-0354                Email string starting with email from Amy Back re: Enbridge Easement Renewal (BRB101603)                           May Use


5/6/2016    DX-0355                Grant and Cooperative Agreement Number D16AC000019 (BRB044588 - BRB044614)                                         Will Use


5/12/2016   DX-0356                Email re: Final Notes and Updates for May 13 Strategy Meeting: Updates on action items (BRB057165 - BRB057168)     Will Use


6/6/2016    DX-0357                Rights-of-Way, Great Lakes Natural Gas Transmission Company - Summary Sheet 2016 (BRB071925 - BRB071925)           Will Use


6/9/2016    DX-0358                Deed ID 430 10477 (BRB098106 - BRB098109)                                                                          Will Use


6/13/2016   DX-0359                Email from Amy Back re: Update and Allotees with attachments (BRB101619 - BRB101629)                               May Use

6/16/2016   DX-0360                Bad River Tribal Historic Preservation Office Section 106 NHPA Compliance On -Reservation Request for Review       Will Use
                                   Form (BRB238169 - BRB238172)

6/16/2016   DX-0361                Letter from Kelly Henry to Edith Leoso re: Northern Natural Gas, WIB22301 Rib Lake Branchline Dig Project On -     Will Use
                                   Reservation Request for Review for Section 106 NHPA Compliance (BRB066956 - BRB066963)

6/16/2016   DX-0362                Email re: NNG project review request on Bad River Reservation (BRB066955 - BRB066955)                              Will Use


7/18/2016   DX-0363                Draft Technical Support Document: Refinements to Minnesota’s Sulfate Water Quality Standard to Protect Wild Rice   May Use
                                   (ENB00425800 - ENB00425896)

7/26/2016   DX-0364                Dig report (ENB00654764 - ENB00654804)                                                                             May Use


8/3/2016    DX-0365                ADIOS-2 Help System. Version 2.0.12 dated (ENB00642908 - ENB00642908)                                              May Use



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 Date           Identification                                                         Description                                                          Offers, Objections,
             No.        Witness                                                                                                                             Rulings, Exceptions
8/17/2016   DX-0366                L5 MP 1186.6390 GW 128150, Acuren Inspection Field Report (ENB00654981 - ENB00655035)                                    May Use


8/24/2016   DX-0367                Dig report (ENB00655036 - ENB00655090)                                                                                   May Use


Sep-2016    DX-0368                Enbridge Pipeline Integrity 2016 Safety Case for Line 5 Superior-Iron River Segment, September 2016 (ENB00328866         May Use
                                   - ENB00328866; ENB00328955 - ENB00328987)

9/9/2016    DX-0369                Email string starting with email from Shane Yokom re: Enbridge Environmental [sic] Review Submittal Comments             May Use
                                   from Bad River Natural Resources Department (ENB00336387)

9/9/2016    DX-0370                Email string starting with email from Shane Yokom FW: Enbridge Environmental Review Submittal Comments from              Will Use
                                   Bad River Natural Resources Department with attachments (ENB00336387 - ENB00336402)

9/29/2016   DX-0371                Email from Santee Lewis re: Bad River - Land Buy-Back Program (BRB129713)                                                Will Use


9/30/2016   DX-0372                Email string starting with email from Trent Wetmore re: Enbridge Enviro nmental [sic] Review Submittal Comments          May Use
                                   from Bad River Natural Resources Department with attachments (ENB00324634)

9/30/2016   DX-0373                Letter from Trent Wetmore to Ervin Soulier re: Request for Environmental Review of the Right-of-Way for Enbridge         May Use
                                   Energy, Limited Partnership's Line 5 (ENB00324635 - ENB00324637)

10/5/2016   DX-0374                San Luis Obispo Planning Commission Denies Phillips 66's Oil Trains Project (ENB00430966 - ENB00430967)                  May Use


10/5/2016   DX-0375                Email re: Vaughn Creek Pipeline Exposure (BRB069834 - BRB069835)                                                         Will Use


10/6/2016   DX-0376                Transcript of BRB Tribal Council_2016 10 06 Transcript                                                                   May Use


10/6/2016   DX-0377                BRB Tribal Council_2016 10 06_I - audio                                                                                  Will Use

10/6/2016   DX-0378                BRB Tribal Council_2016 10 06_II - audio                                                                                 Will Use


10/8/2016   DX-0379                Crude realities for Bakken oil as Shell ditches W. Coast rail plan _ Reuters (ENB00430722 - ENB00430724)                 May Use


11/1/2016   DX-0380                Email string starting with email from Edith Leoso re: Northern Natural Gas - Section 106 review (BRB063644 -             May Use
                                   BRB063645)

11/4/2016   DX-0381                Letter from Larry Harness to Naomi Tillison re: Response to Conditions listed in Clean Water Act 401 Certification 9 -   May Use
                                   20-16-696 and Antidegradation Decision 9-20-16-695 (BRB168394 - BRB168395)



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  Date           Identification                                                        Description                                                   Offers, Objections,
              No.        Witness                                                                                                                     Rulings, Exceptions
11/8/2016    DX-0382                Conveyed Interests Report for Tract 430 4000754752_430 3H322 (BRB098419 - BRB098420)                             Will Use


11/14/2016   DX-0383                U.S. Department of Interior Bureau of Indian Affairs Land Titles and Records Office - Deed: 430 4000753003       Will Use
                                    (BRB098075; BRB098077)

11/14/2016   DX-0384                DOI Purchase Price Documents (BRB098075 - 098846)                                                                Will Use


11/14/2016   DX-0385                Deed ID 430 4000753003_430 3B23 (BRB098075 - BRB098078)                                                          Will Use


11/17/2016   DX-0386                Deed ID 430 4000754709 (BRB098122 - BRB098123)                                                                   Will Use


11/17/2016   DX-0387                Conveyed Interests Report for Tract 430 4000754749_430 3H322 (BRB098415 - BRB098416)                             Will Use


11/17/2016   DX-0388                Conveyed Interests Report for Tract 430 4000754767_430 3H322 (BRB098424 - BRB098425)                             Will Use


11/17/2016   DX-0389                Conveyed Interests Report for Tract 430 4000752370_430 E 266 (BRB098643 - BRB098646)                             Will Use

11/22/2016   DX-0390                Fact Sheet #1: Pipelines on the Bad River Reservation                                                            Will Use


11/25/2016   DX-0391                Conveyed Interests Report for Tract 430 4000752360_430 S 13 (BRB098784 - BRB098786)                              Will Use


11/30/2016   DX-0392                Deed ID 430 4000753637_430 3B23 (BRB098092 - BRB098094)                                                          Will Use


11/30/2016   DX-0393                Conveyed Interests Report for Tract 430 4000754194_430 S 13 (BRB098795 - BRB098801)                              Will Use


Dec-2016     DX-0394                PPT: Pipelines on the Bad River Reservation Prepared by the Bad River Natural Resources Department (BRB022703)   Will Use


12/1/2016    DX-0395                Deed ID 430 4000753177_430 3B23 (BRB098079 - BRB098082)                                                          Will Use


12/1/2016    DX-0396                Conveyed Interests Report for Tract 430 4000754766_430 3H322 (BRB098421 - BRB098423)                             Will Use


12/1/2016    DX-0397                Conveyed Interests Report for Tract 430 4000752390_430 E 266 (BRB098647 - BRB098653)                             Will Use

12/1/2016    DX-0398                Conveyed Interests Report for Tract 430 4000752409_430 E 266 (BRB098668 - BRB098673)                             Will Use




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  Date           Identification                                                       Description                                                 Offers, Objections,
              No.        Witness                                                                                                                  Rulings, Exceptions
12/1/2016    DX-0399                Conveyed Interests Report for Tract 430 4000752410_430 E 266 (BRB098674 - BRB098679)                          Will Use


12/1/2016    DX-0400                Conveyed Interests Report for Tract 430 4000752421_430 E 266 (BRB098680 - BRB098685)                          Will Use


12/1/2016    DX-0401                Conveyed Interests Report for Tract 430 4000755038 (BRB098754 - BRB098755)                                    Will Use

12/1/2016    DX-0402                Conveyed Interests Report for Tract 430 4000755039 (BRB098756 - BRB098757)                                    Will Use


12/1/2016    DX-0403                Conveyed Interests Report for Tract 430 4000755788_430 S 13 (BRB098804 - BRB098805)                           Will Use


12/2/2016    DX-0404                Email from Lissa Radke re: My final newsletter article (BRB078993)                                            May Use


12/2/2016    DX-0405                Email re: My final newsletter article (BRB078993 - BRB078993)                                                 Will Use


12/5/2016    DX-0406                Conveyed Interests Report for Tract 430 4000752402_430 E 266 (BRB098662 - BRB098667)                          Will Use


12/6/2016    DX-0407                Port of Montreal - News Release (ENB00437894 - ENB00437895)                                                   May Use


12/6/2016    DX-0408                Deed ID 430 4000752342 (BRB098158 - BRB098162)                                                                Will Use


12/6/2016    DX-0409                Conveyed Interests Report for Tract 430 4000754412_430 3H322 (BRB098411 - BRB098414)                          Will Use

12/7/2016    DX-0410                Pipelines within the Bad River Reservation - Map C. Pipelines by Right-of-Way Expiration Date (ENB00008318)   Will Use


12/12/2016   DX-0411                Deed to Indian Land (Deed ID: 430 4000752549) with attachments (BRB054092 - BRB054101)                        Will Use


12/12/2016   DX-0412                Conveyed Interests Report for Tract 430 4000751486_430 3H322 (BRB098380 - BRB098382)                          Will Use


12/12/2016   DX-0413                Conveyed Interests Report for Tract 430 4000755786_430 S 13 (BRB098802 - BRB098803)                           Will Use


12/13/2016   DX-0414                Conveyed Interests Report for Tract 430 4000754768_430 3H322 (BRB098426 - BRB098427)                          Will Use


12/13/2016   DX-0415                Conveyed Interests Report for Tract 430 4000754905_430 R 49 (BRB098775 - BRB098777)                           Will Use


12/15/2016   DX-0416                Conveyed Interests Report for Tract 430 4000753626_430 3H322 (BRB098383 - BRB098389)                          Will Use


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  Date           Identification                                                       Description                                                      Offers, Objections,
              No.        Witness                                                                                                                       Rulings, Exceptions
12/15/2016   DX-0417                Conveyed Interests Report for Tract 430 4000752400_430 E 266 (BRB098654 - BRB098661)                               Will Use


12/16/2016   DX-0418                Conveyed Interests Report for Tract 430 4000753629_430 3H322 (BRB098404 - BRB098410)                               Will Use


12/16/2016   DX-0419                Conveyed Interests Report for Tract 430 4000754899_430 R 49 (BRB098772 - BRB098774)                                Will Use

12/17/2016   DX-0420                Conveyed Interests Report for Tract 430 4000754190_430 S 13 (BRB098787 - BRB098794)                                Will Use


12/18/2016   DX-0421                Conveyed Interests Report for Tract 430 4000753628_430 3H322 (BRB098397 - BRB098403)                               Will Use


12/19/2016   DX-0422                Deed ID 430 4000753636_430 3B23 (BRB098089 - BRB098091)                                                            Will Use


12/21/2016   DX-0423                Deed ID 430 4000752549 (BRB098113 - BRB098121)                                                                     Will Use


12/22/2016   DX-0424                Conveyed Interests Report for Tract 430 4000752118_430 E 266 (BRB098637 - BRB098642)                               Will Use


12/27/2016   DX-0425                Deed ID 430 4000753635_430 3B23 (BRB098086 - BRB098088)                                                            Will Use


12/28/2016   DX-0426                Deed ID 430 4200752573 (BRB098163 - BRB098171)                                                                     Will Use


12/30/2016   DX-0427                Email from T. Corbine re: Landowners on the pipeline with focus on LBBP (BRB060793)                                May Use

12/30/2016   DX-0428                Email re: FW: Landowners on the pipeline with focus on LBBP (BRB101412 - BRB101413)                                Will Use


 1/4/2017    DX-0429                Email string starting with email from Patti Bigboy re: Landowners on the pipeline with focus on LBBP (BRB060547)   Will Use


 1/4/2017    DX-0430                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 1 -4-17-738 (BRB101163 - BRB101164)       Will Use


 1/4/2017    DX-0431                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 1 -4-17-738 (ENB00017154 -                Will Use
                                    ENB00017155)

 1/4/2017    DX-0432                Conveyed Interests Report for Tract 430 4000754751_430 3H322 (BRB098417 - BRB098418)                               Will Use

 1/5/2017    DX-0433                Email from Nathan Kilger re: Line 5 Press Release (BRB080110)                                                      May Use




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 Date           Identification                                                         Description                                                   Offers, Objections,
             No.        Witness                                                                                                                      Rulings, Exceptions
1/5/2017    DX-0434                Email string starting with email from John Prohaska re: Line 5 Press Release (BRB145463 - BRB145464)              May Use


1/6/2017    DX-0435                Enbridge Public Affairs and Communications Media Monitoring Report (ENB00021622 - ENB00021640)                    May Use


1/9/2017    DX-0436                Email string starting with email from Lissa Radke re: Bad River Decides to Decommission Enbridge Line 5 on Its    May Use
                                   Reservation (BRB085893 - BRB085894)

1/20/2017   DX-0437                BRB Strategy Team Meeting Agenda, Notes, Action Items (BRB084289 - BRB084296)                                     Will Use


2/3/2017    DX-0438                2/3/17 Facebook Post by Mike Wiggins Jr.                                                                          Will Use


2/3/2017    DX-0439                Deed ID 430 4000753634_430 3B23 (BRB098083 - BRB098085)                                                           Will Use


2/8/2017    DX-0440                Email re: RE: TransCanada and LBBP (BRB149634 - BRB149634)                                                        Will Use


2/17/2017   DX-0441                Email from Suzi Smith re: summary statistics for allotments with expired ROW (BRB073395)                          Will Use

2/25/2017   DX-0442                Conveyed Interests Report for Tract 430 4000753627_430 3H322 (BRB098390 - BRB098396)                              Will Use


Mar-2017    DX-0443                Excerpts PPT: Pipelines on the Bad River Reservation Prepared by the Bad River Natural Resources Department       May Use
                                   (BRB022733; BRB022773; BRB022774 - BRB022778)

Mar-2017    DX-0444                PPT: Pipelines on the Bad River Reservation Prepared by the Bad River Natural Resources Department (BRB022733 -   Will Use
                                   BRB022795)

3/9/2017    DX-0445                Summary of Hours of Service Regulations, FMCSA (ENB00430976 - ENB00430979)                                        May Use


3/14/2017   DX-0446                Line 5 PE-IR 2017 BH GEMINICAL (ENB00424886 - ENB00424886)                                                        May Use


3/14/2017   DX-0447                L0005 (30in) PE-IR 2017 GEMINIMFL BH Issue 1 (ENB00424520 - ENB00424520)                                          May Use


3/15/2017   DX-0448                Email string starting with email from Dylan Jennings re: Supporting Indigenous resistance to national pipelines   May Use
                                   (BRB149261 - BRB149264)

3/21/2017   DX-0449                E-mail from Bill Whalen re: eNews from Sloughs (BRB065402 - BRB065432)                                            May Use




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 Date           Identification                                                        Description                                                        Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
4/18/2017   DX-0450                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 04-18-17-802 with Memorandum of              May Use
                                   Agreement (BRB105901 - BRB105907)

5/2/2017    DX-0451                Email from Suzi Smith Re: Maps and reports: TransCanada ROW analysis post-Cobell Land Buy Back with                   Will Use
                                   Attachment (BRB101378 - BRB101379)

5/2/2017    DX-0452                Email re: Map and reports: TransCanada ROW analysis post-Cobell Land Buy Back (BRB101378 - BRB101379)                 Will Use


5/2/2017    DX-0453                Email re: Map and reports: TransCanada ROW analysis post-Cobell Land Buy Back (BRB084923 - BRB084923)                 Will Use


5/8/2017    DX-0454                Letter from Kelly Henry to Edith Leoso re: Northern Natural Gas: Rib Lake Line Pipe Exposures Stabilization Project   Will Use
                                   On-Reservation Request for Review for Section 106 NHPA Compliance (BRB067975 - BRB068006)

5/23/2017   DX-0455                Email from Kaitlyn Korol re: Bad River integrity Digs with attachment (ENB00017648 - ENB00017677)                     May Use


5/23/2017   DX-0456                Email from Kaitlyn Korol re Bad River Integrity Digs with attachments (ENB000 17648 - ENB00017649)                    Will Use


6/5/2017    DX-0457                Superior Region Line 5 Tactical Control Point Spill Contingency Plan SURCP0306 (BRB117543 - BRB117545)                May Use


6/5/2017    DX-0458                Spill Contingency Plan, Tactical Control Point SUCP0306 (ENB00654737 - ENB00654739)                                   May Use


6/5/2017    DX-0459                Spill Contingency Plan, Tactical Control Point SUCP0307 (ENB00654740 - ENB00654742)                                   May Use

6/5/2017    DX-0460                Spill Contingency Plan, Tactical Control Point SUCP0308 (ENB00654743 - ENB00654745)                                   May Use


6/5/2017    DX-0461                Spill Contingency Plan, Tactical Control Point SUCP0309 (ENB00654746 - ENB00654748)                                   May Use


6/5/2017    DX-0462                Spill Contingency Plan, Tactical Control Point SUCP0310 (ENB00654749 - ENB00654751)                                   May Use


6/5/2017    DX-0463                Spill Contingency Plan, Tactical Control Point SUCP0311 (ENB00654752 - ENB00654754)                                   May Use


6/5/2017    DX-0464                Spill Contingency Plan, Tactical Control Point SUCP0312 (ENB00654755 - ENB00654757)                                   May Use


6/5/2017    DX-0465                Tactical Control Point Spill Contingency Plan, SURCP0314 (ENB00105510 - ENB00105512)                                  Will Use


6/5/2017    DX-0466                Tactical Control Point Spill Contingency Plan, SURCP0315 (ENB00105528 - ENB00105530)                                  Will Use



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 Date           Identification                                                         Description                                                      Offers, Objections,
             No.        Witness                                                                                                                         Rulings, Exceptions
6/5/2017    DX-0467                Tactical Control Point Spill Contingency Plan, SURCP0313 (ENB00174979 - ENB00174981)                                 Will Use


6/16/2017   DX-0468                Email string beginning with Email from Eric Arnold Re: Trans Canada- Annual Meeting Notes with Attachment            Will Use
                                   (BRB101342 - BRB101343)

6/21/2017   DX-0469                Email string starting with email from Sergio Gonzalez: Northern Natural Gas ROW Surveys with attachments             Will Use
                                   (BRB096777 - BRB096831)

6/23/2017   DX-0470                Email from Lisa Radke re: Final Agenda for Northern Natural Gas Technical Meeting: Thursday, June 29 at 1:00 PM in   Will Use
                                   Conf C with attachment (BRB093158 - BRB093159)

6/23/2017   DX-0471                Email re: Final Agenda for Northern Natural Gas Technical Meeting: Thursday, June 29 at 1:00 PM in Conf C            Will Use
                                   (BRB093158 - BRB093158)

6/29/2017   DX-0472                Bad River Band and Northern Natural Gas Technical Meeting (Meeting Summary) (BRB067965 - BRB067970)                  Will Use


Jul-2017    DX-0473                Environmental Protection Plan Mainline Projects (ENB00706754 - ENB00706851)                                          Will Use

7/6/2017    DX-0474                Transcript of BRB Tribal Council_2017 07 06 Transcript                                                               May Use


7/6/2017    DX-0475                BRB Tribal Council_2017 07 06 - audio                                                                                Will Use


7/12/2017   DX-0476                L0005 (30in) PE-IR 2017 USWM+ GE Issue 1 (ENB00424521 - ENB00424521)                                                 May Use


7/21/2017   DX-0477                Inspection of Rights-of-way and Crossings Under Navigable Waters, O&M Part 195, Code Section §195.412                May Use
                                   (ENB00425128 - ENB00425133)

8/2/2017    DX-0478                Email re: RE: Tabletop Exercise (BRB075421 - BRB075422)                                                              Will Use

8/18/2017   DX-0479                Email string starting with email from Brad Schrotenoer re: Hydrotechnical Geohazard - Encroachment                   May Use
                                   Sites***Important*** (ENB00211790 - ENB00211791)

8/23/2017   DX-0480                L0005 (30in) PE-IR 2017 AFD ROSEN Issue 1 (ENB00424518 - ENB00424518)                                                May Use


9/13/2017   DX-0481                Email string starting with email from Bill Liu re: Arrangements for Bad River Crossing Site Visit with attachments   Will Use
                                   (BRB096495 - BRB096519)

9/20/2017   DX-0482                Trans Canada Bad River Sink Hole Mitigation Report (BRB188269-BRB188768)                                             Will Use



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  Date           Identification                                                         Description                                                         Offers, Objections,
              No.        Witness                                                                                                                            Rulings, Exceptions
9/25/2017    DX-0483                Email string starting with email from Erick Arnold re: Input Requested for Buy -Back Status Report by 9/20/2017         May Use
                                    (BRB148962 - BRB148963)

10/5/2017    DX-0484                Transcript of audio recording from Tribal Council Meeting 10/5/2017                                                     May Use


10/5/2017    DX-0485                Transcript of BRB Tribal Council_2017 10 05 Transcript                                                                  Will Use


10/5/2017    DX-0486                BRB Tribal Council_2017 10 05 - audio                                                                                   Will Use


10/5/2017    DX-0487                Letter from Brandi Naughton to Edith Leoso re: Great Lakes Gas Transmission LP GLGT Line 200 Sink Holes Project -       Will Use
                                    On-Reservation Request for Review for Section 106 NHPA Compliance (BRB060413 - BRB060419)

10/12/2017   DX-0488                Draft Request for Agenda Item: Application for permission to appraise trust and restricted land; consent of landowner   Will Use
                                    (BRB071863 - BRB071864)

10/26/2017   DX-0489                Alternatives Analysis for the Straits Pipelines, Final Report Appendices (ENB00430091 - ENB00430306)                    May Use


10/26/2017   DX-0490                Alternatives Analysis for the Straits Pipelines, Final Report, Dynamic Risk Assessment System (Revision 2)              May Use
                                    (ENB00430307 - ENB00430685)

10/26/2017   DX-0491                Email string starting with email from Robert Blanchard re: Input Requested for Buy -Back Status Report by 9/30/2017     Will Use
                                    (BRB148941 - BRB148943)

Nov-2017     DX-0492                Myrbo, et al. Increase in Nutrients, Mercury, and Methylmercury as a Consequence of Elevated Sulfate Reduction to       May Use
                                    Sulfide in Experimental Wetland Mesocosms, November 2017 (BARR00270 92 - BARR0027108)

11/15/2017   DX-0493                Email re: FW: FW: Input Requested for Buy-Back Status Report by 9/30/2017 (BRB149926 - BRB149928)                       Will Use


12/19/2017   DX-0494                Geohazard Summary Line 5 Within the Bad River Reservation (ENB00025460 - ENB00025470)                                   May Use


Jan-2018     DX-0495                2017 Enbridge Line 5 Bad River Crossing Bend Migration Study, January 2018 (ENB00178311 - ENB00178335)                  May Use


Jan-2018     DX-0496                Enbridge Pipeline Integrity 2017 Safety Case for Line 5 Superior-Iron River Segment, January 2018 (ENB00436274 -        May Use
                                    ENB00436314)

1/11/2018    DX-0497                Transcript of BRB Tribal Council_2018 01 11 Transcript                                                                  May Use


1/11/2018    DX-0498                BRB Tribal Council_2018 01 11 - audio                                                                                   Will Use



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 Date           Identification                                                        Description                                                     Offers, Objections,
             No.        Witness                                                                                                                       Rulings, Exceptions
1/19/2018   DX-0499                Email string starting with email from Brad Schrotenboer re [External] RE: Missed Water Crossings? (ENB00029150 -   May Use
                                   ENB00029154)

1/23/2018   DX-0500                ICIS, US Kinder Morgan Starts Up Utopia Ethane Pipeline to Canada (ENB00437896 - ENB00437897)                      May Use


1/26/2018   DX-0501                Email from Mike Wiggins Chairman Re: Ticker List with Attachment (BRB106511 - BRB106516)                           Will Use


Feb-2018    DX-0502                February 2018, Auffhammer and Rubin, Natural Gas Price Elasticities and Optimal Cost Recovery Under Consumer       May Use
                                   Heterogenity: Evidence from 300 Million Natural Gas Bills, Working Paper (ENB00489985 - ENB00490054)

2/8/2018    DX-0503                Audio Recording of BRB tribal Council                                                                              May Use

2/8/2018    DX-0504                Transcript of BRB Tribal Council_2018 02 08 Transcript                                                             May Use


2/8/2018    DX-0505                BRB Tribal Council_2018 02 08_I - audio                                                                            Will Use


2/12/2018   DX-0506                Follow-Up Questions for TransCanada on the Sink Hole Remediation Projects (BRB060410 - BRB060411)                  Will Use


2/13/2018   DX-0507                Email re: Northern Natural Gas Company; Four Verification Digs on Marquette Line; THPO Review Request              Will Use
                                   (BRB066736 - BRB066737)

2/20/2018   DX-0508                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 2-20-18-989 (BRB101158)                   May Use

2/22/2018   DX-0509                U.S. Department of Interior Purchase Summary Report - Land Buy-Back Program for Tribal Nations (BRB136082 -        Will Use
                                   BRB136108)

2/27/2018   DX-0510                Vancouver Energy ends bid to build nation‘s biggest oil-train terminal along Columbia River, The Seattle Times     May Use
                                   (ENB00431226 - ENB00431228)

2/27/2018   DX-0511                Port of Vancouver Votes to End Oil Terminal Lease Immediately (Milly Solomon, OPB) (ENB00664421 -                  May Use
                                   ENB00664424)

Mar-2018    DX-0512                March 2018 Wisconsin State Freight Plan, Ch. 7, Wisconsin Department of Transportation (ENB00432108 -              May Use
                                   ENB00432181)

3/9/2018    DX-0513                UP - Petroleum Products, Crude Tariff Renewal Announcement Number CH2018 -1, (ENB00431066 - ENB00431067)           May Use


3/13/2018   DX-0514                Baltimore Passes Bill to Protect City from Dangerous Crude Oil Shipments (Environmental Integrity Project)         May Use
                                   (ENB00664394 - ENB00664395)


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 Date           Identification                                                      Description                                                   Offers, Objections,
             No.        Witness                                                                                                                   Rulings, Exceptions
Apr-2018    DX-0515                April 2018 Wisconsin State Freight Plan, Wisconsin Department of Transportation, Chapter 4 (ENB00432084 -      May Use
                                   ENB00432107)

Apr-2018    DX-0516                REC Desktop Bend Migration Study (ENB00267254 - ENB00267274)                                                   Will Use


4/25/2018   DX-0517                Bad River Annual Technical Meeting (BRB089897 - BRB089900)                                                     Will Use


5/14/2018   DX-0518                NGL or LPG or LNG – Definitions and Common Uses, Opis (ENB00430839 - ENB00430843)                              May Use


5/25/2018   DX-0519                Email re: RE: Northern Natural - pipeline exposures (BRB066409 - BRB066410)                                    Will Use


6/2/2018    DX-0520                2018 Enbridge Slope Crossing Field Form - Slope Crossing 18, Ashland County, Wisconsin - Crossing Summary      May Use
                                   (ENB00283072 - ENB00283079)

6/4/2018    DX-0521                Bad River Natural Resources Department Access Permit (ENB00029390 - ENB00029393)                               May Use


6/5/2018    DX-0522                Bad River Natural Resources Department Access Permit (ENB00106161 - ENB00106164)                               May Use


6/15/2018   DX-0523                Tetra Tech Technical Memorandum from Jeremy Dierking to John Richmond, Re Slope Crossing 18, Ashland County,   May Use
                                   Wisconsin (BRB000051 - BRB000093)

6/15/2018   DX-0524                Tetra Tech 2014 Pipeline Integrity Field Form, Slope 18 (ENB00282753 - ENB00282781)                            May Use

6/15/2018   DX-0525                Technical Memorandum from Jeremy Dierking and Colin McGuire re: Slope Crossing 18, Ashland County, Wisconsin   May Use
                                   (ENB00283080 - ENB00283116)

6/15/2018   DX-0526                Email string starting with email from Jeremy Larson re: [EXTERNAL] RE: SOW with attachments (BRB088778 -       Will Use
                                   BRB088798)

6/15/2018   DX-0527                Email string starting with email from Jeremy Larson re: [EXTERNAL] RE: SOW Request (BRB08876 8 - BRB088769)    Will Use


6/22/2018   DX-0528                Email re: Fwd: Notice of Inquiry from FERC about new pipelines (BRB149063 - BRB149064)                         Will Use


Jul-2018    DX-0529                Natural Resource Engineering Co. 2018 Depth of Cover Survey, Bad River Reservation, Wisconsin, July 2018       May Use
                                   (ENB00114725 - ENB00114751)

7/12/2018   DX-0530                Transcript of BRB Tribal Council_2018 07 12 Transcript                                                         May Use




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 Date           Identification                                                        Description                                                   Offers, Objections,
             No.        Witness                                                                                                                     Rulings, Exceptions
7/12/2018   DX-0531                BRB Tribal Council_2018 07 12 - audio                                                                            Will Use


7/16/2018   DX-0532                Lake Superior Consulting Technical Memorandum (ENB00115045 -ENB00115326)                                         May Use


7/17/2018   DX-0533                Email re: RE: PHMSA Inspection of Great Lakes Gas Transmission on Bad River Reservation (BRB088503 -             Will Use
                                   BRB088505)

7/17/2018   DX-0534                Email re: Re: PHMSA Inspection of Great Lakes Gas Transmission on Bad River Reservation (BRB091887 -             Will Use
                                   BRB091889)

7/24/2018   DX-0535                Report - BNSF to limit retrofit tank cars, Railway Age (ENB00430959 - ENB00430960)                               May Use

7/27/2018   DX-0536                Tempest in a tank car - Railway Age (ENB00430980 - ENB00430983)                                                  May Use


Aug-2018    DX-0537                French McCay et al., Simulation Modeling of Ocean Circulation and Oil Spills in the Gulf of Mexico, Volume II:   May Use
                                   Appendix II Oil Transport and Fate Technical Manual, August 2018 (ENB00648097 - ENB00648327)

Aug-2018    DX-0538                NREC Desktop Bend Migration Study Addendum (ENB00264216 - ENB00178378)                                           Will Use


8/2/2018    DX-0539                Bad River CIS Remediation Plan (ENB00424889 - ENB00424890)                                                       May Use


8/15/2018   DX-0540                Email from April Holdren re: Pipelines Emergency response tabletop exercise (BRB069088)                          May Use

8/15/2018   DX-0541                Email re: Pipelines: Emergency response tabletop exercise (BRB069088 - BRB069088)                                Will Use


8/17/2018   DX-0542                Letter from Ryan Kruger to Naomi Tillison re: Right of Way Renewal - Appraisal Notice (BRB087366 - BRB087367)    Will Use


8/21/2018   DX-0543                Wisconsin Department of Transportation Traffic Count Map, Site 020152 (ENB00432032 - ENB00432032)                May Use


9/18/2018   DX-0544                Wisconsin Motorists Lose $6.8 Billion Per Year on Roads That Are Rough, Congested & Lack Some Safety Features,   May Use
                                   TRIP (ENB00432064 - ENB00432068)

10/6/2018   DX-0545                US DOI BIA Title Status Report for Tract Number 3B23 (BRB004194 - BRB004199)                                     Will Use

10/6/2018   DX-0546                US DOI BIA Title Status Report for Tract Number 3H308 (BRB004205 - BRB004209)                                    Will Use


10/6/2018   DX-0547                US DOI BIA Title Status Report for Tract Number 3H318 (BRB004210 - BRB004219)                                    Will Use


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  Date           Identification                                                         Description                                                   Offers, Objections,
              No.        Witness                                                                                                                      Rulings, Exceptions
10/6/2018    DX-0548                US DOI BIA Title Status Report for Tract Number 3H322 (BRB004225 - BRB004250)                                     Will Use


10/6/2018    DX-0549                US DOI BIA Title Status Report for Tract Number 3H46 (BRB004251 - BRB004256)                                      Will Use


10/6/2018    DX-0550                US DOI BIA Title Status Report for Tract Number E266 (BRB004257 - BRB004266)                                      Will Use

10/6/2018    DX-0551                US DOI BIA Title Status Report for Tract Number E33 (BRB004267 - BRB004272)                                       Will Use


10/6/2018    DX-0552                US DOI BIA Title Status Report for Tract Number E532 (BRB004273 - BRB004277)                                      Will Use


10/6/2018    DX-0553                US DOI BIA Title Status Report for Tract Number R146 (BRB004278 - BRB004282)                                      Will Use


10/6/2018    DX-0554                US DOI BIA Title Status Report for Tract Number R154 (BRB004283 - BRB004287)                                      Will Use


10/6/2018    DX-0555                US DOI BIA Title Status Report for Tract Number R49 (BRB004288 - BRB004294)                                       Will Use


10/6/2018    DX-0556                US DOI BIA Title Status Report for Tract Number S13 (BRB004295 - BRB004304)                                       Will Use


10/9/2018    DX-0557                Emails re cathodic protection maintenance (ENB00327404 - ENB00327406)                                             May Use


10/11/2018   DX-0558                Bad River Natural Resources Department Access Permit (ENB00026284 - ENB00026286)                                  May Use

10/11/2018   DX-0559                LSC Daily Report (ENB00424891 - ENB00424892)                                                                      May Use


10/30/2018   DX-0560                Email string starting with email from Edith Leoso re: clarification on federal records destruction (BRB046035 -   Will Use
                                    BRB046037)

11/20/2018   DX-0561                Bad River Natural Resources Department Access Permit (ENB00029387 - ENB00029389)                                  May Use


11/29/2018   DX-0562                L0005 (30in) PE-IR 2018 NDT UCC (ENB00424885 - ENB00424885)                                                       May Use


 1/1/2019    DX-0563                EIA Table 3 - Capacity of Operable Petroleum Refineries (ENB00436959 - ENB00436979)                               May Use

 1/1/2019    DX-0564                EIA Table 4 - Production Capacity of Petroleum Refineries (ENB00436980 - ENB00436989)                             May Use




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 Date           Identification                                                         Description                                                       Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
Jan-2019    DX-0565                January 2019 Energy Transfer Goldman Sachs Global Energy Conference (ENB00437385 - ENB00437428)                       May Use


Jan-2019    DX-0566                Enbridge Line 5 Bad River Bend Migrating Study - January 2019 HEC- RAS Model Final (ENB00264279 -                     Will Use
                                   ENB00264326)

Jan-2019    DX-0567                Enbridge Line 5 Bad River Bend Migration Study (ENB00264279 - ENB00264326)                                            Will Use


1/2/2019    DX-0568                Email string starting with email from April Holdren re: Brushing Antideg & WWPO permit application (ENB00311613       May Use
                                   - ENB00311619)

1/12/2019   DX-0569                Letter from Ben Lee to Naomi Tillison with attachment (BRB192913 - BRB192915)                                         Will Use

1/14/2019   DX-0570                Project Review - BRNRD Feedback Form (NRD Checklist V2-2018-11-02) for Project: Bad River                             Will Use
                                   Meander_Phase2_TimberRevetment (BRB110598 - BRB110602)

1/15/2019   DX-0571                Letter from Gary A. Battuello to Jeremy Larson re: Pipeline Easement Allotment 430 TT 2080 -B Bad River Reservation   Will Use
                                   Ashland County, Wisconsin (BRB112120 - BRB112214)

1/16/2019   DX-0572                Conversation between April Holdren and Scott Paquette (ENB0014 7603 - ENB00147604)                                    May Use


1/24/2019   DX-0573                The Permian Basin’s demand for crude oil tanker trucks could quadruple in Q2, Freight Waves (ENB00430984 -            May Use
                                   ENB00430987)

1/24/2019   DX-0574                L0005 (30in) PE-IR 2019 BHGE GEOPIG (ENB00424888 - ENB00424888)                                                       May Use


1/25/2019   DX-0575                Lake Superior Consulting Technical Memorandum (ENB00197017 - ENB00197020)                                             May Use


Feb-2019    DX-0576                February 2019, CPR Estimates for Railroad Tank Cars in Accidents, RA-19-01, Railway Supply Institute & Assoc. of      May Use
                                   American Railroads (ENB00430851 - ENB00430958)

2/8/2019    DX-0577                Email string starting with email from Peter Song re: One Area of Interest at Line 5 Bad River Crossing Area           May Use
                                   (ENB00212304 - ENB00212305)

2/13/2019   DX-0578                ADIOS Website, Last updated February 13, 2019 (ENB00650774 - ENB00650776)                                             May Use

2/13/2019   DX-0579                Notes from the Enbridge Line 5 Meeting on February 13, 2019 (BRB001144 - BRB001146)                                   Will Use


2/13/2019   DX-0580                Line 5 Community Meeting Discussion Notes (BRB001269 - BRB001271)                                                     Will Use



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 Date           Identification                                                       Description                                                    Offers, Objections,
             No.        Witness                                                                                                                     Rulings, Exceptions
2/13/2019   DX-0581                Line 5 Community Meeting Discussion Notes (BRB105880 - BRB105882)                                                Will Use


2/13/2019   DX-0582                Notes from the Enbridge Line 5 Meeting on February 13, 2019 (BRB001144)                                          Will Use


3/11/2019   DX-0583                Email string starting with email from Mike Wiggins Chairman re: DC Update (BRB054466)                            May Use

Apr-2019    DX-0584                April 2019, "The Straits of Mackinac crossing and Line 5," Enbridge (ENB00430988 - ENB00431003)                  May Use


4/2/2019    DX-0585                Email from Bryan Bocht re [EXTERNAL] Bad River HEC-RAS Report with attachment (ENB00047830 -                     Will Use
                                   ENB00047878)

4/9/2019    DX-0586                Photographs (NRE0064699; NRE0064700)                                                                             Will Use


4/9/2019    DX-0587                Photo (NRE0064699)                                                                                               Will Use


4/11/2019   DX-0588                Photo (NRE0064700)                                                                                               Will Use

4/23/2019   DX-0589                Email string starting with email from Joe Malyuk Fwd: Cameras at the Bad River with attachments (ENB00329440 -   Will Use
                                   ENB00329449)

4/28/2019   DX-0590                Email from Paul Gingrich re: Line 5 Bad River Patrols with attachments (ENB00197544 - ENB00197546)               May Use


5/1/2019    DX-0591                Antero Press Release (ENB00436602 - ENB00436621)                                                                 May Use


5/14/2019   DX-0592                Photo (ENB00077779)                                                                                              Will Use


5/23/2019   DX-0593                Tetra Tech PP Bad River Overview (ENB00262691 - ENB00262696)                                                     Will Use

6/9/2019    DX-0594                Letter from Kelly Henry to Edith Leoso re: Northern Natural Gas Rib Lake Branchline MP 3.05 and 3.55 HDD         Will Use
                                   Replacement Project On-Reservation Request for Section 106 NHPA Compliance with enclosures (BRB066513 -
                                   BRB066570)

6/13/2019   DX-0595                Email from Amy Back Re: Update and Allotees with Attachments (BRB101619 - BRB101629)                             Will Use


6/18/2019   DX-0596                Email re: RE: NNG operations access permit request - June PHMSA (BRB077279 - BRB077282)                          Will Use


6/20/2019   DX-0597                Public Pipeline Presentation and Talking Circle Notes from a meeting at the Bad River Community Center           May Use


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 Date           Identification                                                       Description                                                       Offers, Objections,
             No.        Witness                                                                                                                        Rulings, Exceptions
6/20/2019   DX-0598                Public Pipeline Presentation and Talking Circle Notes (BRB232948 - BRB232951)                                       Will Use


6/20/2019   DX-0599                Public Pipeline Presentation and Talking Circle Notes from a meeting at the Bad River Community Center (BRB013948   Will Use
                                   - BRB013951)

7/1/2019    DX-0600                Marathon Martinsville to Lima Tariff, FERC No. 324.9.0. Issued May 24, 2019, Effective July 1, 2019 (ENB00438591    May Use
                                   - ENB00438591)

7/3/2019    DX-0601                Email from Bad River Band re: News from Mashkiiziibii Community (BRB038658 - BRB038684)                             Will Use


7/17/2019   DX-0602                Canadian Energy Regulator Market Snapshot (ENB00436832 - ENB00436835)                                               May Use

7/23/2019   DX-0603                Complaint                                                                                                           May Use


7/24/2019   DX-0604                Email string starting with email from Jonathan Scullion re: GLGT Easement Renewal - Copy of Letter to Chairman      Will Use
                                   Wiggins (BRB149016 - BRB149018)

8/1/2019    DX-0605                Emails between April Holdren and Naomi Tillison re pipeline exposure at Line 5 (ENB00409971 -ENB00409982)           May Use


8/1/2019    DX-0606                Incident Management Handbook: Process, Organization, and Guidance for Incident Response Management                  Will Use
                                   (ENB00612285 - ENB00612417)

8/2/2019    DX-0607                Spill Contingency Plan SURCP0302 (BRB007553 - BRB007555)                                                            Will Use


8/2/2019    DX-0608                Spill Contingency Plan SURCP0301 (BRB007550 - BRB007552)                                                            Will Use


8/4/2019    DX-0609                L0005 MP 1165.8394 GW 99030, Acuren Inspection Field Report (ENB00424572 - ENB00424604)                             May Use


8/5/2019    DX-0610                UP Propane System, Michigan Public Service Commission (ENB00438988 - ENB00439017)                                   May Use


8/5/2019    DX-0611                UP Propane System, Michigan Public Service Commission (ENB00431036 - ENB00431065)                                   May Use


8/9/2019    DX-0612                Dig report (ENB00436009 - ENB00436044)                                                                              May Use

8/9/2019    DX-0613                Letter from Kelly Henri to Naomi Tillison re: Northern Natural Gas Company; Rib Lake Branchline MP 3.05 and 3.55    Will Use
                                   HDD Replacement Project; Request for Project Review by the Bad River Natural Resources (BRB083415 -
                                   BRB083427)



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 Date           Identification                                                       Description                                                       Offers, Objections,
             No.        Witness                                                                                                                        Rulings, Exceptions
8/9/2019    DX-0614                Email re: Request for Project Review Submittal; Northern Natural Gas Company; Rib Lake Branchline MP 3.05 and       Will Use
                                   3.55 HDD Replacement Project (BRB083414 - BRB083414)

8/12/2019   DX-0615                US EPA Region 5, Administrative Order on Consent Under Section 309(a0 of the Clean Water Act, 33 U.S.C. § 1319(a)   May Use
                                   (BRB153360 - BRB153373)

8/21/2019   DX-0616                Surface Transportation Board., Decision, Docket No. 42165                                                           May Use


8/22/2019   DX-0617                Email from Ryan Sporns to Mark Maxwell, RE Slope 18 Emergency (ENB00357199 - ENB00357202)                           May Use


8/22/2019   DX-0618                Email from Mike Wiggins to Guy Jarvis, Subject Slope 18 Emergency (BRB054484 - BRB054485)                           May Use

8/22/2019   DX-0619                Email from Mike Hill, Subject Slope 18 Emergency (ENB00355048 - ENB00355050)                                        May Use


8/26/2019   DX-0620                Email string starting with email from April Holder re: Bad River Reservation Slope 18 Exposure (BARR0108373 -       Will Use
                                   BARR0108383)

8/27/2019   DX-0621                Emails re Geohazard Inspections Work plan & access permit, Augu st 2019; Wetland Delineations, Enbridge Line 5      May Use
                                   Corridor; Line 5 Geohazard Inspections Work Plan June 6, 2019; Bad River Natural Resources Department Access
                                   Permit for Enbridge Line 5 corridor (ENB00357645 - ENB00357839)

8/27/2019   DX-0622                Email from Ali Fathi to Peter Song, RE Slope 18 in Bad River_ILI Data (ENB00355034 - ENB00355037)                   May Use


8/27/2019   DX-0623                Enbridge Integrity Assessment of Line 5 at Slope 18 (BRB000099 - BRB000099)                                         May Use


8/27/2019   DX-0624                2019 Enbridge Pipeline Exposure Report, Slope Crossing 18 (ENB00007707 - ENB00007718)                               May Use


8/27/2019   DX-0625                2019 Enbridge Slope Crossing Field Form (ENB00007719 - ENB00007734)                                                 May Use


8/28/2019   DX-0626                Letter from Guy Jarvis to Mike Wiggins, Re Your August 26, 2019, Correspondence (ENB00379680 - ENB00379684)         May Use


8/28/2019   DX-0627                Memo from Andrew Warren re: Enbridge Slope 18 Field Assessment Summary (BRB000096)                                  Will Use


8/29/2019   DX-0628                Bad River Natural Resources Department Access Permit (ENB00409971 - ENB00409982)                                    May Use

8/30/2019   DX-0629                Email string starting with email from April Holdren FW: Geohazards Inspections: Work plan & access permit with      Will Use
                                   attachments (ENB00357645 - ENB00357650)



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 Date           Identification                                                         Description                                                  Offers, Objections,
             No.        Witness                                                                                                                     Rulings, Exceptions
Sep-2019    DX-0630                September 2019 EIA PADD Map (ENB00436955 - ENB00436956)                                                          May Use


Sep-2019    DX-0631                September 2019 Energy Transfer Investor Presentation (ENB00437429 - ENB00437463)                                 May Use


Sep-2019    DX-0632                September 2019 Michigan and Plains -Propane Overview Presentation (ENB00438620 - ENB00438626)                    May Use

9/4/2019    DX-0633                Email from Mike Wiggins re: Private Landowner Rights Meeting (BRB054468)                                         Will Use


9/4/2019    DX-0634                Email from Jeremy Ward re: Line 5 Bad River: Meander and Slope 18 - Weekly Update (ENB00170934 -                 Will Use
                                   ENB00170935)

9/4/2019    DX-0635                Email re: RE: Slope 18 Wetland Delineations: Work Plan and Access Permit (BRB044053 - BRB044054)                 Will Use


9/6/2019    DX-0636                Email from April Holdren re Brushing Slope 18 (ENB00391479 - ENB00391480)                                        Will Use


9/7/2019    DX-0637                Tetra Tech Memo, From Dave Richardson To April Holdren, Subject Bad River Reservation – Enbridge Field           May Use
                                   Assessment Summary (BRB000094 - BRB000095)

9/9/2019    DX-0638                Email from April Holdren, Subject Brushing Slope 18 (ENB00391479 - ENB00391510)                                  May Use


9/9/2019    DX-0639                Enterprise Safety & Reliability Liquids Pipelines, Pipeline Integrity Management Program Verification Report     Will Use
                                   (ENB00435280 - ENB00435293)

9/9/2019    DX-0640                Email re: Re: Table Top Exercise Planning (BRB041272 - BRB041273)                                                Will Use


9/12/2019   DX-0641                Emails re Slope 6 geohazard assessment 9/11 (ENB00173478 - ENB00173488)                                          May Use


9/12/2019   DX-0642                Email string starting with email from Sara Ploetz re: Slope 18 Remediation Communication with attachments        Will Use
                                   (ENB00619282 - ENB00619297)

9/12/2019   DX-0643                Email re: Some points for a rebuttal (BRB102580 - BRB102581)                                                     Will Use


9/17/2019   DX-0644                Email string starting with email from April Holder re: Access Permit: Slope 18 mitigation install (BRB043507 -   Will Use
                                   BRB043514)

9/18/2019   DX-0645                Integrity Assessment of Line 5 at Slope 18 (BRB000099)                                                           Will Use




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  Date           Identification                                                      Description                                                  Offers, Objections,
              No.        Witness                                                                                                                  Rulings, Exceptions
9/20/2019    DX-0646                Letter from Shea Schachameyer to April Holdren re: Enbridge Energy - Denomie Creek Tributary Emergency Work   Will Use
                                    (Phase 1) (ENB00278204 - ENB00278209)

9/25/2019    DX-0647                Memorandum from WWE re: WWE Comments and Questions on the Tetra Tech 2019 Document (attached) Entitled        Will Use
                                    Line 5 Slope 18 – Phase 2 Mitigation Plan (BRB000043 - BRB000050)

9/26/2019    DX-0648                Project Review - BRNRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                               Will Use
                                    NNG_2_Northern_Exposures_HDD (BRB143285 - BRB143298)

9/30/2019    DX-0649                Enbridge Line 5 Discussion UP Energy Task Force (ENB00437234 - ENB00437249)                                   May Use


Oct-2019     DX-0650                Emails re PI Listing Approval – L5 PE-IR 2014 UCc – Issue 1 – Dig Cancellation, October 2019 (ENB00213102 -   May Use
                                    ENB00213103)

Oct-2019     DX-0651                Incident Management Handbook, Process, Organization, and Guidance for Incident Response Management, October   May Use
                                    2019 (ENB00645215 - ENB00645347)

10/10/2019   DX-0652                Bad River Natural Resources Department Access Permit (ENB00278103 - ENB00278105)                              May Use


10/11/2019   DX-0653                US DOI BIA Tract History Report for BIA Tract 430 3H308 (BRB002928 - BRB002944; BRB098113 - BRB098123)        May Use


10/11/2019   DX-0654                WWE Technical Memorandum, Re Exposure of Enridge Line 5 at Slope 18 – Summary of Key Field Observations and   May Use
                                    Follow-up Activities (BRB004339 - BRB004438)

10/11/2019   DX-0655                US DOI BIA Tract History Report for BIA Tract 430 3H46 (BRB003538 - BRB003566)                                Will Use


10/11/2019   DX-0656                US DOI BIA Tract History Report for BIA Tract 430 3B23 (BRB002884 - BRB002920)                                Will Use


10/12/2019   DX-0657                US DOI BIA Tract History Report for BIA Tract 430 3H22 (BRB0031 47 - BRB003537)                               Will Use


10/12/2019   DX-0658                US DOI BIA Tract History Report for BIA Tract 430 S13 (BRB003803 - BRB003969)                                 Will Use


10/12/2019   DX-0659                US DOI BIA Tract History Report for BIA Tract 430 3H18 (BRB002945 - BRB003140)                                Will Use


10/12/2019   DX-0660                US DOI BIA Tract History Report for BIA Tract 430 E33 (BRB003677 - BRB003705)                                 Will Use


10/12/2019   DX-0661                US DOI BIA Tract History Report for BIA Tract 430 3H308 (BRB002928 - BRB002944)                               Will Use




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  Date           Identification                                                       Description                                                       Offers, Objections,
              No.        Witness                                                                                                                        Rulings, Exceptions
10/12/2019   DX-0662                US DOI BIA Tract History Report for BIA Tract 430 R49 (BRB003761 - BRB003802)                                       Will Use


10/12/2019   DX-0663                US DOI BIA Tract History Report for BIA Tract E532 (BRB003706 - BRB003725)                                          Will Use


10/12/2019   DX-0664                US DOI BIA Tract History Report for BIA Tract 430 R146 (BRB003726 - BRB003749)                                      Will Use

10/12/2019   DX-0665                US DOI BIA Tract History Report for BIA Tract 430 E266 (BRB003567 - BRB003676)                                      Will Use


10/12/2019   DX-0666                US DOI BIA Tract History Report for BIA Tract 430 R 154 (BRB003750 - BRB003760)                                     Will Use


10/12/2019   DX-0667                US DOI BIA Tract History Report for BIA Tract 3H322 (BRB003146 - BRB003537)                                         Will Use


10/15/2019   DX-0668                First Amended Complaint                                                                                             May Use


10/15/2019   DX-0669                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 10-15-19-221 (BRB043216 - BRB043216)       Will Use


10/21/2019   DX-0670                Project Review - BRNRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                     Will Use
                                    NNG_2_Northern_Exposures_HDD (BRB078937 - BRB078950)

10/30/2019   DX-0671                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No. 10 -30-19-226 (BRB002866 - BRB002867)      May Use


10/30/2019   DX-0672                Bad River Band Resolution No. 10-30-19- 226 (BRB101478 - BRB101478)                                                 Will Use


10/31/2019   DX-0673                PPP: Major Project Report - Line 5 Meander& WI Segment Relocation (ENB00009714 - ENB00009722)                       May Use


10/31/2019   DX-0674                Email from Patti Bigboy re: land questions (BRB149071)                                                              Will Use


Nov-2019     DX-0675                Memo Re: Line 5 Slope 18 Integrity Summary, November 2019 (ENB00669159 - ENB00669160)                               May Use


11/1/2019    DX-0676                Technical Memorandum e: Wetland Delineation and Vegetation Evaluation for the Line 5 Pine Flats Road to Bad River   Will Use
                                    Meander Project (ENB00706339 - ENB00706568)

11/7/2019    DX-0677                Email from Jessica Strand re: NRD Project Review - HNG HDD 2 Northern Exposures with attachments (BRB078936 -       Will Use
                                    BRB07850)

11/7/2019    DX-0678                Email re: NRD Project Review - NNG HDD 2 Northern Exposures (BRB078936 - BRB078936)                                 Will Use



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  Date           Identification                                                        Description                                                    Offers, Objections,
              No.        Witness                                                                                                                      Rulings, Exceptions
11/12/2019   DX-0679                Bad River Band of the Lake Superior Tribe of Chippewa Indian's Answer to Amended Counterclaim                     Will Use


11/13/2019   DX-0680                PPP: Line 5 Meander - November 13 Status Update (ENB00009749 - ENB00009757)                                       May Use


11/19/2019   DX-0681                Wisconsin Congressman R. Kind to Chairman Chatterjee on Propane Shortage (ENB00490478)                            May Use

11/20/2019   DX-0682                Email string starting with email from Debra Tetteh-Wayoe re: Flooding Report 11-11 to 11-17-19 (ENB00213430 -     May Use
                                    ENB00213432)

11/25/2019   DX-0683                Email from April Holdren RE: Slope 18 & Meander Remediation with attachments (BARR0097869 - BARR0097899)          Will Use


Dec-2019     DX-0684                L5 Bad River Meander Phase 2 Tree Revetment Project Proposal with drawings 12/2019 (ENB00237739 -                 Will Use
                                    ENB00237748)

12/6/2019    DX-0685                Letter from Sarah Ploetz to Naomi Tillison re: Enbridge Energy, Limited Partnership - Geotechnical Borings with   Will Use
                                    enclosures (BRB016258 - BRB016403)

12/6/2019    DX-0686                Letter from Sara Ploetz to Naomi Tillison re: Enbridge Energy , Limited Partnership Bad River Meander Tree        Will Use
                                    Revetment Project (ENB00359065 - ENB00359201)

12/6/2019    DX-0687                Email from Julie Kloss re: Bad River Meander: Timber Revetment Applications and Plans with attachment             Will Use
                                    (ENB00359062 - ENB00359063)

12/10/2019   DX-0688                Memo to Naomi Tillison, from Enbridge, Re Line 5 Slope 18 Integrity Summary (BRB004603 - BRB004604)               May Use


12/12/2019   DX-0689                Email string starting with email from Shea Schachameyer re: White paper + video examines Lake Superior water      Will Use
                                    Quality concerns (BRB076657 - BRB076658)

12/16/2019   DX-0690                Plaintiff's Memorandum in Opposition to Defendants' Motion for Phased Discovery and to Bifurcate Trial            May Use


12/16/2019   DX-0691                Declaration of Naomi Tillison ISO the Plaintiff's Memorandum in Opposition to Defendants' Motion for Phased       May Use
                                    Discovery and to Bifurcate Trial

12/16/2019   DX-0692                Email re: LWV Resolution Re: Line 5 (BRB033393 - BRB033393)                                                       Will Use

12/16/2019   DX-0693                Email re: RE: LWV Resolution Re: Line 5 (BRB042398 - BRB042398)                                                   Will Use


12/17/2019   DX-0694                AltaGas News Release (ENB00436646 - ENB00436652)                                                                  May Use



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  Date           Identification                                                         Description                                                      Offers, Objections,
              No.        Witness                                                                                                                         Rulings, Exceptions
12/19/2019   DX-0695                Enbridge Canadian Mainline Contracting Application to CER (ENB00436992 - ENB00437077)                                May Use


12/19/2019   DX-0696                What a Line 5 shutdown could mean for Michigan energy (ENB00490471 - ENB00490477)                                    May Use


12/19/2019   DX-0697                Enbridge Slope 18 Erosion Prevention Project Application (ENB00278905 - ENB00279090)                                 Will Use

12/19/2019   DX-0698                Email string starting with email from Rachel Shetka re: Final Signed Slope 18 Forms with attachment (ENB00210529 -   Will Use
                                    ENB00210716)

12/19/2019   DX-0699                Letter from Sara Ploetz to Naomi Tillison and Shea Schachameyer re Enbridge Energy, Limited Partnership Slope 18     Will Use
                                    Erosion Prevention Project with enclosures (ENB00278905 - ENB00279090)

12/20/2019   DX-0700                Bad River Initial Disclosures                                                                                        May Use


12/20/2019   DX-0701                Enbridge 26(a) Initial Disclosures                                                                                   May Use


12/20/2019   DX-0702                Email string starting with email from Naomi Tillison re: Line 5 Geotechnical Boring Project (BRB073424)              Will Use


12/20/2019   DX-0703                Letter from Sara Ploetz to Naomi Tillison re: Enbridge Energy, Limited Partnership Bad River Meander Overland        Will Use
                                    Channel Erosion Prevention Project (ENB00359211 - ENB00359342)

12/20/2019   DX-0704                Letter from Sara Ploetz to Bill Sande re: Utility Regional General Permit Pre-Construction Notification Enbridge     Will Use
                                    Energy, Limited Partnership Bad River Meander Overland Channel Erosion Prevention Project (ENB00263757 -
                                    ENB00264113)

12/20/2019   DX-0705                Email from Julie A. Kloss Molina re [External] Slope 18 Phase 2 Work with attachment (ENB00285 624-                  Will Use
                                    ENB00285811)

12/23/2019   DX-0706                Bad River's Objections and Responses to Def's First Set of ROGs                                                      May Use

 1/1/2020    DX-0707                Marathon Patoka to Lima Tariff, FERC No. 321.15.0, Issued November 25, 2019, Effective January 1, 2020               May Use
                                    (ENB00438592 - ENB00438594)

Jan-2020     DX-0708                Project Review - NRD Feedback Form, Bad River Meander Phase 1 Turf Reinforcement Mat (ENB00278574 -                  Will Use
                                    ENB00278577)

Jan-2020     DX-0709                Project Review - MNRD (or BRNRD) Feedback Form, Bad River Meander Phase 2 Timber Revetment (ENB00250799              Will Use
                                    - ENB00250803)




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 Date           Identification                                                        Description                                                       Offers, Objections,
             No.        Witness                                                                                                                         Rulings, Exceptions
1/6/2020    DX-0710                Email from Julie A. Kloss Molina re [External] Access Request: Brushing East of Mashkiiziibii with attachments       Will Use
                                   (ENB00285387- ENB00285395)

1/14/2020   DX-0711                Email re: RE: Public Notices - Enbridge Line 5 Proposed Projects within boundaries of Bad River Reservation          Will Use
                                   (BRB043075 - BRB043076)

1/16/2020   DX-0712                Project Review - BRNRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                      Will Use
                                   BadRiverMeander_Phase1_TurfReinforcementMat (BRB110593 - BRB110597)

1/16/2020   DX-0713                Project Review - BRNRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                      Will Use
                                   BadRiverMeander_Phase3A_SoilBorings (BRB019047 - BRB019051)

1/17/2020   DX-0714                Email string starting with email from Julie A. Kloss Molina re [External] RE: Slope 18 Phase 2 Work (ENB00285355 -   Will Use
                                   ENB00285357)

1/17/2020   DX-0715                Services Agreement between Bad River Band and Fish Creek Restoration LLC (BRB205581 - BRB205586)                     Will Use


1/17/2020   DX-0716                Notes on Call with Enbridge Re: Denomie Creek Tributary (Slope 18) Phase 2 Remediation (BRB022362 -                  Will Use
                                   BRB022366)

1/20/2020   DX-0717                Comprehensive Responses to Band Phase 2 Slope 18 Comments (BRB019494 - BRB019503)                                    Will Use


1/20/2020   DX-0718                Letter from David Feinberg to Erick Arnold and Riyaz Kanji re: Slope 18 Erosion Prevention Project Work              Will Use
                                   (BRB022377 - BRB022381)

1/21/2020   DX-0719                Tetra Tech: Bad River Meander Neck, Ashland County, Wisconsin - 2014 to 2019 LiDAR Comparison - Change in            Will Use
                                   Elevation (ENB00666425)

1/21/2020   DX-0720                Tetra Tech: Bad River Meander Neck, Ashland County, Wisconsin - 2014 to 2019 LiDAR Comparison - Change in            Will Use
                                   Elevation (ENB00666426)

1/22/2020   DX-0721                Project Review - BRNRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                      Will Use
                                   BadRiverMeander_Phase1_TurfReinforcementMat (BRB018241 - BRB018244)

1/23/2020   DX-0722                Email string starting with email from Naomi Tillison re: Line 5 Design Review Questions (BRB194290 - BRB194290)      Will Use

1/24/2020   DX-0723                Email string starting with email from Shea Schachameyer re: Enbridge mtg tomorrow 1/23 in Melle n - can you go?      Will Use
                                   (BRB042293 - BRB042294)

1/28/2020   DX-0724                Letter from Shea Schachameyer to April Holdren re: Enbridge Energy - Denomie Creek Tributary Pipeline Exposure       Will Use
                                   (Phase 2) Project (BRB022400 - BRB022405)


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 Date           Identification                                                        Description                                                        Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
1/28/2020   DX-0725                Memorandum from Ben Lee re: Enbridge Line 5 Stabilization Design Review Draft (BRB194257 - BRB194268)                 Will Use


1/29/2020   DX-0726                Email from Colin McGuire re: Bad River LiDAR Review with attachment (ENB00666424 - ENB00666426)                       Will Use


1/29/2020   DX-0727                Email re: RE: Bad River - Data about Enbridge Line 5 Projects (BRB026184 - BRB026185)                                 Will Use

1/30/2020   DX-0728                Email string starting with email from Melis Arik re: Bad River - Data about Enbridge Line 5 Projects (BRB026061 -     Will Use
                                   BRB026063)

1/30/2020   DX-0729                Email string starting with email from Shea Schachameyer re: Bad River - Data about Enbridge Line 5 Projects           Will Use
                                   (BRB026045 - BRB026046)

1/31/2020   DX-0730                Plaintiff's Amended Initial Disclosures                                                                               May Use


1/31/2020   DX-0731                Bad River Amended Initial Disclosures                                                                                 May Use


1/31/2020   DX-0732                Enbridge 26(a) Initial Disclosures                                                                                    May Use


1/31/2020   DX-0733                Mineral Commodity Summaries 2020, US Geological Survey                                                                May Use


2/1/2020    DX-0734                Line 5 Strategy Meeting Minutes (BRB025328 - BRB025330)                                                               Will Use


 Feb-20     DX-0735                Line 5 Wisconsin Segment Relocation Project Wisconsin Department of Natural Resources Envir onmental Impact           Will Use
                                   Report (BRB170928 - BRB171066)

2/1/2020    DX-0736                Email from Naomi Tillison Re: Draft Channel Stabilization Design Review Memo with attachment (BRB194255-              Will Use
                                   BRB194268)

2/1/2020    DX-0737                Email string starting with email from Benjamin Lee re: Bad River - Data about Enbridge Line 5 Projects (BRB194163 -   Will Use
                                   BRB194165)

2/1/2020    DX-0738                Email re: RE: Bad River - Data about Enbridge Line 5 Projects (BRB194163 – BRB194165)                                 Will Use


2/2/2020    DX-0739                Email from Naomi Tillison re: Bad River - Data about Enbridge Line 5 Projects (BRB194269 - BRB194271)                 Will Use


2/3/2020    DX-0740                Email re: Re: Exhibit A Antideg - Bad River Soil Boring (phase 3a) work (BRB076633 - BRB076633)                       Will Use




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 Date           Identification                                                         Description                                                       Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
2/4/2020    DX-0741                Email from Edith Leoso re: Bad River - Data about Enbridge Line 5 Projects (BRB026093 - BRB026095)                    Will Use


2/4/2020    DX-0742                Email from Benjamin Lee Re: Enbridge Line 5 Stabilization Design Review Memo Draft with attachment                    Will Use
                                   (BRB194084-194103)

2/5/2020    DX-0743                Bad River Tribal Council Regular Meeting (BRB029121 - BRB029124)                                                      May Use


2/7/2020    DX-0744                Enbridge Line 5 Bad River Meander Neck Channel Stabilization (BRB020746 - BRB020769)                                  Will Use


2/13/2020   DX-0745                Wisconsin Ethanol By-Product To Feed the World, Urban Milwaukee (ENB00432061 - ENB00432063)                           May Use


2/15/2020   DX-0746                Email string starting with email from Sara Ploetz re: Stop Work - Phase 2 work at Slope 18/ Denomie Creek tributary   Will Use
                                   (ENB00665108 - ENB00665109)

2/17/2020   DX-0747                Email string starting with email from Mike Granke re: Stop Work - Phase 2 work at Slope 18/ Denomie Creek tributary   Will Use
                                   (ENB00665110 - ENB00665114)

2/18/2020   DX-0748                Denial without Prejudice the Clean Water Act Section 401 Certifications of the Authorizations from the U.S. Army      Will Use
                                   Corps of Engineers for the Enbridge Line 5 Bad River Meander Phase 1, 2 and 3a Work (BRB041828 - BRB041830)

2/19/2020   DX-0749                Email string starting with email from Melis Arik re: Ashland Enbridge Open House Report from Abi and Noah             Will Use
                                   (BRB040461 - BRB040462)

2/24/2020   DX-0750                Email string starting with email from Philip Hestvik re: UAV Approval List (ENB00409343 - ENB00409343)                May Use


2/26/2020   DX-0751                Email from Melis Arik re: Bad River - Data about Enbridge Line 5 Projects with attachments (BRB025393 -               Will Use
                                   BRB026041)

2/28/2020   DX-0752                Comprehensive Responses to BRNRD Comments on Timber Revetment Design (BRB209591 - BRB209604)                          Will Use


 Mar-20     DX-0753                Line 5 Wisconsin Segment Relocation Project Wisconsin Department of Natural Resources Environmental Impact            Will Use
                                   Report (BRB169079 - BRB169536)

3/3/2020    DX-0754                Comprehensive Responses to BRNRD Comments on Bad River Meander Proposals (Phases 1, 2, 3a) (BRB209568 -               Will Use
                                   BRB209572)

3/4/2020    DX-0755                Email string starting with email from Melis Arik re: Enbridge's Proposals - Bad River Meander - additional info       Will Use
                                   (BRB030915 - BRB030917)




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 Date           Identification                                                         Description                                                            Offers, Objections,
             No.        Witness                                                                                                                               Rulings, Exceptions
3/4/2020    DX-0756                Email string starting with email from Philip Hestvik re: UAV Approval List (ENB00409343 - ENB00409344)                     Will Use


3/6/2020    DX-0757                Email string starting with email from Jonathan Scullion re: TC Energy's property tax payment (BRB149026 -                  Will Use
                                   BRB149027)

3/10/2020   DX-0758                Email string starting with email from John Richmond re: Slope 18 with attachments (ENB00283071 - ENB00283159)              Will Use


3/10/2020   DX-0759                Typed up notes (BRB150207)                                                                                                 Will Use


3/11/2020   DX-0760                Fish Creek Services Agreement - Amendment 1 (BRB232890)                                                                    Will Use


3/12/2020   DX-0761                Bad River's First Supp. Objections and Responses to Def's First Set of ROGs                                                May Use


3/12/2020   DX-0762                Email from Patti Bigboy re more items needed with attachments (BRB149073 - BRB149077)                                      Will Use


3/12/2020   DX-0763                Memorandum from Ian Paton re: WWE Comments on the Proposed Tetra Tech 2020 Redesign of Slope 18 Repairs                    Will Use
                                   (BRB039952 - BRB039954)

3/12/2020   DX-0764                Email string starting with email from Julie A. Kloss Molina Re: [External] RE: Access Permit: Slope 18 Phase 2             Will Use
                                   (ENB00275721 - ENB00275763)

3/17/2020   DX-0765                Email string starting with email from Julie Kloss re: Slope 18 continued work (BRB070852 - BRB070855)                      Will Use

3/17/2020   DX-0766                Email from Naomi Tillison re Emergency Approval - Slope 18 Re-Design with attachments (ENB00275428 -                       Will Use
                                   ENB00275448)

3/18/2020   DX-0767                "Demand for toilet paper is rising, and Wisconsin's $13 billion paper industry could thrive,” Milwaukee Journal Sentinel   May Use
                                   (ENB00429994 - ENB00429998)

3/23/2020   DX-0768                Email from Steven Johnson re: Enbridge application for ROW (ENB00701683 - ENB00701687)                                     Will Use


3/27/2020   DX-0769                Email from Shea Schachameyer re: Enbridge Anomaly Dig Conditions (BRB116465)                                               Will Use


3/30/2020   DX-0770                Email from Melis Arik (BRB060490)                                                                                          Will Use


3/30/2020   DX-0771                Email string starting with email from Ali Hendi re: Meander Cost Estimate with attachments (ENB00237715)                   Will Use




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 Date           Identification                                                        Description                                                  Offers, Objections,
             No.        Witness                                                                                                                    Rulings, Exceptions
3/31/2020   DX-0772                Email string starting with email from Melis Arik re: conversation with Bill Sande (BRB018140 - BRB018141)       Will Use


3/31/2020   DX-0773                Email from Naomi Tillison (BRB033595)                                                                           Will Use


4/1/2020    DX-0774                Memo from Ben Lee to Naomi Tillison RE: Enbridge Slope 18 Stabilization Project Review Draft (BRB209656 -       Will Use
                                   BRB209662)

4/1/2020    DX-0775                Memorandum from Ben Lee, PE re: Enbridge Slope 18 Stabilization Project Review Draft (BRB209656 - BRB209662)    Will Use


4/3/2020    DX-0776                Bad River's Second Supp. Objections and Responses to Def's First Set of ROGs                                    May Use


4/3/2020    DX-0777                Commentary - Railroad tank cars take a hit, FreightWaves (ENB00430715 - ENB00430721)                            May Use


4/8/2020    DX-0778                Bad River's Objections and Responses to Def's Second Set of ROGs                                                May Use


4/8/2020    DX-0779                Email from Jay McFee Re: Minutes for conference call on Friday 10th with Attachments (BRB140930 - BRB140942)    Will Use

4/10/2020   DX-0780                Email from Shea Schachameyer (BRB150966)                                                                        Will Use


4/16/2020   DX-0781                Email from Julie Kloss Re: Slope 18 Phase 2: permit condition submittals with attachments (ENB00315675 -        Will Use
                                   ENB00315693)

4/17/2020   DX-0782                Bad River's Third Supp. Objections and Responses to Def's First Set of ROGs                                     May Use


4/17/2020   DX-0783                Bad River's First Supp. Objections and Responses to Def's Second Set of ROGs                                    May Use


4/17/2020   DX-0784                Upper Peninsula Energy Task Force Committee Recommendations, Department of Environment, Great Lakes, and        May Use
                                   Energy (ENB00431068 - ENB00431221)

4/17/2020   DX-0785                Upper Peninsula Energy Task Force Committee Recommendations, Part I – Propane (ENB00490300 - ENB00490453)       May Use


4/17/2020   DX-0786                Meeting Minutes from 4/17/20 Strategy Meeting (BRB237054 - BRB237176)                                           Will Use


4/21/2020   DX-0787                Letter from Julie Kloss Molina to Naomi Tillison re: Enbridge Geotechnical Borings project with enclosures      Will Use
                                   (BRB020482 - BRB020505)

4/21/2020   DX-0788                Email from Julie Kloss re: Geotechnical Boring Application Update with attachment (ENB00284106 - ENB00284130)   Will Use


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 Date           Identification                                                        Description                                                         Offers, Objections,
             No.        Witness                                                                                                                           Rulings, Exceptions
4/21/2020   DX-0789                Letter from Julie Kloss Molina re: Enbridge Energy, Limited Partnership Geotechnical Borings with enclosures           Will Use
                                   (BRB020482 - BRB020505)

4/22/2020   DX-0790                Email from Julie Kloss re: Slope 18 Phase 2 with attachment (ENB00284131 - ENB00284137)                                Will Use


4/22/2020   DX-0791                Memorandum from Ben Lee re: Enbridge Bad River Meander Stabilization Review Draft with Appendices                      Will Use
                                   (BRB194814 - BRB194838)

4/22/2020   DX-0792                Memo from Ben Lee to Naomi Tillison RE: Enbridge Bad River Meander Stabilization Design Review Draft                   Will Use
                                   (BRB194814-BRB194838)

5/5/2020    DX-0793                Letter from Julie Kloss Molina to Naomi Tillison re: Enbridge Energy, Limited Partnership - Bad River Meander Line 5   Will Use
                                   HDD Project (BRB020541 - BRB020683)

5/8/2020    DX-0794                Email from Melis Arik (BRB131197)                                                                                      Will Use


5/18/2020   DX-0795                ILI Run (ENB00424517 - ENB00424517)                                                                                    May Use

5/19/2020   DX-0796                Bad River Tribal Council Special Meeting - vote count (BRB018846 - BRB018847)                                          May Use


5/19/2020   DX-0797                Bad River Tribal Council Special Meeting - CWA 401 Cert - Enbridge Timber Revetment Phase 2 (BRB023156 -               Will Use
                                   BRB023159)

5/19/2020   DX-0798                Bad River Tribal Council Special Meeting - Amtidegradation [sic] - Enbridge Timber Revetment Phase 2 (BRB018877        Will Use
                                   - BRB018880)

5/19/2020   DX-0799                Bad River Tribal Council Special Meeting - CWA 401 Cert - Enbridge TRM Chanellization [sic] Phase 1 (BRB018872         Will Use
                                   - BRB018876)

5/19/2020   DX-0800                Bad River Tribal Council Special Meeting - Antidegradation - Enbridge TRM Channelization Phase 1 (BRB018868 -          Will Use
                                   BRB018871)

5/19/2020   DX-0801                Bad River Tribal Council Special Meeting - Antidegradation - Enbridge Soil Boring phase 3a Proposal (BRB018860 -       Will Use
                                   BRB018863)

5/19/2020   DX-0802                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolutions No. 05 -19-20-337 through -5-19-20-342           Will Use
                                   (BRB018881 - BRB018889)

5/27/2020   DX-0803                Email from Shea Schachameyer (BRB131162)                                                                               Will Use




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 Date           Identification                                                        Description                                                        Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
Jun-2020    DX-0804                AER Figure S6.2 Alberta propane supply, Updated June 2020 (ENB00436643 - ENB00436643)                                 May Use


Jun-2020    DX-0805                AER Figure S6.3 Alberta butanes supply, Updated June 2020 (ENB00436644 - ENB00436644)                                 May Use


Jun-2020    DX-0806                Canada Energy Regulator – Kinder Morgan Cochin Pipeline Profile, Updated June 2020 (ENB00436822 -                     May Use
                                   ENB00436830)

6/8/2020    DX-0807                Email string starting with email from Julie Kloss re: Bad River inspection (ENB00395033 - ENB00395055)                May Use


6/10/2020   DX-0808                Email from Melis Arik re: Project Reviews - Updated Table and 4 new projects (BRB134438 - BRB134441)                  Will Use


6/12/2020   DX-0809                2020 Enbridge Water Crossing Field Form - Bad River Meander Encroachment (1), Ashland County, Wisconsin -             May Use
                                   Crossing Summary (ENB00394398 - ENB00394412)

6/12/2020   DX-0810                2020 Enbridge Water Crossing Field Form - Bad River Meander Encroachment (1), Ashland County, Wisconsin -             May Use
                                   Crossing Summary (ENB00308449 - ENB00308463)

6/12/2020   DX-0811                2020 Enbridge Water Crossing Field Form - Bad River Meander Encroachment (2), Ashland County, Wisconsin -             May Use
                                   Crossing Summary (ENB00394413 - ENB00394423)

6/12/2020   DX-0812                Email from April Holden re: memo 2 with attachments (ENB00392791 - ENB00392793)                                       Will Use


6/15/2020   DX-0813                Tribal Council Letter to Col. Karl Jansen (USACE) re Denial of Enbridge’s December 2019 Project (BRB053635 -          May Use
                                   BRB053655)

6/15/2020   DX-0814                Letter from Michael Wiggins Jr. to Colonel Karl Jensen re: Clean Water Act (CWA) Section 401 Certification for the    Will Use
                                   Proposed CWA Section 404 Authorization for the Enbridge Bad River Meander Phase 1 (Overland Channel Erosion
                                   Prevention Project (Project)) Proposal with enclosures (BRB018777 - BRB018797)

6/15/2020   DX-0815                Tillison to Sande attaching Bad River Band Denial Letters for Phases 1, 2 and 3A Meander projects (ENB00388140 -      Will Use
                                   ENB00388244)

6/15/2020   DX-0816                Letter to Colonel Jansen re CWA Section 401 Certification for Enbridge Meander Phase 3A Project Proposal              Will Use
                                   (BRB018720 - BRB018808)

6/15/2020   DX-0817                Redlined letter from Michael Wiggins Jr. to Colonel Karl Jansen re: Clean Water Act (CWA) Section 401 Certification   Will Use
                                   for the Proposed CWA Section 404 Authorization for the Enbridge Bad River Meander Phase 1 (Overland Channel
                                   Erosion Prevention Project (Project)) Proposal with enclosures (BRB053675 - BRB053696)




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 Date           Identification                                                        Description                                                        Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
6/15/2020   DX-0818                Redlined letter from Michael Wiggins Jr. to Colonel Karl Jansen re: Clean Water Act (CWA) Section 401 Certification   Will Use
                                   for the Proposed CWA Section 404 Authorization for the Enbridge Bad River Meander Phase 1 (Overland Channel
                                   Erosion Prevention Project (Project)) Proposal with enclosures (BRB053593 - BRB053613)

6/15/2020   DX-0819                Email from Naomi Tillison re: CWA 401 Certifications - Enbridge's Meander Proposals (BRB018720 - BRB018808)           Will Use


6/15/2020   DX-0820                Letter from Michael Wiggins to Colonel Karl Jansen re Clean Water Act (CWA) Section 401 Certification for the         Will Use
                                   Proposed CWA Section 404 Authorization for the Enbridge Bad River Meander Phase 3A (Soil or Geotechnical Boring
                                   Project (Project)) Proposal (ENB00388185 - ENB00388203)

6/16/2020   DX-0821                Dallas Federal Reserve Policy Paper (ENB00664418 - ENB00664420)                                                       May Use

6/24/2020   DX-0822                Memorandum of Interview with D. Johnson (VP of Midwest Terminals) (ENB00430736 - ENB00430736)                         May Use


6/24/2020   DX-0823                Note to file on phone conversation with Drew Johnson, Vice President of Midwest Terminals regarding their Ironville   May Use
                                   Terminal (ENB00430736)

6/26/2020   DX-0824                Letter from Kirsten Sauder (Shell Canada Ltd.) to Brian Johnson (Enbridge, Inc.) (ENB005613034)                       May Use


6/26/2020   DX-0825                Wagner Declaration (ENB00440901 - ENB00440903)                                                                        May Use


6/26/2020   DX-0826                Letter from Jerry Miller (Husky Energy) to Judge James S. Jamo (ENB00613011)                                          May Use

6/26/2020   DX-0827                Letter from Jon Wetmore to Judge James S. Jamo (ENB00613012)                                                          May Use


6/26/2020   DX-0828                John Wagner Declaration (ENB00613013 - ENB00613015)                                                                   May Use


6/26/2020   DX-0829                Letter from Harry Andersen to Judge James S. Jamo (ENB00613022 - ENB00613023)                                         May Use


6/26/2020   DX-0830                Letter from Sterling G. Koch to Judge James S. Jamo re: Nessel v. Enbridge No. 19 -474-CE (ENB00613026 -              May Use
                                   ENB00613029)

6/26/2020   DX-0831                Letter from Kirsten Sauder (Shell Canada Ltd.) to Brian Johnson (Enbridge, Inc.) (ENB00613034)                        May Use

6/26/2020   DX-0832                Letter from Claire Greenwood to Judge James S. Jamo (ENB00613035 - ENB00613036)                                       May Use


6/26/2020   DX-0833                Letter from Randall Hawkins to Judge James S. Jamo (ENB00613061)                                                      May Use



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 Date           Identification                                                         Description                                                      Offers, Objections,
             No.        Witness                                                                                                                         Rulings, Exceptions
6/29/2020   DX-0834                Amicus Curiae Brief on behalf of Ohio, Indiana, and Louisiana (ENB00436653 - ENB00436690)                            May Use


6/29/2020   DX-0835                Supplemental Submission of Interested Party Letters in Support of Defendants' Response to Plaintiff's Motion for     May Use
                                   Preliminary Injunction (ENB00440858 - ENB00440888)

6/29/2020   DX-0836                Letter from Matthew Lucey to Judge James S. Jamo (ENB00613016 - ENB00613018)                                         May Use


6/29/2020   DX-0837                Email from Ali Hendi re: Band Comments on Tree Revetment and Channel remediation with attachments                    Will Use
                                   (ENB00395878 - ENB00395928)

7/1/2020    DX-0838                Sunoco Pipeline L.P. FERC 172.13.0, Issued May 29, 2020, Effective July 1, 2020 (ENB00440418 - ENB00440419)          May Use

7/1/2020    DX-0839                Sunoco Pipeline L.P. FERC 173.13.0, Issued May 29, 2020, Effective July 1, 2020 (ENB00440420 - ENB00440422)          May Use


7/1/2020    DX-0840                Enbridge FERC Tariff 41.17 (ENB00640597 - ENB00640609)                                                               May Use


7/8/2020    DX-0841                Email from Ali Hendi re: with attachment (ENB00395465 - ENB00395507)                                                 Will Use


7/10/2020   DX-0842                Letter from Patti J. Bigboy re: Application of Enbridge to affect Water bodies/Wetlands to complete Line 5 Reroute   Will Use
                                   (ENB00242358)

7/11/2020   DX-0843                Letter from Edith Leoso to Ben Callan, WDNR re: Comments Concerning the Enbridge Energy, LLC Line 5 Relocation       Will Use
                                   around the Bad River Reservation (BRB128290 - BRB128291)

7/20/2020   DX-0844                Project Review Form Potato River Road Site #1 Flood Damage Repairs (BRB251260 - BRB251275)                           Will Use


7/21/2020   DX-0845                Antidegradation Decision for the Enbridge Line 5 Denomie Creek Tributary (Slope 18) Phase 2 Work Pertaining to       Will Use
                                   Exceptional Resource Waters (ENB00516623)

7/24/2020   DX-0846                Email from Naomi Tillison re: Slope 18 Phase 2 Antidegradation Decision (ENB00516622 - ENB00516688)                  Will Use


Aug-2020    DX-0847                Emails between Dan Quick and Matt Horn, re: RPS Model Input Form and report, July - August 2020 (ENB00664425 -       May Use
                                   ENB00664431)

Aug-2020    DX-0848                The Nature Conservancy in Wisconsin, Caroline Lake Preserve, accessed August 2020 (ENB00653769 -                     May Use
                                   ENB00653774)

Aug-2020    DX-0849                Enbridge Pipeline Integrity 2020 Slope Crossing Report Great Lakes and Midwest Regions (TETRATECH0000969 -           Will Use
                                   TETRATECH0000984)


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 Date           Identification                                                       Description                                                     Offers, Objections,
             No.        Witness                                                                                                                      Rulings, Exceptions
8/4/2020    DX-0850                Integrity Management Program (ENB00434685 - ENB00434719)                                                          May Use


8/4/2020    DX-0851                Tetra Tech: Bad River Meander Neck, Ashland County, Wisconsin - Top of Bank Survey Points 2018 to 2020            Will Use
                                   (ENB00432839)

8/5/2020    DX-0852                Letter from Matthew Lucey to Michigan Public Service Commission re: Case No. U-20763-Enbridge Request for Act     May Use
                                   16 Approval of Straits Line 5 Replacement Segment Project (ENB00613019 - ENB00613021)

8/5/2020    DX-0853                MNRD-WDNR Technical Meeting- Enbridge Line 5 Re-Route Proposal (BRB232803)                                        Will Use


8/10/2020   DX-0854                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                     Will Use
                                   Enbridge_Meander_Phase_3B_HDD (BRB056367 - BRB056371)

8/10/2020   DX-0855                Email re: FW: Bad River - Potato River Road Site #1 - FUTURE WORK (BRB255583 - BRB255584)                         Will Use


8/13/2020   DX-0856                Meeting Minutes from 8/13/2020 from Bad River-WDNR Government-to-Government Consultation Meeting: Enbridge        Will Use
                                   Line 5 Re-Route Proposal (BRB232804 - BRB232810)

8/14/2020   DX-0857                Email string starting with email from Edith Leoso re: NNG Rib Lake MP 3.05 and 3.55 (Unclassified) (BRB134030 -   Will Use
                                   BRB134031)

8/14/2020   DX-0858                Email string starting with email from Jeremy Ward re: Access Permit: Slope 18 Topographic Survey (ENB00492475 -   Will Use
                                   ENB00492478)

8/24/2020   DX-0859                Letter from Harry Andersen to Judge James S. Jamo (ENB00613024 - ENB00613025)                                     May Use


8/26/2020   DX-0860                Email re: RE: RE: Northern Natural Gas Access Permit No 8 -12-2020-865 Additional Information (BRB143267 -        Will Use
                                   BRB143271)

8/27/2020   DX-0861                Email from Naomi Tillison re: Enbridge fee for the antideg 11 -20-18-04 with attachment (BRB133334 - BRB133335)   Will Use


9/11/2020   DX-0862                Email string starting with email from Shea Schachameyer re: 9/7 Delineation (BRB135436 - BRB135437)               Will Use


9/17/2020   DX-0863                How IMPLAN Works – IMPLAN Group, Updated September 17, 2020 (ENB00490166 - ENB00490169)                           May Use

9/17/2020   DX-0864                Photo (ENB00287117)                                                                                               Will Use


9/17/2020   DX-0865                Photo (ENB00287124)                                                                                               Will Use



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 Date           Identification                                                        Description                                                    Offers, Objections,
             No.        Witness                                                                                                                      Rulings, Exceptions
9/17/2020   DX-0866                Photo (ENB00287125)                                                                                               Will Use


9/17/2020   DX-0867                Photo (ENB00287137)                                                                                               Will Use


9/17/2020   DX-0868                Photo (ENB00287142)                                                                                               Will Use

9/17/2020   DX-0869                Photo (ENB00287144)                                                                                               Will Use


9/17/2020   DX-0870                Photo (ENB00287151)                                                                                               Will Use


9/17/2020   DX-0871                Photo (ENB00287152)                                                                                               Will Use


9/17/2020   DX-0872                Photo (ENB00287158)                                                                                               Will Use


9/17/2020   DX-0873                Fish Creek Services Agreement - Amendment 2 (BRB209679 - BRB209680)                                               Will Use


9/18/2020   DX-0874                Email string starting with email from Naomi Tillison re [External] Re Bad River Meander Line 5 HDD Project with   Will Use
                                   attachment (ENB00294036 - ENB00294041)

9/23/2020   DX-0875                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project: Potato River Road Site 1 (Upper     Will Use
                                   Vaughn) 2020-07-20 (BRB254790 - BRB254792)

9/24/2020   DX-0876                Environmental Survey Report, Enbridge - Bad River Meander Project - Tree Inventory (ENB00706325 -                 Will Use
                                   ENB00706332)

9/25/2020   DX-0877                Bad River's Objections and Responses to Def's Third Set of ROGs                                                   May Use


9/28/2020   DX-0878                Bad River Tribal Trust Tracts (ENB00490734)                                                                       Will Use


9/28/2020   DX-0879                Public and Private Tracts (ENB00490735)                                                                           Will Use


9/28/2020   DX-0880                Bad River Band of Lake Superior Chippewa Fee Owned Lands (ENB00490736)                                            Will Use


9/30/2020   DX-0881                Lakehead System (EEP US Mainline Assets) PROFORMA PROFIT/LOSS - LINE 5 (ENB00429844 - ENB0042945)                 Will Use


10/1/2020   DX-0882                Bad River's Objections and Responses to Def's Fourth Set of ROGs                                                  May Use



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  Date           Identification                                                        Description                                                    Offers, Objections,
              No.        Witness                                                                                                                      Rulings, Exceptions
10/2/2020    DX-0883                Letter from Julie Kloss Molina to Naomi Tillison Re: Enbridge Energy, Limited Partnership Bad River Meander Rip   May Use
                                    Rap Stabilization Project (ENB00288487 - ENB00288872)

10/5/2020    DX-0884                TRC Maximum Allowable Pipe Span Based on Deflection (ENB00425075 - ENB00425075)                                   May Use


10/5/2020    DX-0885                Bad River Line 05 Superior-Iron River (30 in) Positional & Depth of Cover Study, Survey Dates 8/31/20-9/5/20      May Use
                                    (ENB00424247 - ENB00424272)

10/8/2020    DX-0886                Email from Shea Schachameyer (BRB131051)                                                                          Will Use


10/11/2020   DX-0887                DOI Tract History Report Excerpt (BRB002937 - BRB002941; BRB003759; BRB003646 - BRB003650)                        May Use

10/15/2020   DX-0888                Bad River's Fourth Supp. Objections and Responses to Def's First Set of ROGs                                      May Use


10/15/2020   DX-0889                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project: NNG_GeotechDrilling-                Will Use
                                    HDD_2020-08 (BRB169935 - BRB169937)

10/16/2020   DX-0890                Meeting Minutes from 10/16/20 Strategy Meeting (BRB237163 - BRB237167)                                            Will Use


10/18/2020   DX-0891                Memorandum from Ben Lee, PE re: Northern Natural Gas Pipe Replacement Review-PM 3.55 Draft (BRB194323 -           Will Use
                                    BRB194335)

10/18/2020   DX-0892                Email from Benjamin Lee Re: Review Memos with Attachments (BRB194322 -BRB194347)                                  Will Use


10/19/2020   DX-0893                Second Amended Complaint                                                                                          May Use


10/19/2020   DX-0894                Plaintiff's Memorandum of Law ISO Unopposed Motion for eave to File Second Amended Complaint                      May Use


10/20/2020   DX-0895                Bad River- WDNR Government to Government Consultation Meeting Agenda Enbridge Line 5 Re-Route Proposal            Will Use
                                    (BRB232811 - BRB232817)

10/23/2020   DX-0896                Meeting Minutes from 10/23/20 Strategy Meeting (BRB237168 - BRB237172)                                            Will Use


10/27/2020   DX-0897                Email string starting with email from Melis Arik re: ACOE review of Enbridge Projects (BRB135972 - BRB135975)     Will Use


10/28/2020   DX-0898                Bad River Tribal Council Special Meeting - Land Buy Back Resolution for MOA Charles Connors, Naomi Tillison       Will Use
                                    (BRB098883 - BRB098895)



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 Date           Identification                                                        Description                                                        Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
11/2/2020   DX-0899                Bad River's Objections and Responses to Defendant's Fifth Set of ROGs                                                 May Use


11/2/2020   DX-0900                Email From Lorrie Salawater (BRB131007)                                                                               Will Use


11/2/2020   DX-0901                Email from Lorrie Salawater (BRB131007 - BRB131007)                                                                   Will Use

11/3/2020   DX-0902                Email From Shea Schachameyer (BRB131012)                                                                              Will Use


11/3/2020   DX-0903                Email re: HDD Impacts on Groundwater-Surface Waters (BRB150968 - BRB150968)                                           Will Use


11/5/2020   DX-0904                Letter from Eric Oliphant to Steven Johnson Re: Enbridge LP's Application for Right of Way on Tract No. 430 R 49 on   May Use
                                   the Bad River Reservation with Attachments (BRB137547 - BRB137626)

11/5/2020   DX-0905                Email from Melis Arik (BRB131020)                                                                                     Will Use


11/5/2020   DX-0906                Fish Creek Services Agreement - Amendment 3 (BRB232893 - BRB232894)                                                   Will Use

11/5/2020   DX-0907                Email from Melis Arik (BRB131020 - BRB131020)                                                                         Will Use


11/5/2020   DX-0908                Email re: FW: Question: HDD removal techniques? (BRB239406 - BRB239407)                                               Will Use


11/6/2020   DX-0909                Email from Melis Arik (BRB131024)                                                                                     Will Use


11/6/2020   DX-0910                Email from Shea Schachameyer (BRB131026)                                                                              Will Use


11/6/2020   DX-0911                Email from Melis Arik (BRB131025)                                                                                     Will Use


11/6/2020   DX-0912                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                         Will Use
                                   Enbridge_Meander_Riprap_Proposal_2020-10-02 (BRB056372 - BRB056376)

11/6/2020   DX-0913                Email re: Re: Enbridge HDD WWPO denial justification (BRB236995 - BRB236998)                                          Will Use


11/9/2020   DX-0914                Defendants' Second Amended Answer, Defenses, and Counterclaims to Plaintiff's Second Amended Complaint                May Use


11/9/2020   DX-0915                Email from Melis Arik (BRB131030)                                                                                     Will Use




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  Date           Identification                                                        Description                                                        Offers, Objections,
              No.        Witness                                                                                                                          Rulings, Exceptions
11/9/2020    DX-0916                Email from Naomi Tillison (BRB131031)                                                                                 Will Use


11/11/2020   DX-0917                Email from Naomi Tillison re: Bad River Meander Rip Rap Stabilization Project with attachments (BRB121003 -           Will Use
                                    BRB121011)

11/11/2020   DX-0918                Email string starting with email from Ali Hendi FW: Bad River Meander Rip Rap Stabilization Project with attachment   Will Use
                                    (ENB00507401 - ENB00507407)

11/13/2020   DX-0919                Bad River Tribal Council Special Meeting - CWA 401 Cert - Enbridge Horizontal Directional Drilling (BRB056380 -       Will Use
                                    BRB056441)

11/13/2020   DX-0920                Special Meeting 11-2020 - Antidegradation Decision Pertaining to Outstanding Tribal Resource Waters for the           Will Use
                                    Enbridge Bad River Meander Line 5 HDD Project (BRB056475 - BRB056475)

11/13/2020   DX-0921                Memorandum from Ben Lee re: Enbridge Bad River Meander Stabilization Review Draft (BRB194513 - BRB194523)             Will Use


11/14/2020   DX-0922                Email from Erick Arnold Re: Bad River memo with attachment (BRB194512 -BRB194523)                                     Will Use

11/17/2020   DX-0923                Bad River Tribal Council Special Meeting - CWA 401 Cert - Enbridge Line 5 Horizontal Directional Drilling Project     Will Use
                                    (BRB056497)

11/17/2020   DX-0924                Bad River Band of Lake Superior Tribe of Chippewa Indians Resolution No 11 -17-20-428 (BRB056124 - BRB056125)         Will Use


11/18/2020   DX-0925                Redlined letter from Michael Wiggins Jr. to Colonel Karl Jansen re: Clean Water Act (CWA) Section 401 Certification   Will Use
                                    for Meander Phase 3B (Horizontal Directional Drilling Project (Project)) Proposal (BRB056126 - BRB056153)

11/18/2020   DX-0926                Email string starting with email from Melis Arik re: Michigan Governor Gretchen Whitmer notifies Enbridge easement    Will Use
                                    is being revoked and terminated (BRB134318 - BRB134322)

11/20/2020   DX-0927                Email from Melis Arik (BRB130948)                                                                                     Will Use


11/23/2020   DX-0928                Plaintiff's Memorandum in Opposition to Defendants' Motion to Join Parties Necessary for the Band's Claim for Money   May Use
                                    Damages

11/23/2020   DX-0929                Declaration of Susan Smith with exhibits                                                                              Will Use


11/24/2020   DX-0930                Email from Shea Schachameyer (BRB194305)                                                                              Will Use




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  Date           Identification                                                        Description                                                       Offers, Objections,
              No.        Witness                                                                                                                         Rulings, Exceptions
11/25/2020   DX-0931                Email from Julie Kloss re: Access Permit: Monument installation, camera installation and topo/boundary retracement   Will Use
                                    survey with attachments (ENB00288885 - ENB00288894)

12/1/2020    DX-0932                Email from Melis Arik (BRB130972)                                                                                    Will Use


12/1/2020    DX-0933                Email from Melis Arik (BRB130975)                                                                                    Will Use


Dec-2020     DX-0934                Bad River Meander Rip Rap Stabilization Project - MNRD Project Review Form Responses (ENB00289949 -                  Will Use
                                    ENB00289962)

12/3/2020    DX-0935                Letter from Sterling G. Koch to Honorable Gretchen Whitmer re: Great Lakes Project - Case No. U-20-763               May Use
                                    (ENB00613030 - ENB00613033)

12/3/2020    DX-0936                Memorandum from Ben Lee, PE re: Northern Natural Gas Pipe Replacement Review-PM 3.55 Draft (BRB194468 -              Will Use
                                    BRB194482)

12/7/2020    DX-0937                Bad River's Objections and Responses to Def's Sixth Set of ROGs                                                      May Use

12/7/2020    DX-0938                Email from Erick Arnold Re: Potato River South Tributaries Assessment Memo with attachment (BRB194467 -              Will Use
                                    BRB194482)

12/8/2020    DX-0939                Email From Melis Arik (BRB130984)                                                                                    Will Use


12/9/2020    DX-0940                Bad River Meander Overland Channel Erosion Prevention Project Applications (BRB162760 - BRB163322)                   Will Use


12/9/2020    DX-0941                Bad River Meander Tree Revetment Project Applications (BRB163929 - BRB164488)                                        Will Use


12/9/2020    DX-0942                Bad River Meander Tree Revetment Project Applications (BRB163929 - BRB164488)                                        Will Use

12/9/2020    DX-0943                Memorandum from Ben Lee, PE re: Enbridge Slope 18 Stabilization Project Review Draft (BRB194487 - BRB194495)         Will Use


12/9/2020    DX-0944                Bad River Meander Overland Channel Erosion Prevention Project Applications (BRB162760 - BRB163322)                   Will Use


12/10/2020   DX-0945                Email from Melis Arik (BRB130992)                                                                                    Will Use


12/14/2020   DX-0946                Bad River Bank Protection Hydraulic Modeling Summary, Technical Memorandum from Tom MacDonald                        Will Use
                                    (ENB00289940 - ENB00289948)



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  Date           Identification                                                         Description                                                          Offers, Objections,
              No.        Witness                                                                                                                             Rulings, Exceptions
12/14/2020   DX-0947                Technical Memorandum from Tom MacDonald re: Bad River Bank Protection Hydraulic Modeling Summary                         Will Use
                                    (BRB121424 - BRB121432)

12/15/2020   DX-0948                Enbridge Integrity Reliability, Line 5 Reliability for Integrity Hazard within Bad River Reservation (ENB00435260 -      Will Use
                                    ENB00435279)

12/15/2020   DX-0949                Line 5 INO (WI) Station Milepost #1165 Bad River Bank Stabilization Application - Re-issued for permitting               Will Use
                                    (ENB00289935 - ENB00289939)

12/15/2020   DX-0950                MNRD Comments on Fish Creek Memos; Upper Vaughn Memo (BRB252648 - BRB252649)                                             Will Use


12/16/2020   DX-0951                Sarnia natural gas plant at risk if Line 5 pipeline shut down, The Sarnia Observer (ENB00430968 - ENB00430971)           May Use


12/16/2020   DX-0952                Email from Erick Arnold Re: Slope 18 review Memo draft with attachment (BRB194485 -BRB194495)                            Will Use


12/17/2020   DX-0953                Letter from Claire Greenwood to Marlon Samuel re: The Revocation and Termination of the 1953 Easement for                May Use
                                    Enbridge's Line 5 Crossing of the Straits of Mackinac (ENB00613009 - ENB00613010)

12/19/2020   DX-0954                Letter from Julie Kloss Molina to Naomi Tillison Re: Enbridge Meander Overland Channel Armoring Project                  Will Use
                                    (ENB00292924 - ENB00293485)

12/21/2020   DX-0955                Email from Julie Kloss re: Bad River Meander Rip Rap Stabilization Project (BRB121374 - BRB121377)                       Will Use


12/22/2020   DX-0956                Letter from Michael Wiggins Jr. to Colonel Karl Jansen (BRB056318 - BRB056346)                                           Will Use


12/22/2020   DX-0957                Email from Melis Arik (BRB131276)                                                                                        Will Use


12/30/2020   DX-0958                Chat string between Melis Arik, Erick Arnold and Naomi Tillison (BRB138797 - BRB148801)                                  Will Use

Jan-2021     DX-0959                January 2021 Price Elasticity for Energy Use in Buildings in the United States, U.S. Energy Information Administration   May Use
                                    (ENB00490220 - ENB00490242)

 1/5/2021    DX-0960                Conveyed Interests Report for Tract 430 4001602798_430 S 13 (BRB098806 - BRB098807)                                      Will Use


 1/6/2021    DX-0961                Email from Sergio Gonzalez re: Northern - Bad River (BRB150762)                                                          Will Use


 1/9/2021    DX-0962                Email From Melis Arik (BRB148710)                                                                                        Will Use




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 Date           Identification                                                        Description                                                     Offers, Objections,
             No.        Witness                                                                                                                       Rulings, Exceptions
1/20/2021   DX-0963                Email from Melis Arik (BRB131257)                                                                                  Will Use


1/22/2021   DX-0964                Bad River's Supp. Objections and Responses to Def's Sixth Set of ROGs                                              May Use


1/22/2021   DX-0965                Memorandum from Ben Lee re: Enbridge Bad River Meander Stabilization Review Draft (BRB194376 - BRB194389)          Will Use

1/22/2021   DX-0966                Email from Benjamin Lee Re: Bad River Meander Stabilization Review Memo Draft with attachment (BRB194375 -         Will Use
                                   BRB194389)

1/26/2021   DX-0967                Email from Arik Melis re: definition of discharge (BRB209708 - BRB209709)                                          Will Use


Feb-2021    DX-0968                Enbridge Bad River 2019 - 2021 Lidar Comparison Line 5 (ENB00490742)                                               Will Use


Feb-2021    DX-0969                Enbridge Line 5 Bad River Channelization Study HEC-RAS Model February 2020 (Draft) (ENB00395466 -                  Will Use
                                   ENB00395507)

2/2/2021    DX-0970                Email from Val Bigboy re: Request (BRB140207)                                                                      Will Use


2/2/2021    DX-0971                Enbridge Engineering Assessment of Line at Slope 18 (ENB00293999 - ENB00294005)                                    Will Use


2/3/2021    DX-0972                L5 Badriver Monument Map As Built Feb. 3, 2021 (ENB00293998)                                                       Will Use


2/4/2021    DX-0973                Suncor, Imperial scramble to make contingency plans in case Michigans order cut (ENB00440678 - ENB00440685)        May Use


2/9/2021    DX-0974                Enbridge Line 5 Diversion Berms (BARR0273934 - BARR0273937)                                                        Will Use


2/9/2021    DX-0975                Enbridge Line 5 Diversion Berms (ENB00424955 - ENB00424956)                                                        Will Use

2/11/2021   DX-0976                Email from Julie Kloss re: EI Reports: Cameral and Monument Installation (BARR0152568 - BARR0152583)               May Use


2/12/2021   DX-0977                Enbridge Line 5 Winter 2021 Improvements (ENB00298415 - ENB00298421; ENB00298425 - ENB00298479)                    Will Use


2/16/2021   DX-0978                Tribal Council Letter to Col. Karl Jansen (USACE) re Band’s denial of Enbridge’s October 2, 2020, application to   May Use
                                   install rip rap on the banks of the Bad River at the Meander (BRB133346 - BRB133381)

2/16/2021   DX-0979                Letter from Bad River Band to Colonel Karl Jansen (BRB133346 - BRB133385)                                          Will Use



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 Date           Identification                                                         Description                                                      Offers, Objections,
             No.        Witness                                                                                                                         Rulings, Exceptions
2/19/2021   DX-0980                Enbridge Line 5 Winter 2021 Improvements (ENB00298441 - ENB00298442)                                                 Will Use


2/19/2021   DX-0981                Email from Naomi Tillison Re: CWA Certification- Enbridge Meander Riprap Stabilization Proposal with Attachments     Will Use
                                   (BRB133346 - BRB133385)

2/20/2021   DX-0982                State of Michigan, Executive Order 2021-3, Declaration of Emergency (ENB00430973 - ENB00430975)                      May Use


2/24/2021   DX-0983                Memorandum of Michael Wiggins, Jr., Etta Burns, Dylan Jennings, and Shea Schachameyer in Opposition to               May Use
                                   Defendants' Motion to Compel Production of Documents from Individual Band Members

2/26/2021   DX-0984                Bad River's Objections and Responses to Def's Seventh Set of ROGs                                                    May Use

2/26/2021   DX-0985                Email string starting with email from Naomi Tillison [External] Re: Overland Channel Rip Rap Stabilization Project   Will Use
                                   with attachment (ENB00513800 - ENB00513804)

2/26/2021   DX-0986                Email from Lorrie Salawater re: Northern Natural Gas Company (BRB134119 - BRB134121)                                 Will Use


Mar-2021    DX-0987                Mar. 2021 Overland Channel Erosion Prevention Applications (ENB00432253 -ENB00432830)                                May Use


3/2/2021    DX-0988                Suncor Energy Inc Response to Enbridge Information Request No. 1 (ENB00440645 - ENB00440677)                         May Use


3/2/2021    DX-0989                Response to Information Request No. 1, Suncor Energy Inc. to Enbridge Pipelines, Inc. (ENB00665040 -                 May Use
                                   ENB00665072)

3/5/2021    DX-0990                Project Review Form, Slope 18 Temp. Drainage Improvement & Camera Setup (ENB00294689)                                Will Use


3/5/2021    DX-0991                Project Review Form, Slope 18 Camera Setup (ENB00294690)                                                             Will Use


3/5/2021    DX-0992                Email re: RE: follow up from Sharon Day (BRB140100 - BRB140103)                                                      Will Use


3/9/2021    DX-0993                Bad River Meander Tree Revetment Project Applications (BRB163327 - BRB163900)                                        May Use


3/9/2021    DX-0994                Bad River Meander Overland Channel Erosion Prevention Project Application (ENB00432253 - ENB00432830)                Will Use

3/10/2021   DX-0995                Email string starting with email from Julie Kloss re Access Permit: Slope 18 temporary drainage improvements and     Will Use
                                   camera setup with attachments (ENB00294685 - ENB00294690)




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 Date           Identification                                                        Description                                                         Offers, Objections,
             No.        Witness                                                                                                                           Rulings, Exceptions
3/10/2021   DX-0996                Fish Creek Services Agreement - Amendment 4 (BRB205587)                                                                Will Use


3/12/2021   DX-0997                Stephen Borowy, Nessel Reminds Customers to Report Propane Price-Gouging (ENB00490283 - ENB00490285)                   May Use


3/12/2021   DX-0998                State of Michigan announces the MI Propane Security Plan to protect consumers and Michigan's energy supply             May Use
                                   (ENB00664562 - ENB00664564)

3/18/2021   DX-0999                Line 5 HDD Applications (BRB164489 - BRB165077)                                                                        May Use


3/23/2021   DX-1000                Memorandum from Ben Lee, PE re: Enbridge Bad River Overland Channel Riprap Design Review Draft (BRB194540 -            Will Use
                                   BRB194548)

3/24/2021   DX-1001                Email string starting with email from Melis Arik re: update (BRB119386 - BRB119388)                                    Will Use


3/24/2021   DX-1002                Email from Erick Arnold Re: Draft- Bad River Overland Channel Riprap Review with attachments (BRB194539 -              Will Use
                                   BRB194549)

3/29/2021   DX-1003                Turnover Remained Unchanged at Large Truckload Fleets in Fourth Quarter, American Trucking Associations                May Use
                                   (ENB00431004 - ENB00431004)

Apr-2021    DX-1004                Report of Special Committee on Econ. Relationship between Canada & the US - Line 5 (an Interim Report)                 May Use
                                   (ENB00490243 - ENB00490282)

4/5/2021    DX-1005                Declaration of Ben Connors ISO the Plaintiff's Memorandum in Opposition to Defendants' Motion to Compel to Permit      May Use
                                   Entry onto the Reservation to Appraise Lands with exhibits

4/13/2021   DX-1006                Email string starting with email from Naomi Tillison re: Access Permit: Slope 18 temporary drainage improvements and   Will Use
                                   camera setup (ENB00297569 - ENB00297578)

4/13/2021   DX-1007                Email string starting with email from Julie Kloss re EI Reports: Slope 18 and NWHI site with attachments               Will Use
                                   (ENB00552538 - ENB00552554)

4/20/2021   DX-1008                Third Amended Complaint (Case No. 3:19-cv-602)                                                                         May Use


4/20/2021   DX-1009                Third Amended Complaint                                                                                                May Use


4/30/2021   DX-1010                C. Bemer, Propane Fuels America - Wisconsin, LPGas Magazine (ENB00490064 - ENB00490065)                                May Use




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 Date           Identification                                                        Description                                                      Offers, Objections,
             No.        Witness                                                                                                                        Rulings, Exceptions
4/30/2021   DX-1011                Email from Julie Kloss RE: Access Permit: Slope 18 temporary drainage improvements and camera setup with            Will Use
                                   attachments (ENB00525553 - ENB00525565)

May-2021    DX-1012                May 2021 Key facts about Wisconsin’s surface transportation system, TRIP fact sheet (ENB00430761 - ENB00430761)     May Use


5/1/2021    DX-1013                Facebook Post by Lorrie Salawater "So why should we trust them?"                                                    Will Use


5/5/2021    DX-1014                On-Reservation Request for Review Form - Review #2021-07-07-100 for Project # BR-1033-01 attached to an email to    Will Use
                                   Katie Wolfe (BRB255531 - BRB255532)

5/6/2021    DX-1015                Memorandum from Ben Lee, PE re: Enbridge Bad River Overland Channel Turf Reinforcement Mat Design Review            Will Use
                                   Draft (BRB232931 - BRB232941)

5/6/2021    DX-1016                Memorandum from Ben Lee, PE re: Enbridge Bad River Meander Stabilization Review Draft (BRB232900 -                  Will Use
                                   BRB232930)

5/6/2021    DX-1017                Memorandum from Ben Lee re: Enbridge Bad River Meander Stabilization Review Draft (BRB194860 - BRB194875)           Will Use

5/6/2021    DX-1018                Memorandum from Ben Lee re: Enbridge Bad River Meander Stabilization Review Draft (#164325.1 - #164325.31)          Will Use


5/6/2021    DX-1019                Memorandum from Ben Lee, PE re: Enbridge Bad River Overland Channel Turf Reinforcement Mat Design Review            Will Use
                                   Draft (#264316.1 - #264316.26)

5/6/2021    DX-1020                Memo from Ben Lee to Naomi Tillison RE: Enbridge Bad River Meander Stabilization Design Review Draft                Will Use
                                   (BRB194860-BRB194875)

5/11/2021   DX-1021                Florida gas shortage Panic buying to blame, industry officials say, Tallahassee Democrat (ENB00438601 -             May Use
                                   ENB00438604)

5/11/2021   DX-1022                Panic buying is driving the fuel shortage after Colonial Pipeline hack, expert says _ PBS NewsHour (ENB00438605 -   May Use
                                   ENB00438608)

5/11/2021   DX-1023                Slope 18 Crossing Site View / Geotechnical Short Inspection (ENB00424957 - ENB00425002)                             Will Use


5/11/2021   DX-1024                CWA Section 401 Pre-Filing Meeting Request (BRB255520 - BRB255520)                                                  Will Use


5/11/2021   DX-1025                Email re: 00514036 Potato River Road Site 1 Permits (BRB255521 - BRB255523)                                         Will Use




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 Date           Identification                                                        Description                                                  Offers, Objections,
             No.        Witness                                                                                                                    Rulings, Exceptions
5/12/2021   DX-1026                U.S. Gas Prices Hit $3 a Gallon as Shortage Sets in Amid Colonial Pipeline Shutdown (Collin Eaton, Amrith       May Use
                                   Ramkumar, Jennifer Smith, WSJ)

5/12/2021   DX-1027                Argus Media News Release (ENB00438609 - ENB00438614)                                                            May Use


5/12/2021   DX-1028                U.S. Gas Prices Hit $3 a Gallon as Shortage Sets in Amid Colonial Pipeline Shutdown - WSJ                       May Use


5/12/2021   DX-1029                Email re: RE: 00514036 Potato River Road Site 1 Army Corps Permit (BRB255519 - BRB255520)                       Will Use


5/12/2021   DX-1030                Email re: CamScanner 05-12-2021 11.26 (BRB251241 - BRB251242)                                                   Will Use


5/14/2021   DX-1031                Argus US Products (ENB00438615 - ENB00438619)                                                                   May Use


5/25/2021   DX-1032                Email string starting with email from Julie Kloss re EI Reports: Slope 18 and NWHI site with attachments        Will Use
                                   (ENB00551770 - ENB00551783)

5/27/2021   DX-1033                Pipeline Crossing_video (BRB250955)                                                                             Will Use


6/2/2021    DX-1034                Enbridge L5 Bad River Meander Monitoring and Shutdown Plan (ENB00543261 - ENB00543273)                          Will Use


6/9/2021    DX-1035                Email string starting with email from Julie Kloss re: EI Reports: Slope 18 and NWHI site (ENB00298415 -         Will Use
                                   ENB00298421)

6/9/2021    DX-1036                Email string starting with email from Julie Kloss re: EI Reports: Slope 18 and NWHI site (ENB00581698 -         Will Use
                                   ENB00581699)

6/17/2021   DX-1037                Wisconsin State Energy Profile, U.S. Energy Information Administration, Updated June 17, 2021 (ENB00490482 -    May Use
                                   ENB00490496)

6/21/2021   DX-1038                Email string starting with email from Andy Duncan FW: L5 Bad River Shutdown Plan with attachment (ENB00543259   Will Use
                                   - ENB00543273)

6/22/2021   DX-1039                Michigan Interstate System's Rate of Road and Bridge Deterioration Among Highest in U.S., TRIP (ENB00430764 -   May Use
                                   ENB00430769)

6/23/2021   DX-1040                Memorandum from Ben Lee, PE re: Enbridge Slope 18 Stabilization Project Review Draft (BRB194876 - BRB194886)    Will Use


6/23/2021   DX-1041                Memo from Ben Lee to Naomi Tillison RE: Enbridge Slope 18 Stabilization Project Review Draft (BRB194876-        Will Use
                                   BRB194886)


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 Date           Identification                                                        Description                                                        Offers, Objections,
             No.        Witness                                                                                                                          Rulings, Exceptions
6/28/2021   DX-1042                Email string starting with email from Naomi Tillison Re [External] RE: Revised and Updated Applications for Meander   Will Use
                                   Erosion Prevention Projects with attachments (ENB00298683 - ENB00298694)

6/30/2021   DX-1043                Email re: APPLICATION FOR DEPARTMENT OF THE ARMY PERMIT (BRB251227 - BRB251229)                                       Will Use


7/1/2021    DX-1044                Bad River's Second Supp. Objections and Responses to Def's Sixth Set of ROGs                                          May Use


7/1/2021    DX-1045                Antidegradation Demonstration for Exceptional Resource Waters (Tier 2 Waters) and for Outstanding Resource Waters     Will Use
                                   (Tier 2.5 Waters) (BRB255573 - BRB255573)

7/1/2021    DX-1046                Email re: Antidegradation Demonstration for ERW or ORW (BRB251243 - BRB251249)                                        Will Use

7/2/2021    DX-1047                Bad River's First Supp. Objections and Responses to Def's Third Set of ROGs                                           May Use


7/2/2021    DX-1048                Bad River's Supp. Objections and Responses to Def's Fourth Set of ROGs                                                May Use


7/2/2021    DX-1049                Notice of Decision on Appeal Regarding Tract No. 430 3H308 on the Bad River Reservation (A - 001 - A - 14)            Will Use


7/7/2021    DX-1050                Email from Megan Powless with Attachment: Bad River Tribal Historic Preservation Office Section 1 Compliance.pdf      Will Use
                                   (BRB255533 - BRB255534)

7/7/2021    DX-1051                Email string starting with email from Naomi Tillison re [External] Re: Bad River HDD Project with attachment          Will Use
                                   (ENB00571728 - ENB00571734)

7/14/2021   DX-1052                Enbridge/Tetra Tech 2nd Quarter Status Meeting Minutes (ENB00550990 - ENB0055091)                                     May Use


7/15/2021   DX-1053                Email string starting with email from Dave Richardson re [External] RE: Enbridge Tetra Tech Geohazard Quarterly       Will Use
                                   Status Meeting - July 14, 2021, with attachment (ENB00550988 - ENB00550991)

7/15/2021   DX-1054                Email re: RE: meander 401 cert extension request - Corps email (BRB255156 - BRB255156)                                Will Use


7/23/2021   DX-1055                Between Energy Saguenay and the beluga whales, Quebec has chosen (The Canadian News) (ENB00664340 -                   May Use
                                   ENB00664342)

7/23/2021   DX-1056                Bad River Meander Rip Rap Stabilization Project Application (BRB210072 - BRB210664)                                   Will Use


7/23/2021   DX-1057                Application Forms (BRB210072-BRB210664)                                                                               Will Use




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 Date           Identification                                                        Description                                                   Offers, Objections,
             No.        Witness                                                                                                                     Rulings, Exceptions
7/28/2021   DX-1058                Regular Meeting 8-21: Clean Water Act Section 401 Certification for Army Corps Autho rization Regional General   Will Use
                                   Permit for the Bad River Potato River Road Project (BRB255542 - BRB255542)

Aug. 2021   DX-1059                Hillshade Image of the Meander (ENB00664343)                                                                     Will Use


8/4/2021    DX-1060                Bad River Band Resolution No. 08-04-21-549 (BRB251230 - BRB251231)                                               Will Use


8/4/2021    DX-1061                Bad River Band Resolution 08-04-21-550 (BRB251250 - BRB251250)                                                   Will Use


8/5/2021    DX-1062                Email re: FW: Resolution Potato River Road (BRB255589 - BRB255593)                                               Will Use


8/10/2021   DX-1063                Project Review - NRD Feedback Form, Enbridge Meander Bank Riprap Proposal 2_2021 -08-10 (ENB00302028 -           Will Use
                                   ENB00302031)

8/15/2021   DX-1064                SCHISM v5.9 Manual, SCHISM development items (ENB00653074 - ENB00653215)                                         May Use


8/16/2021   DX-1065                IBIA Pre-Docketing Notice, Order Consolidating Appeals, Order Concerning Petition for Stay, and Order for the    May Use
                                   Administrative Record(s)

8/17/2021   DX-1066                Memo from Robert Yaremko/Miguel Hechavama re: L5 Pro -Forma Income Statement methodology Memo                    Will Use
                                   (ENB00429846 - ENB00429854)

8/28/2021   DX-1067                Email from Julie Kloss Re: EI Report: Slope 18 with attachment (ENB00517044 - ENB00517054)                       Will Use


8/30/2021   DX-1068                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                    Will Use
                                   Enbridge_MeanderBankRiprapProposal2_2021-08-10 - redline (BRB255229 - BRB255229)

9/9/2021    DX-1069                Email string starting with email from Rachael A. Shetka re [External] RE: Slope 18 Drainage Improvement          Will Use
                                   Applications with attachments (ENB00507010 - ENB00507198)

9/16/2021   DX-1070                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                    Will Use
                                   Enbridge_MeanderBankRiprapProposal2_2021-08-10 - redline (BRB255234 - BRB255234)

9/16/2021   DX-1071                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                    Will Use
                                   Enbridge_MeanderBankRiprapProposal2_2021-08-10 - redline (BRB255344 - BRB255344)

9/20/2021   DX-1072                Driver shortage especially tough on oil patch companies, tanker transporters, FreightWaves (ENB00430737 -        May Use
                                   ENB00430741)




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  Date           Identification                                                        Description                                                       Offers, Objections,
              No.        Witness                                                                                                                         Rulings, Exceptions
9/22/2021    DX-1073                Letter from Julie Kloss Molina to Naomi Tillison re: Enbridge Energy, Limited Partnership Geotechnical Borings for   Will Use
                                    the Bad River Line 5 HDD Project with enclosures (ENB00302032 - ENB00302601)

9/23/2021    DX-1074                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                        Will Use
                                    Enbridge_MeanderBankRiprapProposal2_2021-08-10 (ENB00594278 - ENB00594281)

9/23/2021    DX-1075                Project Review - NRD Feedback Form (NRD Checklist V2-2018-11-02) for Project:                                        Will Use
                                    Enbridge_MeanderBankRiprapProposal2_2021-08-10 (BRB255228 - BRB255228)

9/24/2021    DX-1076                Email from Naomi Tillison re: Updated Application for the Bad River Meander Rip Rap Project with attachment          Will Use
                                    (ENB00594276 - ENB00594281)

9/24/2021    DX-1077                Project Review - NRD Feedback Form, Enbridge Geoboring Proposal2_ 2021 -09-24 (BARR0127063 - BARR0127065)            Will Use


9/29/2021    DX-1078                International Joint Rate Tariff, FERC No. 45.27.0, Issued September 29, 2021 (ENB00430750 - ENB00430757)             May Use


9/29/2021    DX-1079                Enrolled Senate Bill No. 82, Act No. 87, Public Acts of 2021 (Michigan) (ENB00664410 - ENB00664412)                  May Use

9/29/2021    DX-1080                Public Notice -- Antidegradation Decision – Outstanding Tribal Resource Waters (OTRW), Enbridge Line 5 Riprap        Will Use
                                    Proposal at the Bad River Meander (BRB255486 - BRB255486)

9/29/2021    DX-1081                Email re: Comments on Enbridge Proposals at the Bad River Meander (BRB255473 - BRB255473)                            Will Use


9/30/2021    DX-1082                Email from Rachael A. Shetka re: Meander Rip Rap Project Review Form Responses with attachment (ENB00497432 -        Will Use
                                    ENB00497438)

Oct. 2021    DX-1083                Doremus, Jacqz and Johnston, Sweating the Energy Bill Extreme Weather, Poor Households, and the Energy Spending      May Use
                                    Gap (ENB00490076 - ENB00490130)

10/5/2021    DX-1084                LinkedIn Profile, Melis Arik                                                                                         Will Use


10/13/2021   DX-1085                Email re: Stantech Meander Work (BRB255151 - BRB255151)                                                              Will Use


10/18/2021   DX-1086                2021 Enbridge Water Crossing Field Form, Bad River Meander Encroachment (1) (TETRATECH0013654 -                      May Use
                                    TETRATECH0013685)

10/18/2021   DX-1087                2021 Enbridge Water Crossing Field Form - Bad River Meander Encroachment (1), Ashland County, Wisconsin -            May Use
                                    Crossing Summary (ENB00612596 - ENB00612607)




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  Date           Identification                                                       Description                                                       Offers, Objections,
              No.        Witness                                                                                                                        Rulings, Exceptions
10/18/2021   DX-1088                2021 Enbridge Water Crossing Field Form - Bad River Meander Encroachment (2), Ashland County, Wisconsin -           May Use
                                    Crossing Summary (ENB00612608 - ENB00612617)

10/18/2021   DX-1089                Note from Ben Connors (BRB255147 - BRB255147)                                                                       Will Use


10/18/2021   DX-1090                2021 Enbridge Water Crossing Field Form Sugarbush Creek (1), Ashland County, Wisconsin (ENB00436363 -               Will Use
                                    ENB00436374)

10/19/2021   DX-1091                2021 Enbridge Water Crossing Field Form, Tributary to Denomie Creek (6), Ashland County, Wisconsin                  May Use
                                    (ENB00436401 - ENB00436415)

10/19/2021   DX-1092                2021 Enbridge Water Crossing Field Form Tributary to Denomie Creek (2), Ashland County, Wisconsin                   Will Use
                                    (ENB00436375 - ENB00436385)

10/19/2021   DX-1093                2021 Enbridge Water Crossing Field Form, Tributary to Denomie Creek (3), Ashland County, Wisconsin                  Will Use
                                    (ENB00436386 - ENB00436393)

10/19/2021   DX-1094                2021 Enbridge Water Crossing Field Form, Tributary to Denomie Creek (4), Ashland County, Wisconsin                  Will Use
                                    (ENB00436394 - ENB00436400)

10/19/2021   DX-1095                2021 Enbridge Water Crossing Field Form, Bad River, Ashland County, Wisconsin (ENB00612618 - ENB00612627)           Will Use


10/19/2021   DX-1096                Email re: notes (BRB255390 - BRB255390)                                                                             Will Use

10/21/2021   DX-1097                Restoration Site Evaluation Form (BARR0006508 - BARR0006516)                                                        Will Use


10/22/2021   DX-1098                Bad River Tribal Council Special Meeting - CWA 401 Cert - Enbridge Bank Stabilization Rip Rap Proposal              Will Use
                                    (BRB202286 - BRB202324)

10/25/2021   DX-1099                Press Release, Industry Short 80,000 Drivers Today, May Be Short 160,000 by 2030, American Trucking Associations    May Use
                                    (ENB00430745 - ENB00430749)

10/26/2021   DX-1100                Letter from Bad River Band to Colonel Karl Jansen Re Clean Water Act Section 401 Certification Denial for Meander   Will Use
                                    Line 5 HDD (Horizontal Directional Drilling) Project Proposal (BRB200589 - BRB200634)

10/29/2021   DX-1101                Memorandum from Naomi Tillison with attachment (BRB255133 - BRB255133)                                              Will Use


11/1/2021    DX-1102                to April 2022 EIA Refinery Operable Utilization Rate (ENB00705869 - ENB00705870)                                    May Use




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  Date           Identification                                                        Description                                                    Offers, Objections,
              No.        Witness                                                                                                                      Rulings, Exceptions
Nov. 2021    DX-1103                November 2021 UMLER Database (ENB00431035 - ENB00431035)                                                          May Use


Nov. 2021    DX-1104                Trinity Rail and The Greenbrier, Rail Energy Transportation Advisory Committee, STB RETAC Railcar Update -        May Use
                                    November 2021

11/3/2021    DX-1105                Email from Naomi Tillison re: Updated Application for the Bad River Meander Overland Channel Armoring Pro posal   Will Use
                                    with attachments (BRB202491 - BRB202526)

11/3/2021    DX-1106                Email from Naomi Tillison re: CWA 401 Certification- Enbridge Meander Overland Channel Armoring Proposal with     Will Use
                                    attachments (BRB202491 - BRB202526)

11/3/2021    DX-1107                Email re: Enbridge Meander Stabilization (Bank) Rip Rap - attachments (BRB255180 - BRB255182)                     Will Use


11/5/2021    DX-1108                Brief of Amicus Curiae The Government of Canada in Partial Support of Plaintiffs (Enbridge Energy, Limited        May Use
                                    Partnership et al., v. Whitmer et al., 1:20-cv-01141 (W.D. Mich., Judge Janet T. Neff presiding))

11/7/2021    DX-1109                Email from Naomi Tillison re: CWA 401 Certifications - Enbridge Meander Overland Channel TRM with attachments     Will Use
                                    (BRB200635 - BRB200672)

11/7/2021    DX-1110                Email from Naomi Tillison re: CWA 401 Certifications - Enbridge Meander Timber Revetment Proposal with            Will Use
                                    attachments (BRB200673 - BRB2006711)

11/7/2021    DX-1111                Email from Naomi Tillison re: CWA 401 Certification- Enbridge Meander Overland Channel TRM with attachments       Will Use
                                    (BRB200635 - BRB200672)

11/7/2021    DX-1112                Email from Naomi Tillison re: CWA 401 Certification- Enbridge Meander Timber Revetment Proposal with              Will Use
                                    attachments (BRB200673 - BRB200711)

11/10/2021   DX-1113                Email re: Enbridge Application for Rip Rap at Bad River (BRB255159 - BRB255177)                                   Will Use

11/30/2021   DX-1114                Come By Chance refinery sold, will become biofuel operation by mid -2022, CBC News (ENB00705863 -                 May Use
                                    ENB00705868)

Dec. 2021    DX-1115                December 2021, U.S. Receipts by Rail from Midwest (PADD 2) of Crude Oil (Thousand Barrels) (ENB00431033 -         May Use
                                    ENB00431034)

12/1/2021    DX-1116                FERC ICA Oil Tariff 43.41.0 (ENB00429271 - ENB0042977)                                                            Will Use


12/3/2021    DX-1117                E. Alini, High furnace oil, propane prices could leave some Canadians scrambling this winter, Global News         May Use
                                    (ENB00489981 - ENB00489984)


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  Date           Identification                                                        Description                                                  Offers, Objections,
              No.        Witness                                                                                                                    Rulings, Exceptions
12/7/2021    DX-1118                Memorandum from W. Jaquith to William J. Rennicke (ENB00432031 - ENB00432031)                                   May Use


12/7/2021    DX-1119                Email re: Re: Enbridge Meander Stabilization (Bank) Rip Rap - attachments (BRB255157 - BRB255158)               Will Use


12/10/2021   DX-1120                Email from Naomi Tillison re: CWA 401 Certifications - Enbridge Meander Bank Riprap Proposal with attachments   Will Use
                                    (BRB202399 - BRB202444)

12/10/2021   DX-1121                Email from Naomi Tillison re: CWA 401 Certification- Enbridge Meander Bank Riprap Proposal with attachments     Will Use
                                    (BRB202399 - BRB202444)

12/10/2021   DX-1122                Fish Creek Services Agreement - Amendment 5 (BRB209707)                                                         Will Use

12/22/2021   DX-1123                Email from Julie Kloss re: Slope 18 Applications with attachment (ENB00490505 - ENB00490713)                    Will Use


12/22/2021   DX-1124                Letter from Julie Kloss Molina re: Enbridge Eastern Channel Improvement Project (ENB00490506 - ENB00490713)     Will Use


12/23/2021   DX-1125                PHMSA Press Release - New Rule Strengthens Pipeline Standards for Great Lakes, Coastal Waters                   May Use


12/27/2021   DX-1126                86 FR 73186, Dec. 27, 2021, Amendment (ENB00425114 - ENB00425127)                                               May Use


 1/1/2022    DX-1127                Explorer Pipeline Company FERC Tariff 100.97 (ENB00640534 - ENB00640563)                                        May Use


 1/1/2022    DX-1128                Email with D. Nahass (President of Railroad Financial Corp.) (ENB00430733 - ENB00430733)                        May Use


Jan. 2022    DX-1129                January 2022 ILI History on Bad River Band Reservation (ENB00424921 - ENB00424921)                              May Use


Jan. 2022    DX-1130                Geohazard Inspection History on Bad River Band Reservation (exported January 2022) (ENB00425054 -               May Use
                                    ENB00425054)

 1/1/2022    DX-1131                Figure 23 - Aerial Image of Meanders along the Bad River vicinity of Line 5 (p. 39 of the WWE Engineering       Will Use
                                    Evaluation of the Bad River Meander Adjacent to Enbridge Line 5 and Related Water Resources Issues

 1/1/2022    DX-1132                Picture Of The Meander At The River (from WWE Engineering Evaluation)                                           Will Use

 1/5/2022    DX-1133                Memo re D. Nahass Interview (President of Railroad Financial Corp.) (ENB00430734 - ENB00430735)                 May Use


1/10/2022    DX-1134                Space Heater Sparked Fire in the Bronx, CNN (ENB00490067 - ENB00490075)                                         May Use


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 Date           Identification                                                       Description                                                      Offers, Objections,
             No.        Witness                                                                                                                       Rulings, Exceptions
1/13/2022   DX-1135                St Louis Federal Reserve Econ Data WPU01, Price Index by Commodity for Construction: New Nonresidential            May Use
                                   Building Construction, Updated January 13, 2022 (ENB00430972 - ENB00430972)

1/13/2022   DX-1136                eDig History on Bad River Band Reservation (exported January 13, 2022) (ENB00436008 - ENB00436008)                 May Use


1/25/2022   DX-1137                Memorandum from W. Harsh (ENB00432030 - ENB00432030)                                                               May Use


1/25/2022   DX-1138                Telephone Interview with Chris Gardner of Enbridge Project Development Regarding Project to Install EFRDs in Bad   May Use
                                   River Reservation (ENB00435308 - ENB00435308)

1/27/2022   DX-1139                Email from Jane Steadman re: Bad River: Data, Facts with attachments (BRB214308 - BRB214504)                       May Use

1/27/2022   DX-1140                Ironville Terminal - Midwest Terminals Website, last accessed January 27, 2022 (ENB00430758 - ENB00430760)         May Use


1/31/2022   DX-1141                Expert Report of Laura Olive                                                                                       Will Use


1/31/2022   DX-1142                Expert Report of Ed Steigerwaldt (x 12)                                                                            Will Use


1/31/2022   DX-1143                Expert Report of Dagmar Etkin                                                                                      Will Use


1/31/2022   DX-1144                Expert Report of DeWitt Burdeaux                                                                                   Will Use


1/31/2022   DX-1145                Expert Report of Hamish Weatherly                                                                                  Will Use


1/31/2022   DX-1146                Expert Report of David Koltz                                                                                       Will Use


1/31/2022   DX-1147                Expert Report of Scott Storlid                                                                                     Will Use

1/31/2022   DX-1148                Expert Report of Pete Barlow                                                                                       Will Use


1/31/2022   DX-1149                Expert Report of Neil Earnest                                                                                      Will Use


1/31/2022   DX-1150                Expert Report of Corbett Grainger                                                                                  Will Use


1/31/2022   DX-1151                Expert Report of William Rennicke                                                                                  Will Use




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 Date           Identification                                                         Description                                                 Offers, Objections,
             No.        Witness                                                                                                                    Rulings, Exceptions
2/3/2022    DX-1152                Michael Isham (Exec. Minister of GLIFWC) - audio                                                                May Use


2/3/2022    DX-1153                Public Hearing On Draft Env. Impact Statement for Enbridge's Proposed Line 5 Relocation Project - audio         May Use


2/3/2022    DX-1154                Tillison Clip - audio                                                                                           May Use

2/3/2022    DX-1155                Wiggins Clip - audio                                                                                            May Use


2/4/2022    DX-1156                Email from Naomi Tillison Re: Slope 18 Applications (ENB00704622 - ENB00704623)                                 Will Use


2/4/2022    DX-1157                Administrative Order on Consent (ENB00708522 - ENB00708540)                                                     Will Use


2/4/2022    DX-1158                Email string starting with email from Naomi Tillison re: [External] Re: Slope 18 Applications                   Will Use


2/11/2022   DX-1159                Bad River's Response to Enbridge's Motion to Compel Production of Documents Relating to the Band's Review of    May Use
                                   Enbridge Project Proposals

2/11/2022   DX-1160                Declaration of Attorney Philip Tinker ISO Plaintiffs' Memorandum in Opposition to Enbridge's Motion to Compel   May Use
                                   Production of Documents Relating to the Band's Review of Enbridge Project Proposals

2/14/2022   DX-1161                Plaintiff's Proposed Findings of Fact ISO its Motion for Partial SJ and for SJ on Defendants' Counterclaims     May Use


2/14/2022   DX-1162                Plaintiff's Memorandum of Law ISO its Motion for Partial SJ and for SJ on Defendants' Counterclaims             May Use


2/16/2022   DX-1163                Letter from Sonya Savage to Wisconsin Department of Natural Resources (ENB00613006 - ENB00613008)               May Use


2/18/2022   DX-1164                Bad River Meander Migration Study Milepost #1165 (ENB00490714 - ENB00490731)                                    May Use

2/25/2022   DX-1165                Bad River's Responses to Def's First Set of Requests for Admission                                              May Use


2/25/2022   DX-1166                Bad River and Director Naomi Tillison's Responses to Def's Eighth Set of ROGs                                   May Use


2/25/2022   DX-1167                Bad River and Director Naomi Tillison's Responses to Def's Ninth Set of ROGs                                    May Use


3/1/2022    DX-1168                Enbridge CER 496 (ENB00640462 - ENB00640474)                                                                    May Use




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 Date           Identification                                                         Description                                                        Offers, Objections,
             No.        Witness                                                                                                                           Rulings, Exceptions
Mar. 2022   DX-1169                EIA Short Term Energy Outlook March 2022 (ENB00665450 - ENB00665504)                                                   May Use


3/8/2022    DX-1170                Declaration of Attorney Erick Arnold ISO Plaintiff's Memorandum in Opposition to Enbridge's Motion to Compel           May Use
                                   Production of Documents and Communications Regarding Substantially Similar Projects

3/8/2022    DX-1171                Enbridge 26(a) Initial Disclosures - Updated Supplemental March 8 2022(54663029.1)                                     May Use


3/15/2022   DX-1172                Mike Wiggins' FB post "Bad River: Please get out of our drinking water."                                               May Use


3/15/2022   DX-1173                Bad River Meander Migration Study, Milepost #1165 (ENB00612987 - ENB00613004)                                          Will Use


3/16/2022   DX-1174                Midwest Region Field Emergency Response Plan (ENB00612643 - ENB00612986)                                               Will Use


3/17/2022   DX-1175                Memo from Bill Harsh re: Interview with Ross R. Bayus (ENB00665171 - ENB00665172)                                      May Use


3/18/2022   DX-1176                Mike Wiggins' FB post "Translation: Enbridge will destroy your wild rice fields."                                      May Use

3/21/2022   DX-1177                Energy Fact Sheet Why does Russian oil and gas matter – Analysis - IEA (ENB00705871 - ENB00705872)                     May Use


3/22/2022   DX-1178                Letter from David Usher (Consul General (a.i.) of Canada to Illinois, Missouri, and Wisconsin (ENB00640593 -           May Use
                                   ENB00640596)

3/22/2022   DX-1179                Comments from Canadian Consulate (ENB00640593 - ENB00640599)                                                           May Use


3/22/2022   DX-1180                Letter from Mike Wiggins, Jr. to Bill Sande (ACoE) re: Comments on the Section 404 and Section 10 Permit               Will Use
                                   Application for the Enbridge Line 5 Pipeline Segment Relocation Project, Army Corps of Engineers, St. Paul District,
                                   file No. MVP-2020-00260-WMS

3/24/2022   DX-1181                Email string starting with email from Ross R. Bayus re: Quick Question (ENB00665039)                                   May Use


3/28/2022   DX-1182                Email string starting with email from Ken Nicholson re: Cost of crude transfer terminal (ENB00665190)                  May Use


3/29/2022   DX-1183                Email string starting with email from Julie Kloss re: FW: Meander Regression (ENB00654758 - ENB00654759)               Will Use


3/31/2022   DX-1184                Memorandum of Finding of a Severe Energy Supply Interruption, Presidential Actions (ENB00665188 -                      May Use
                                   ENB00665189)




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 Date           Identification                                                       Description                                                  Offers, Objections,
             No.        Witness                                                                                                                   Rulings, Exceptions
3/31/2022   DX-1185                Email from Venable to Dagmar Etkin, Re excerpts from RPS Modeling Report (ENB00665029 - ENB00665038)           May Use


Apr. 2022   DX-1186                Walker, et al., Flood-Frequency Characteristics of Wisconsin Streams, April 2020 (ENB00425393 - ENB00425436)   May Use


4/1/2022    DX-1187                U.S. Bureau of Economic Analysis, Total Gross Domestic Product for Toledo, OH (ENB00664398)                    May Use

4/1/2022    DX-1188                U.S. Bureau of Economic Analysis, Gross Domestic Product: All Industries in Warren County, PA (ENB00664396)    May Use


4/1/2022    DX-1189                U.S. Bureau of Economic Analysis, Total Gross Domestic Product for Detroit-Warren-Dearborn, MI (ENB00664397)   May Use


4/4/2022    DX-1190                Email from Julie Kloss Re: EI Report: Slope 18- Thursday March 31, 2022 (ENB00663604 - ENB00663613)            Will Use


4/6/2022    DX-1191                U.S. Wants More Oil from Canada but not a New Pipeline to Bring It (Timothy Puko, WSJ) (ENB00665207 -          May Use
                                   ENB00665213)

4/7/2022    DX-1192                Surface Transportation Board, Notice of Public Hearing, Ex Parte 770 (ENB00705976 - ENB00705979)               May Use

4/8/2022    DX-1193                Expert Rebuttal Report of Scott Storlid                                                                        Will Use


4/8/2022    DX-1194                Expert Rebuttal Report of Hamish Weatherly                                                                     Will Use


4/8/2022    DX-1195                Expert Rebuttal Report of David Koltz and Tom MacDonald                                                        Will Use


4/8/2022    DX-1196                Expert Rebuttal Report of Pete Barlow                                                                          Will Use


4/8/2022    DX-1197                Expert Rebuttal Report of Dagmar Etkin                                                                         Will Use


4/8/2022    DX-1198                Expert Rebuttal Report of Matt Horn                                                                            Will Use


4/8/2022    DX-1199                Expert Rebuttal Report of Neil Earnest                                                                         Will Use


4/8/2022    DX-1200                Expert Rebuttal Report of Corbett Grainger                                                                     Will Use

4/8/2022    DX-1201                Expert Rebuttal Report of William Rennicke                                                                     Will Use




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 Date           Identification                                                         Description                                                     Offers, Objections,
             No.        Witness                                                                                                                        Rulings, Exceptions
4/8/2022    DX-1202                Expert Rebuttal Report of DeWitt Burdeaux                                                                           Will Use


4/11/2022   DX-1203                Mike Wiggins' FB post "Deep Blue under Earth . . . ."                                                               May Use


4/14/2022   DX-1204                CF Industries Press Release - CF Industries: Union Pacific Curtails Fertilizer Shipments, Delaying Deliveries and   May Use
                                   Preventing New Rail Orders from Being Taken (ENB00706023 - ENB00706025)

4/17/2022   DX-1205                David Joe Bates' FB post video                                                                                      May Use


4/17/2022   DX-1206                Screenshot (Line 5 markers and cameras) from David Joe Bates' FB post "Checked out Line 5 @ the Meander yesterday   May Use
                                   4/17/22

4/17/2022   DX-1207                Screenshot (BR Meander) from David Joe Bates' FB post "Checked out Line 5 @ the Meander yesterday 4/17/22           May Use


4/17/2022   DX-1208                Facebook Post by David Joe Bates 4-17-2022                                                                          Will Use


4/21/2022   DX-1209                Drone photo (ENB00704785)                                                                                           Will Use


4/21/2022   DX-1210                Drone Video of whole meander area (ENB00704861)                                                                     Will Use


4/21/2022   DX-1211                Drone Photo (ENB00704886)                                                                                           Will Use


4/22/2022   DX-1212                Surface Transportation Board, Decision, Ex Parte 762 (ENB00705988 - ENB00706004)                                    May Use


4/27/2022   DX-1213                Comments of Occidental Chemical Corporation, STB Docket No. EP 770 (ENB00706040 - ENB00706046)                      May Use


4/27/2022   DX-1214                Email string starting with email from Edith Leoso re: Enbridge HDD WPPO denial justification (BRB239408 -           Will Use
                                   BRB239410)

May. 2022   DX-1215                Antidegradation Demonstration for Exceptional Resource Waters (Tier 2 Waters) and for Outstanding Resource Waters   Will Use
                                   (Tier 2.5 Waters) (ENB00706294 - ENB00706308)

May. 2022   DX-1216                Antidegradation Demonstration for Outstanding Tribe Resource Waters (Tier 3 Waters) (ENB00706309 -                  Will Use
                                   ENB00706320)

5/4/2022    DX-1217                 Argus LPG World, Volume XXVII, page 9, Northwest Europe, Imports of US LPG surge to plug local shortall            May Use
                                   (ENB00705877 - ENB00705877)



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 Date           Identification                                                          Description                                                         Offers, Objections,
             No.        Witness                                                                                                                             Rulings, Exceptions
5/4/2022    DX-1218                Transcript: Public Hearing on Draft Env. Impact Statement for Enbridge's Proposed Line 5 Relocation Project              Will Use


5/6/2022    DX-1219                Surface Transportation Board, Decision, Ex Parte 770 (Sub -No. 1) (ENB00705980 - ENB00705987)                            May Use


5/6/2022    DX-1220                Email from Julie Kloss Re: Project Review PIN 2022-10 - Attachment Associated with Response with attachment              Will Use
                                   (ENB00704633 - ENB00704638)

5/19/2022   DX-1221                Bird’s eye view of meander drone photo (ENB00705250)                                                                     Will Use


5/19/2022   DX-1222                Bird’s eye view of meander drone photo (ENB00705252)                                                                     Will Use


5/19/2022   DX-1223                Bird’s eye view of meander drone photo (ENB00705253)                                                                     Will Use


5/19/2022   DX-1224                Bird’s eye view of meander drone photo (ENB00705254)                                                                     Will Use


5/26/2022   DX-1225                Plaintiff's Reply Brief ISO its Motion for Partial SJ and for SJ on Defendant's Counterclaim                             May Use

5/26/2022   DX-1226                Plaintiff's Replies to Defendant's Responses to Plaintiff's Proposed Findings of Fact and its Responses to Defendant's   May Use
                                   Proposed Findings of Facts

5/26/2022   DX-1227                Drone Photo (ENB00705327)                                                                                                Will Use


5/27/2022   DX-1228                Letter from Julie Kloss Molina to Tillison (ENB00704686 - ENB00704691)                                                   Will Use


5/27/2022   DX-1229                Letter from Julie Kloss Molina to Naomi Tillison Re: Updated, Revised, Bad River Meander Rip Rap Stabilization           Will Use
                                   Project; Reissued Offer for On-Reservation Emergency Flow Restriction Devices (EFRDs); Request for Right of Way
                                   (ROW) Maintenance (Vegetation Management); and Request for Input for Additional Monito ring at the Meander
                                   (ENB00706748 - ENB00706753)

5/27/2022   DX-1230                USACOE Application for the Department of The Army Permit for Bad River Meander Rip Rap Stabilization Project             Will Use
                                   (ENB00706336 - ENB00706338)

5/27/2022   DX-1231                Email from Julie Kloss Re: Enbridge's Updated, Revised Bad River Meander Rip Rap Stabilization Project with              Will Use
                                   Attachment (ENB00704685 - ENB00704691)

5/27/2022   DX-1232                Clean Water Act Section 401 Certification Request (ENB00706728 - ENB00706739)                                            Will Use




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 Date           Identification                                                          Description                                                         Offers, Objections,
             No.        Witness                                                                                                                             Rulings, Exceptions
5/27/2022   DX-1233                Line 5 INO (WI) Station Milepost #1165 Bad River Bank Stabilization Civil Re-Issued for Permitting- May 27, 2022         Will Use
                                   (ENB00706740 - ENB00706747)

6/1/2022    DX-1234                June 2022 EIA Short Term Energy Outlook (ENB00705890 - ENB00705943)                                                      May Use


6/3/2022    DX-1235                EU Commission Press Release, Russia's war on Ukraine: EU adopts sixth package of sanctions against Russia                May Use
                                   (ENB00705884 - ENB00705886)

6/4/2022    DX-1236                Email from Julie Kloss re: Slope 18 and NWHI Site with attachments (ENB00274576 - ENB00274584)                           Will Use


6/8/2022    DX-1237                Email string starting with email from Naomi Tillison re: Access Permit: Tetra Tech - Geotechnical hazards survey - Bad   Will Use
                                   River Reservation with attachments (BRB254910 - BRB254912)

6/10/2022   DX-1238                Declaration of Jonathan E. Jones ISO the Plaintiff's Opposition to Enbridge's Motion for Partial SJ                      May Use


6/10/2022   DX-1239                Declaration of Ian B. Paton ISO the Plaintiff's Opposition to Enbridge's Motion for Partial SJ                           May Use


6/10/2022   DX-1240                Declaration of Edwin E. Herricks ISO the Plaintiff's Opposition to Enbridge's Motion for Partial SJ                      May Use


6/10/2022   DX-1241                Plaintiff's Response Brief in Opposition to Defendant's Motion for Partial SJ                                            May Use


6/10/2022   DX-1242                Plaintiff's Proposed Findings of Fact in Opposition to Defendant's Motion for Partial SJ                                 May Use

6/10/2022   DX-1243                Plaintiff's Response to Enbridge's Proposed Findings of Fact in Opposition to Enbridge's Motion for Partial SJ           May Use


6/13/2022   DX-1244                Surface Transportation Board, Decision, Ex Parte 770 (Sub -No. 1) - Urgent Issues in Freight Rail Service--Railroad      May Use
                                   Reporting (available at https://www.stb.gov/proceedings -actions/search-stb-records/)

6/14/2022   DX-1245                Letter to President Biden from American Petroleum Institute (ENB00705873 - ENB00705875)                                  May Use


6/14/2022   DX-1246                Letter to President Biden from Shell USA, Inc. (ENB00705887 - ENB00705889)                                               May Use


6/15/2022   DX-1247                Letter to President Biden from American Fuel & Petrochemical Manufacturers and American Petroleum institute              May Use
                                   (ENB00705857 - ENB00705859)

6/15/2022   DX-1248                Biden tells oil refiners - Produce more gas, AP News Article (ENB00705860 - ENB00705862)                                 May Use




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 Date           Identification                                                         Description                                                   Offers, Objections,
             No.        Witness                                                                                                                      Rulings, Exceptions
6/15/2022   DX-1249                Biden blasts oil refiners for record profits, Reuters (ENB00705881 - ENB00705883)                                 May Use


6/16/2022   DX-1250                US Energy Secretary to meet with refining executives over soaring pump prices, Reuters (ENB00705952 -             May Use
                                   ENB00705954)

6/17/2022   DX-1251                Enbridge Second Revised 26(a) Initial Disclosures                                                                 May Use


6/17/2022   DX-1252                Surface Transportation Board, Decision, FD 36609                                                                  May Use


6/17/2022   DX-1253                Email String Beginning with Email from Julie Kloss Re: Project Review PIN 2022 -10 - Attachment Associated with   Will Use
                                   Response with Attachments (ENB00706207 - ENB00706217)

6/21/2022   DX-1254                Argus LPG World, Volume XXVIII, 12, page 1, Russia LPG avoids                                                     May Use
                                   EU sanctions but snags mount, US deliveries surge (ENB00705876 - ENB00705876)

6/21/2022   DX-1255                Monthly Railroad Fuel Price Indexes, Prices Through May 2022, Association of American Railroads (ENB00706037 -    May Use
                                   ENB00706039)

6/21/2022   DX-1256                Letter from Zakk Zander to Katie Wolf Re: Permit WWPO-2019-012E (BRB252169 - BRB252172)                           Will Use


6/22/2022   DX-1257                Restoration Site Evaluation Form (ENB00706852 - ENB00706861)                                                      Will Use


6/23/2022   DX-1258                Readout of Energy Secretary Granholms Meeting with Domestic Refiners, Department of Energy (ENB00705878 -         May Use
                                   ENB00705880)

6/23/2022   DX-1259                Limited Embargo of Certain Shipments Destined for California, BNSF Railway (ENB00706026 - ENB00706031)            May Use


6/29/2022   DX-1260                Survey Form (ENB00706862 - ENB00706870)                                                                           Will Use

6/30/2022   DX-1261                Meander Bank Drone Photo 6/30/2022 (ENB00707043)                                                                  Will Use


6/30/2022   DX-1262                North Meander Bank Photo 6/30/2022 (ENB00707053)                                                                  Will Use


6/30/2022   DX-1263                Meander Bank Drone Photo 6/30/2022 (ENB00707055)                                                                  Will Use


6/30/2022   DX-1264                South Meander Bank Drone Photo 6/30/2022 (ENB00707060)                                                            Will Use




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 Date           Identification                                                         Description                                                  Offers, Objections,
             No.        Witness                                                                                                                     Rulings, Exceptions
6/30/2022   DX-1265                Overhead drone image 6/30/2022 (ENB00707084)                                                                     Will Use


6/30/2022   DX-1266                Overhead drone image 6/30/2022 (ENB00707090)                                                                     Will Use


7/1/2022    DX-1267                Band Second Amended Initial Disclosures                                                                          May Use

7/1/2022    DX-1268                Bad River and Director Naomi Tillison's Responses to Def's Tenth Set of ROGs                                     May Use


7/1/2022    DX-1269                Surface Transportation Board, Decision, Docket No. FD 36609 (ENB00705955 - ENB00705958)                          May Use


7/8/2022    DX-1270                Handwritten Notes (BRB250960 )                                                                                   Will Use


7/11/2022   DX-1271                Email String Beginning with Email from David Feinberg Re: [External] MNRD Preliminary Project Review Form for    Will Use
                                   Infrastructure - 2022-28 with attachment (ENB00707183-ENB00707190)

7/11/2022   DX-1272                Enbridge Meander Bank Riprap Proposal #3- Tier 1 Review Comments Regarding Application Completeness and          Will Use
                                   Accuracy (BRB251277 - BRB251281)

7/14/2022   DX-1273                Drone Video of cameras (ENB00707301)                                                                             May Use


7/14/2022   DX-1274                Drone Photo (ENB00707087)                                                                                        Will Use


7/28/2022   DX-1275                Email from Naomi Tillison Re: Project Review PIN 2022 -10 - Attachment Associated with Response (ENB00708338 -   Will Use
                                   ENB00708339)

8/1/2022    DX-1276                Potato River Road- Site #1 Flood Damage Repairs Project Review Form (BRB252048 - BRB252062)                      Will Use


8/10/2022   DX-1277                Photograph - TC Meander                                                                                          Will Use


8/22/2022   DX-1278                BRB 3rd Amended Initial Disclosures                                                                              May Use


8/25/2022   DX-1279                Email from Julie Kloss Re: Enbridge's Updated, Revised Bad River Meander Rip Rap Stabilization Project           Will Use
                                   (ENB00708070 - ENB00708072)

8/29/2022   DX-1280                Statement by Minister Joly on Line 5 transit pipeline - Canada                                                   May Use


8/30/2022   DX-1281                EIA average fuel price data for Petroleum & Other Liquids                                                        May Use


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 Date           Identification                                                        Description                                                    Offers, Objections,
             No.        Witness                                                                                                                      Rulings, Exceptions
8/30/2022   DX-1282                Email from Julie Kloss Re: Enbridge's Updated, Revised Bad River Meander Rip Rap Stabilization Project            Will Use
                                   (ENB00708313-ENB00708316)

8/30/2022   DX-1283                Email String Beginning with Email from Naomi Tillison Re: Enbridge's Updated, Revised Bad River Meander Rip Rap   Will Use
                                   Stabilization Project with attachment (ENB00708317 - ENB00708321)

8/31/2022   DX-1284                2018 U.S. Median Household Income Was $63,179 in 2018, Not Significantly Different From 2017 - Survey Redesigns   May Use
                                   Make Comparisons to Years Before 2017 Difficult (Jonathan Rothbaum and Ashley Edwards, www.cesus.gov)

9/1/2022    DX-1285                MP1170 Slope 18 Restoration Site Evaluation Report                                                                May Use


9/6/2022    DX-1286                Steeper Winter Heating Bills Loom, With Less Federal Aid (Isabella Simonetti, The New York Times)                 May Use


9/6/2022    DX-1287                Bad River Meander Measurements                                                                                    Will Use


9/6/2022    DX-1288                Barr Graphic of Measurements (Figure X), received 9/6/2022                                                        Will Use


9/7/2022    DX-1289                Enbridge 26(a) Initial Disclosures - Updated September 7, 2022                                                    May Use


9/7/2022    DX-1290                Barr ShapeFiles, received 9/6/2022                                                                                Will Use


9/8/2022    DX-1291                Letter from Eric Swenson to Michael Wiggins, Jr.                                                                  Will Use

9/8/2022    DX-1292                Letter from Eric Swenson to Chairman Wiggins (ENB00708605 -ENB00708606)                                           Will Use


9/9/2022    DX-1293                Enbridge 26(a) Initial Disclosures - Updated September 9, 2022                                                    May Use


9/10/2022   DX-1294                Restoration Site Evaluation Form (ENB00708541 - ENB00708549)                                                      Will Use


9/16/2022   DX-1295                Email string starting with email from Julie Kloss re: FW: Access Permit: L5 Meander camera installation           Will Use
                                   (ENB00708598-ENB00708601)

9/18/2022   DX-1296                Enbridge Slope 18 Restoration Site Evaluation Form (ENB00708570 -ENB00708579)                                     Will Use

9/20/2022   DX-1297                Photograph (ENB00708584)                                                                                          Will Use


9/20/2022   DX-1298                Photograph (ENB00708585)                                                                                          Will Use


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 Date           Identification                                                       Description                                                 Offers, Objections,
             No.        Witness                                                                                                                  Rulings, Exceptions
9/20/2022   DX-1299                Photograph (ENB00708586)                                                                                      Will Use


9/20/2022   DX-1300                Photograph (ENB00708587)                                                                                      Will Use


9/20/2022   DX-1301                Photograph (ENB00708588)                                                                                      Will Use

9/20/2022   DX-1302                Photograph (ENB00708592)                                                                                      Will Use


9/20/2022   DX-1303                Photograph (ENB00708593)                                                                                      Will Use


9/20/2022   DX-1304                Photograph (ENB00708594)                                                                                      Will Use


9/20/2022   DX-1305                Photograph (ENB00708595)                                                                                      Will Use


9/20/2022   DX-1306                Photograph (ENB00708596)                                                                                      Will Use


9/20/2022   DX-1307                Photograph (ENB00708597)                                                                                      Will Use


9/21/2022   DX-1308                Email from Julie Kloss Re: Enbridge Line 5 Proposed Pipeline Brushing and Markers (ENB00708603-ENB00708604)   Will Use


9/21/2022   DX-1309                Email from Julie Kloss Re: EI Report Slope 18 - Saturday September 10 2022 with attachment (ENB00708607 -     Will Use
                                   ENB00708613)

9/21/2022   DX-1310                Email from Julie Kloss Re: Revised Bad River Meander Rip Rap Stabilization Project of September 2022 with     Will Use
                                   attachments (ENB00708614- ENB00708651)

Oct. 2022   DX-1311                Barr Engineering Wetland Delineation Report (ENB00706569 - ENB00706709)                                       Will Use

11/5/2022   DX-1312                Enbridge Application for ROW on Tract No. 430 3H322 (BRB135322 - BRB135339)                                   Will Use


11/5/2022   DX-1313                Enbridge Application for ROW on Tract No. 430 R49 (BRB137547 - BRB137560)                                     Will Use


11/5/2022   DX-1314                Enbridge Application for ROW on Tract No. 430 E266 (BRB137561 - BRB137574)                                    Will Use


11/5/2022   DX-1315                Enbridge Application for ROW on Tract No. 430 3H308 (BRB137575 - BRB137587)                                   Will Use




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 Date            Identification                                                       Description                                                Offers, Objections,
              No.        Witness                                                                                                                 Rulings, Exceptions
11/5/2022    DX-1316                Enbridge Application for ROW on Tract No. 430 3B23 (BRB137588 - BRB137600)                                   Will Use


11/5/2022    DX-1317                Enbridge Application for ROW on Tract No. 430 3H46 (BRB137601- BRB137613)                                    Will Use


11/5/2022    DX-1318                Enbridge Application for ROW on Tract No. 430 3H318 (BRB137614 - BRB137627)                                  Will Use

11/5/2022    DX-1319                Enbridge Application for ROW on Tract No. 430 E33 (BRB137628 - BRB137640)                                    Will Use


11/5/2022    DX-1320                Enbridge Application for ROW on Tract No. 430 R146 (BRB137641 - BRB137653)                                   Will Use


11/5/2022    DX-1321                Enbridge Application for ROW on Tract No. 430 R154 (BRB137654 - BRB137666)                                   Will Use


11/5/2022    DX-1322                Enbridge Application for ROW on Tract No. 430 E532 (BRB137667 - BRB137679)                                   Will Use


11/5/2022    DX-1323                Enbridge Application for ROW on Tract No. 430 S13 (BRB137680 - BRB137692)                                    Will Use


8/22/2019    DX-1324                Letter from Guy Jarvis to Mike Wiggins (BRB000290 - BRB000291)                                               May Use


1/1/1991 -   DX-1325                EIA Table 13 - Refineries Permanently Shutdown between January 1, 1991 and January 1, 2021 (ENB00705948 -    May Use
 1/1/2021                           ENB00705951)

1/1/1992 -   DX-1326                EIA Table 13 - Refineries Permanently Shutdown between January 1, 1992 and January 1, 2022 (ENB00705944 -    May Use
 1/1/2022                           ENB00705947)

12/03/03     DX-1327                Deed ID 430 8531 (BRB098226 - BRB098231)                                                                     Will Use


Dec. 2021    DX-1328                Response to Comments - Draft - Mashkii Ziibii (Bad River) Meander: Enbridge Line 5 Bank Rip Rap Proposal -   Will Use
                                    Antidegradation Decision and Clean Water Act Section 401 Certification Decisions (BRB255158 - BRB255158)

1983-2019    DX-1329                1983 to 2019 EIA Prime Supplier Sales of Propane (Consumer Grade).xls (ENB00436958 - ENB00436958)            May Use


1993-2019    DX-1330                1993 to 2019 EIA PADD2 OK, KS, MO Gas Plant Liquids Production.xls (ENB00436957 - ENB00436957)               May Use


2004-2013    DX-1331                Mercury Concentrations in Fish Tissue, Bad River Watershed, Wisconsin, 2004 -2013,                           May Use
                                    https://www.sciencebase.gov/catalog/item/5d4448fae4b01d82ce8dba05




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  Date            Identification                                                       Description                                                   Offers, Objections,
               No.        Witness                                                                                                                    Rulings, Exceptions
2006-2015     DX-1332                Mercury Concentrations in Bed Sediment, Bad River Watershed, Wisconsin, 2006 -2015,                             May Use
                                     https://www.sciencebase.gov/catalog/item/5d08f4c0e4b0e3d3115db9ff

2006-2016     DX-1333                Mercury Concentrations in Surface Waters, Bad River Watershed, Wisconsin, 200 6-2016,                           May Use
                                     https://www.sciencebase.gov/catalog/item/5d028aa0e4b05cc71caf1051

2010 - 2015   DX-1334                Enbridge Line 5 data NGL Actual INJ & DEL data (ENB00490501 - ENB00490501)                                      May Use


2012-2013     DX-1335                Mercury Concentrations in Green Frog Tissue, Bad River Watershed, Wisconsin, 2012 -2013,                        May Use
                                     https://www.sciencebase.gov/catalog/item/5d5be9c5e4b01d82ce8fbdd7

2012-2018     DX-1336                Mercury Concentrations in Literfall, Bad River Watershed, Wisconsin, 201 2-2018,                                May Use
                                     https://www.sciencebase.gov/catalog/item/5d63f03be4b01d82ce986c7d

2014 - 2018   DX-1337                2014 to 2018 Statistics Canada Table 25-10-0026-01 CANSIM -128-0012 Supply and demand of natural gas liquids,   May Use
                                     annual (ENB00440472 - ENB00440480)

2014 - 2019   DX-1338                EIA Indiana, Illinois and Kentucky Refinery Utilization and Capacity (ENB00438475 - ENB00438475)                May Use


2014-2016     DX-1339                Mercury Concentrations in Bald Eagle Feathers, Bad River Watershed, Wisconsin, 2014 -2016,                      May Use
                                     https://www.sciencebase.gov/catalog/file/get/5d5ff461e4b01d82ce9853b7?f=__disk__1c%2F3e%2F75%2F1c3e7561e4
                                     7101fa5fe45876777cb99aec540989&transform=1&allowOpen=true

2014-2019     DX-1340                2014 to 2019 EIA East Coast (PADD 1) Normal Butane Exports (ENB00436945 - ENB00436947)                          May Use

2014-2019     DX-1341                2014 to 2019 EIA East Coast (PADD 1) Propane Exports (ENB00436948 - ENB00436950)                                May Use


2014-2019     DX-1342                2014 to 2019 EIA From PADD 2 to PADD 3 Movements by Pipeline (ENB00436951 - ENB00436952)                        May Use


2014-2019     DX-1343                2014 to 2019 EIA From PADD 4 to PADD 2 Movements by Pipeline for Natural Gas Liquids (ENB00436953 -             May Use
                                     ENB00436953)

2014-2019     DX-1344                2014 to 2019 EIA PADD 1 Natural Gas Plant Field Production (ENB00436954 - ENB00436954)                          May Use


   2015       DX-1345                Superior Region AFE & SCN Unbudgeted Proposal Template (ENB00003074)                                            May Use

2015/2016     DX-1346                Chronology of Contacts with Bad River Reservation Staff Regarding Enbridge Maintenance Dig Permitting           May Use
                                     (ENB00677599 - ENB00677600)




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  Date            Identification                                                     Description                                                  Offers, Objections,
               No.        Witness                                                                                                                 Rulings, Exceptions
2015-2019     DX-1347                2015 to 2019 Royal Dutch Shell PLC Investor's Handbook - Downstream Refineries in Operation (ENB00436944 -   May Use
                                     ENB00436944)

  2016 -      DX-1348                Enbridge Line 5 data NGL Injection Delivery Info (ENB00490502 - ENB00490502)                                 May Use
 03/2020

2017 & 2018   DX-1349                2017 & 2018 GEMINI MFL Tool Run (Cracks/Dents). (ENB00665505 - ENB00665505)                                  May Use


2020 – 2029   DX-1350                Ashland County, Land & Water Resource Management Plan. 2020 – 2029. (ENB00425596 - ENB00425740)              May Use


2021-2022     DX-1351                Integrated Contingency Plan: Midwest Region (#3145) Response Zone, 2021 -2022 (ENB00424281 - ENB00424510)    May Use

2021-2022     DX-1352                Integrated Contingency Plan Midwest Region (#3145) Response Zone (ENB00705627 - ENB00705856)                 Will Use


  7/20/20     DX-1353                Project Review Form for Project: Potato River Road - Site #1 Flood Damage Repairs (BRB255584 - BRB255584)    Will Use


9/23/2013 -   DX-1354                Letters from Valerie E. Greene to Kim Bouchard re: appraisals (BRB028277 - BRB028291)                        Will Use
11/13/2013

 Q1 2019      DX-1355                Enbridge Pipeline Commodity Movement Map, Q1 2019 (ENB00436601 - ENB00436601)                                May Use


 Q1 2019      DX-1356                Q1 2019 Enbridge Mainline Pipeline System (ENB00436991 - ENB00436991)                                        May Use

 Q1 2019      DX-1357                FERC Form 6, Q1 2019 (ENB00428166 - ENB0042897)                                                              Will Use


 Q1 2020      DX-1358                2020 Q1 Enbridge Priceline Commodity Movement Map (ENB00430850 - ENB00430850)                                May Use


 Q1 2021      DX-1359                Enbridge Q1 2021 Pipeline System Configuration (ENB00436642 - ENB00436642)                                   May Use


 Q1 2021      DX-1360                FERC Form 6, 2021_Q1 (ENB00437160 - ENB00437190)                                                             May Use


 Q1 2021      DX-1361                Hardin Street Form 6 2021_Q1 (ENB00437823 - ENB00437853)                                                     May Use


 Q1 2021      DX-1362                Mid Valley Form 6 2021_Q1 (ENB00438797 - ENB00438827)                                                        May Use


 Q1 2021      DX-1363                Portland Pipeline Form 6 2021_Q1 (ENB00440047 - ENB00440076)                                                 May Use



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Date          Identification                                                       Description                             Offers, Objections,
           No.        Witness                                                                                              Rulings, Exceptions
Q2 2021   DX-1364                EFERC Form 6, 2021_Q2 (ENB00437191 - ENB00437222)                                         May Use


Q2 2021   DX-1365                Hardin Street Form 6 2021_Q2 (ENB00437854 - ENB00437884)                                  May Use


Q2 2021   DX-1366                Mid Valley Form 6 2021_Q2 (ENB00438828 - ENB00438858)                                     May Use

Q2 2021   DX-1367                Portland Pipeline Form 6 2021_Q2 (ENB00440077 - ENB00440106)                              May Use


Q4 2017   DX-1368                2017 Q4 Portland Pipe Line Form 6 (ENB00439419 - ENB00439420)                             May Use


Q4 2018   DX-1369                Energy Transfer Q4 2018 Earnings Conference Call Transcript (ENB00437464 - ENB00437499)   May Use


Q4 2019   DX-1370                FERC Form 6, Q4 2019 (ENB00428265 - ENB00428347)                                          Will Use


Q4 2020   DX-1371                FERC Form 6, Q4 2020 (ENB00428447 - ENB00428529)                                          Will Use


Various   DX-1372                Documents from folder: Great Lakes Gas Revetment Project (BRB254280 - BRB254367)          Will Use


          DX-1373                McGuire 3 – 2015 PI integrity form of Bad River                                           May Use


          DX-1374                McGuire 4 – 2016 PI integrity form of Bad River                                           May Use

          DX-1375                McGuire 5 – 2018 Bad River water crossing field form                                      May Use


          DX-1376                Cobell Land Buy Back Mapping of Purchasable Tracts Slideshow Excerpt (BRB054395)          May Use


          DX-1377                ILI Pig (Physical Exhibit)                                                                May Use


          DX-1378                Cross-section of pipe (Physical Exhibit)                                                  May Use


          DX-1379                Riprap rock (Physical Exhibit)                                                            May Use


          DX-1380                Michael Isham (Exec. Minister of GLIFWC) Clip transcript                                  May Use


          DX-1381                Tillison Clip Transcript                                                                  May Use


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Date       Identification                                                        Description                                                Offers, Objections,
        No.        Witness                                                                                                                  Rulings, Exceptions
       DX-1382                Wiggins Clip Transcript                                                                                       May Use


       DX-1383                Enbridge Website: Line 5 Wisconsin Segment Relocation Project                                                 May Use


       DX-1384                Mike Wiggins' FB post "Enbridge Line 5 is getting County Commissioner votes . . . ."                          May Use

       DX-1385                Attachment A to Enb. Initial Disclosures_6.55pm                                                               May Use


       DX-1386                Attachment B to Enb. Initial Disclosures_8.17pm                                                               May Use


       DX-1387                Alliance Pipeline Project Overview -Capacity Expansion Project (ENB00436645 - ENB00436645)                    May Use


       DX-1388                Aux Sable description from company website (ENB00436743 - ENB00436743)                                        May Use


       DX-1389                Canada Energy Regulator Commodity Statistics propane exports by rail and marine (ENB00436745 - ENB00436745)   May Use


       DX-1390                Canada Energy Regulator Apportionment Dataset (ENB00436831 - ENB00436831)                                     May Use


       DX-1391                Crude-by-Rail Terminals Oil Sands Magazine (ENB00436836 - ENB00436851)                                        May Use


       DX-1392                Enbridge FERC 41.5.0 Appendix A - Destination Verification Procedure (ENB00437223 - ENB00437224)              May Use

       DX-1393                Enbridge L9 CER 473 FERC 1.16.0 LKH CDMN (ENB00437225 - ENB00437232)                                          May Use


       DX-1394                FERC Order to Enterprise TE Products Pipeline extending priority treatment (ENB00437586 - ENB00437590)        May Use


       DX-1395                Green Bay, WI Terminal - NGL Supply Wholesale, LLC (ENB00437666 - ENB00437667)                                May Use


       DX-1396                Hardin Street Holdings LLC, Local Tariff FERC No. 3.9.0 (ENB00437885 - ENB00437885)                           May Use


       DX-1397                Hardin Street Holdings LLC, Local Tariff FERC No. 2.6.0 (ENB00437886 - ENB00437893)                           May Use


       DX-1398                Jean Gaulin Oil Refinery _ Locations _ Valero (ENB00438524 - ENB00438535)                                     May Use


       DX-1399                Magnolia Pipeline (ENB00438590 - ENB00438590)                                                                 May Use


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Date       Identification                                                       Description                                                   Offers, Objections,
        No.        Witness                                                                                                                    Rulings, Exceptions
       DX-1400                Marathon Petition for DC on Patoka to Lima (ENB00438595 - ENB00438600)                                          May Use


       DX-1401                Mid Valley _FERC_482-2 (ENB00438627 - ENB00438643)                                                              May Use


       DX-1402                PBF Logistics Investor Presentation (ENB00439584 - ENB00439601)                                                 May Use

       DX-1403                June 18, 2019 Potential Line 5 closing has Toledo Refining Co, employees on edge, Toledo Blade (ENB00440107 -   May Use
                              ENB00440120)

       DX-1404                Prince Rupert Terminal, Pembina Website (ENB00440121 - ENB00440124)                                             May Use


       DX-1405                Range Resources Press Release dated September 26, 2012 (ENB00440125 - ENB00440129)                              May Use


       DX-1406                Sarnia Refinery – Refining and Marketing Suncor (ENB00440206 - ENB00440207)                                     May Use


       DX-1407                Screenprint of Imperial website with Sarnia capacity (ENB00440208 - ENB00440208)                                May Use

       DX-1408                Screenprint of Irving St John refinery with capacity (ENB00440209 - ENB00440209)                                May Use


       DX-1409                Valero Levis Refinery (ENB00440210 - ENB00440210)                                                               May Use


       DX-1410                Suncor Website - Suncor Sarnia and Montreal Refineries (ENB00440686 - ENB00440693)                              May Use


       DX-1411                UP Crude Oil Destination Facilities (ENB00440891 - ENB00440894)                                                 May Use


       DX-1412                US Federal Register Notice for Marathon Petroleum Company in Detroit, MI (ENB00440897 - ENB00440899)            May Use


       DX-1413                Valero Energy Corporation Operating Highlights and Throughput Volumes and Yields (ENB00440900 -                 May Use
                              ENB00440900)

       DX-1414                Wisconsin Congressman Kind letter to FERC on Propane Shortage (ENB00440904 - ENB00440904)                       May Use


       DX-1415                Summary Exhibit: charts and tables from Neil Earnest Report                                                     May Use


       DX-1416                Enbridge Pipelines Inc. (Enbridge)Canadian Mainline Contracting Application Hearing Order RH-001-2020           May Use
                              (ENB00640448 )



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Date       Identification                                                       Description                                                   Offers, Objections,
        No.        Witness                                                                                                                    Rulings, Exceptions
       DX-1417                49 CFR 195.6 (ENB00430083 - ENB00430086)                                                                        May Use


       DX-1418                About the Sarnia Harbour, Sarnia, Ontario website (ENB00430087 - ENB00430090)                                   May Use


       DX-1419                Crude-by-Rail, Oil Sands Magazine (ENB00430725 - ENB00430732)                                                   May Use

       DX-1420                Enbridge Pipelines in Michigan, Fueling Michigan’s economic engine (ENB00430744 - ENB00430744)                  May Use


       DX-1421                Line 5 Wisconsin Segment Relocation, Enbridge (ENB00430762 - ENB00430763)                                       May Use


       DX-1422                PC Miler - Edmonton to Sarnia.JPG (ENB00430844 - ENB00430844)                                                   May Use


       DX-1423                PC Miler - Nanticoke to Sarnia.JPG (ENB00430845 - ENB00430845)                                                  May Use


       DX-1424                PC Miler - Superior to Antioch.JPG (ENB00430846 - ENB00430846)                                                  May Use


       DX-1425                PC Miler - Superior to Sarnia.JPG (ENB00430847 - ENB00430847)                                                   May Use


       DX-1426                US Energy Information Administration, Net Generation by State by Type of Producer by Energy Source (EIA -906,   May Use
                              EIA-920, and EIA-923) (ENB00431225 - ENB00431225)

       DX-1427                Wisconsin Overview, US Energy Information Administration website (ENB00432069 - ENB00432071)                    May Use


       DX-1428                WNDR Water Resources Application for Project Permits - Data Request Response (ENB00432212 - ENB00432235)        May Use


       DX-1429                Automotive Snapback:CantheDistributionSupplyChainHandleIt?, Olivery Wyman (ENB00490497 - ENB00490500)           May Use


       DX-1430                Summary Exhibit: charts and tables from William Rennicke Report                                                 May Use


       DX-1431                Tank Car Committee: An Overview & The Importance of Its Ongoin g Oversight, Association of American Railroads   May Use
                              (ENB00705959 - ENB00705963)

       DX-1432                Rail Service Data, Surface Transportation Board (ENB00705964 - ENB00705970)                                     May Use


       DX-1433                Fuel Surcharge Rates, RSI Logistics (ENB00705971 - ENB00705975)                                                 May Use




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Date       Identification                                                       Description                                             Offers, Objections,
        No.        Witness                                                                                                              Rulings, Exceptions
       DX-1434                49 CFR Appendix A to Part 228.pdf (ENB00706005 - ENB00706016)                                             May Use


       DX-1435                Written Comments of National Association of Chemical Distributors, STB Docket No. EP 770 (ENB00706017 -   May Use
                              ENB00706021)

       DX-1436                AAR Embargo Permit Management System, Railing (ENB00706022 - ENB00706022)                                 May Use


       DX-1437                AAR Embargo Permit Management System (1 of 2) (ENB00706032 - ENB00706032)                                 May Use


       DX-1438                AAR Embargo Permit Management System (2 of 2) (ENB00706034 - ENB00706036)                                 May Use


       DX-1439                IMPLAN Replication (ENB00441087 - ENB00441088)                                                            May Use


       DX-1440                IMPLAN-industry_demand.csv (ENB00441089)                                                                  May Use


       DX-1441                Industries by Impact-Employment.csv (ENB00441090)                                                         May Use

       DX-1442                Industries by Impact-Output.csv (ENB00441091)                                                             May Use


       DX-1443                Tax Summary.csv (ENB00441092)                                                                             May Use


       DX-1444                Canadian Dollar to US Dollar Spot Exchange Rates for 2019 (ENB00490066)                                   May Use


       DX-1445                Enbridge's economic impact on Michigan - Enbridge Inc (ENB00490131 - ENB00490133)                         May Use


       DX-1446                Enbridge's economic impact on Wisconsin - Enbridge Inc (ENB00490134 - ENB00490136)                        May Use


       DX-1447                IMPLAN Data Overview and Sources (ENB00490170 - ENB00490179)                                              May Use


       DX-1448                Summary Exhibit: charts and tables from Dr. Corbett Grainger Report                                       May Use


       DX-1449                Line 5 PE-IR Baseline PB 2014 GE USCD+ (ENB00424883 - ENB00424883)                                        May Use

       DX-1450                L0005_PE_IR_7/12/2017_GE_USWM+ (ENB00424884 - ENB00424884)                                                May Use




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Date       Identification                                                       Description                                                    Offers, Objections,
        No.        Witness                                                                                                                     Rulings, Exceptions
       DX-1451                L0005 (30in) PE-IR 2018 BH GEOPIG (ENB00424887 - ENB00424887)                                                    May Use


       DX-1452                40 CFR Part 132 – Water Quality Guidance for the Great Lakes System (ENB00425897 - ENB00425964)                  May Use


       DX-1453                Compilation of mercury data and associated risk to human and ecosystem health, Bad River Band of Lake Superior   May Use
                              Chippewa, Wisconsin, (ENB00425768 - ENB00425799)

       DX-1454                Mercury Concentrations in River Otter Hair, Bad River Watershed, Wisconsin,                                      May Use
                              https://www.sciencebase.gov/catalog/item/5d602d75e4b01d82ce9854b3

       DX-1455                Bill Lehr & Dagmar Schmidt Etkin, Ecological risk assessment modeling in spill risk decisions (ENB00665020 -     May Use
                              ENB00665027)

       DX-1456                RPS Modeling Scenarios (ENB00664432 - ENB00664514)                                                               May Use


       DX-1457                Worst Case Discharge (WCD) Calculation Methodology (ENB00424511 - ENB00424512)                                   May Use


       DX-1458                Lehr, Bill. Undated. ADIOS2-The Legacy. Presentation at University of New Hampshire Coastal Response Research    May Use
                              Center. (ENB00649780 - ENB00649796)

       DX-1459                Summary Exhibit: Charts and tables from Horn Rebuttal Report                                                     May Use


       DX-1460                Summary Exhibit: charts and tables from DeWitt Burdeaux Report                                                   May Use


       DX-1461                Summary Exhibit: charts and tables from DeWitt Burdeaux Rebuttal Report                                          May Use


       DX-1462                Summary Exhibit: charts and tables from David Koltz Report                                                       May Use


       DX-1463                Summary Exhibit: charts and tables from Dagmar Etkin Report                                                      May Use


       DX-1464                Summary Exhibit: charts and tables from Dagmar Etkin Rebuttal Report                                             May Use


       DX-1465                Photographs (BARR0152569; ENB00287117; ENB00287124; ENB00287125; ENB00287151; ENB00287152;                       May Use
                              ENB00287158; ENB00288893; ENB00704745; ENB00705276; ENB00704868)

       DX-1466                “IMPLAN Model for Rebuttal Report” Explanatory Sheet (ENB00665170)                                               May Use




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Date       Identification                                                      Description                                             Offers, Objections,
        No.        Witness                                                                                                             Rulings, Exceptions
       DX-1467                “Results_Summary” Spreadsheet (ENB00665204 )                                                             May Use


       DX-1468                “Tax Results” Spreadsheet (ENB00665206)                                                                  May Use


       DX-1469                “Canadian IO Model for Rebuttal Report” Explanatory Sheet (ENB00665205)                                  May Use

       DX-1470                “gasoline_example” calculations spreadsheet (ENB00665117)                                                May Use


       DX-1471                EIA Fuel Price Data [PDF in Folder]                                                                      May Use


       DX-1472                Ohio EIA Petroleum and Other Liquids Data (ENB00664417)                                                  May Use


       DX-1473                Summary Exhibit: Figures and Tables from Grainger Rebuttal Expert Report                                 May Use


       DX-1474                Summary Exhibit: Figures and Tables from Rennicke Rebuttal Expert Report                                 May Use


       DX-1475                Tank Car Loading and Unloading Requirements (Gary Flores, Region VII FRA) (ENB00664565 - ENB006645621)   May Use


       DX-1476                MDOT Freight Economic Development Program (ENB00664399 - ENB00664400)                                    May Use


       DX-1477                Map of Rights-of-Way Through Tribal and Individual Trust Parcels Along Enbridge Line 5 (BRB060794)       May Use

       DX-1478                Map of Bad River Allottee Tracts (ENB00003055 - ENB00003058)                                             May Use


       DX-1479                Map of Bad River Allottee Tracts (ENB00003059 - ENB00003059)                                             May Use


       DX-1480                W1-192 Master File 12-2019 (ENB00005702 - ENB00005716)                                                   May Use


       DX-1481                W1-113 Master File 12-2019 (ENB00004893 - ENB00004908)                                                   May Use


       DX-1482                W1-186A Master File 12-2019 (ENB00005650 - ENB00005668)                                                  May Use


       DX-1483                W1-165 Master File 12-2019 (ENB00005380 - ENB00005442)                                                   May Use


       DX-1484                W1-167 Master File 12-2019 (ENB00005443 - ENB00005491)                                                   May Use


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Date       Identification                                                      Description                                        Offers, Objections,
        No.        Witness                                                                                                        Rulings, Exceptions
       DX-1485                W1-185A Master File 12-2019 (ENB00005634 - ENB00005649)                                             May Use


       DX-1486                W1-134 Master File 12-2019 (ENB00005142 - ENB00005156)                                              May Use


       DX-1487                W1-175 Master File 12-2019 (ENB00005553 - ENB00005573)                                              May Use

       DX-1488                W1-200 Master File 12-2019 (ENB00005780 - ENB00005798)                                              May Use


       DX-1489                W1-212 Master File 12-2019 (ENB00005847 - ENB00005847)                                              May Use


       DX-1490                W1-125 Master File 12-2019 (ENB00005043 - ENB00005073)                                              May Use


       DX-1491                W1-112A Master File 12-2019 (ENB00004882 - ENB00004892)                                             May Use


       DX-1492                Copy of file folder: 1993 correspondence (ENB00010762 - ENB00011219)                                May Use


       DX-1493                Copy of file folder: 1994 correspondence (ENB00010937 - ENB00011219)                                May Use


       DX-1494                Copy of file folder: 1992 correspondence (ENB00010220 - ENB00010521)                                May Use


       DX-1495                Email from Suzi Smith re: land ownership analysis: Enbridge Line 5 on Reservation (BRB078042)       Will Use

       DX-1496                Cobell Land Buy-Back Mapping of Purchasable Tracts                                                  Will Use


       DX-1497                Photo of Potato River / Potato River Rd.                                                            Will Use


       DX-1498                Photo of Bad River and Sugarbush Creek                                                              Will Use


       DX-1499                Bad River Meander Rip Rap Stabilization Project - MNRD Project Review Form Responses (BRB121378 -   Will Use
                              BRB121390)

       DX-1500                THPO Concerns Regarding Timber Revetment (BRB018681 - BRB018683)                                    Will Use

       DX-1501                Notes and comments on the Fish Creek memo (BRB238453 - BRB238454)                                   Will Use




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Date       Identification                                                       Description                                                Offers, Objections,
        No.        Witness                                                                                                                 Rulings, Exceptions
       DX-1502                WDNR draft letter re: Proposed Re-route of Enbridge Line 5 Oil Pipeline in Northern Wisconsin (BRB150921 -   Will Use
                              BRB150922)

       DX-1503                Map showing Bad River Allottee Tracts                                                                        Will Use


       DX-1504                Email string starting with email from Naomi Tillison re: Meander Overland channel Application (BRB022382 -   Will Use
                              BRB022388)

       DX-1505                Map showing Bad River Bank of Lake Superior Chippewa Reservation with Line 5                                 Will Use


       DX-1506                Map showing Band River Tribal Trust Tracts                                                                   Will Use

       DX-1507                Map showing Public and Private Tracts                                                                        Will Use


       DX-1508                Map showing Bad River Band of Lake Superior Chippewa Fee-Owned Lands                                         Will Use


       DX-1509                List - Purchasable Tracts located in the Bad River - Kakagon Sloughs Complex                                 Will Use


       DX-1510                Map showing Bad River Reservation, Bad River Watershed, and the Penokee Mountain Ore Body                    Will Use


       DX-1511                Map showing Pipelines within the Bad River Reservation - C. Pipelines by Right-of-Way Expiration Date        Will Use


       DX-1512                Text Messages between Mike Wiggins and Jason Weaver (ENB00606996 - ENB00607001)                              Will Use


       DX-1513                Various quotes from meeting                                                                                  Will Use


       DX-1514                Civil Enforcement Case Report for case No. 05-2022-0309 (ECHO US EPA)                                        Will Use

       DX-1515                Photo of sandbags supporting pipeline at completion of phase 1 work (ENB00295941 - ENB00295946)              Will Use


       DX-1516                USACE Cover Letter - redline (BRB018983 - BRB018999)                                                         Will Use


       DX-1517                USACE Cover Letter - redline (BRB019000 - BRB019014)                                                         Will Use


       DX-1518                USACE Cover Letter - redline (BRB019015 - BRB019029)                                                         Will Use




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Date       Identification                                                       Description                                                        Offers, Objections,
        No.        Witness                                                                                                                         Rulings, Exceptions
       DX-1519                USACE Cover Letter - redline (BRB019030 - BRB019046)                                                                 Will Use


       DX-1520                Summary Exhibit Summary Chart of Land Purchase Documents, Price, and Band Ownership                                  Will Use


       DX-1521                Renewal Application File (ENB00001392)                                                                               Will Use

       DX-1522                Statement-Of-Work ROW/Easement Great Lakes Gas Transmission - TransCanada - Bad River Indian Reservation             Will Use
                              (BRB088770 - BRB088777)

       DX-1523                at 44-45, responding to request for info for Environmental Review (BRB179090)                                        Will Use


       DX-1524                Photographs (ENB00707744; ENB00707751; ENB00707558; ENB00708078; ENB00708079)                                        Will Use


       DX-1525                Photographs of the Bad River Band Meander (ENB00287127; ENB00287142; ENB00287144; ENB00708078;                       Will Use
                              ENB00707548; ENB00707598; ENB00707603; ENB00707632; ENB00708107; ENB00708108; ENB00707191)

       DX-1526                Photographs (ENB00288891; ENB00288880; ENB00293998)                                                                  Will Use


       DX-1527                Project Description Enbridge Energy, Limited Partnership Bad River Meander Rip Rap Stabilization Project Bad River   Will Use
                              Reservation, Ashland County, Wisconsin (ENB00706288 - ENB00706293)

       DX-1528                CWA 401 Certification Request (ENB00706728- ENB00706739)                                                             Will Use

       DX-1529                USACOE Application for the Department of The Army Permit for Bad River Meander Rip Rap Stabilization Project         Will Use
                              (Draft) (ENB00706333 - ENB00706335)

       DX-1530                USACE Cover Letter - redline (BRB194839 - BRB194857)                                                                 Will Use


       DX-1531                Slope 18 Camera - MNRD Project Review Form Responses (ENB00298425 - ENB00298479)                                     Will Use


       DX-1532                Summary Exhibit: Figures and Tables from Barlow Expert Report                                                        Will Use


       DX-1533                Enbridge Erosion Study for Line 5 Slope 18 (BRB000097 - BRB000098)                                                   Will Use

       DX-1534                Enbridge Line 5 Slope 18 - Phase 1 Mitigation Plan (ENB00208186 - ENB00208193)                                       Will Use


       DX-1535                Summary Exhibit: Figures and Tables from Olive Rebuttal Expert Report                                                Will Use


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Date       Identification                                                      Description         Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1536                Olive Allocation Model (ENB00429917)                                 Will Use


       DX-1537                Worksheet in Pro Forma Memo (ENB00429993)                            Will Use


       DX-1538                Summary Exhibit: Steigerwaldt WI- 175 figures.docx                   Will Use

       DX-1539                Summary Exhibit: Steigerwaldt WI- 185A figures.docx                  Will Use


       DX-1540                Summary Exhibit: Steigerwaldt WI- 200 figures.docx                   Will Use


       DX-1541                Summary Exhibit: Steigerwaldt WI-112A exhibits.pdf                   Will Use


       DX-1542                Summary Exhibit: Steigerwaldt WI-112A Figures.docx                   Will Use


       DX-1543                Summary Exhibit: Steigerwaldt WI-113 exhibits.pdf                    Will Use


       DX-1544                Summary Exhibit: Steigerwaldt WI-113 Figures.docx                    Will Use


       DX-1545                Summary Exhibit: Steigerwaldt WI-125 exhibits.pdf                    Will Use


       DX-1546                Summary Exhibit: Steigerwaldt WI-125 Figures.docx                    Will Use

       DX-1547                Summary Exhibit: Steigerwaldt WI-134 exhibits.pdf                    Will Use


       DX-1548                Summary Exhibit: Steigerwaldt WI-134 figures.docx                    Will Use


       DX-1549                Summary Exhibit: Steigerwaldt WI-165 exhibits.pdf                    Will Use


       DX-1550                Summary Exhibit: Steigerwaldt WI-165 figures.docx                    Will Use


       DX-1551                Summary Exhibit: Steigerwaldt WI-167-168 exhibits.pdf                Will Use


       DX-1552                Summary Exhibit: Steigerwaldt WI-167-168 figures.docx                Will Use


       DX-1553                Summary Exhibit: Steigerwaldt WI-175 exhibits.pdf                    Will Use


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Date       Identification                                                       Description                                                       Offers, Objections,
        No.        Witness                                                                                                                        Rulings, Exceptions
       DX-1554                Summary Exhibit: Steigerwaldt WI-185A exhibits.pdf                                                                  Will Use


       DX-1555                Summary Exhibit: Steigerwaldt WI-186A exhibits.pdf                                                                  Will Use


       DX-1556                Summary Exhibit: Steigerwaldt WI-186A figures.docx                                                                  Will Use

       DX-1557                Summary Exhibit: Steigerwaldt WI-192 exhibits.pdf                                                                   Will Use


       DX-1558                Summary Exhibit: Steigerwaldt WI-192 figures.docx                                                                   Will Use


       DX-1559                Summary Exhibit: Steigerwaldt WI-200 exhibits.pdf                                                                   Will Use


       DX-1560                Summary Exhibit: Steigerwaldt WI-212 exhibits.pdf                                                                   Will Use


       DX-1561                Summary Exhibit: Steigerwaldt WI-212 figures.docx                                                                   Will Use


       DX-1562                Summary Exhibit: Storlid Exhibits                                                                                   Will Use


       DX-1563                Summary Exhibit: Weatherly Exhibits                                                                                 Will Use


       DX-1564                Collection of GLGT documents (BRB178345 - BRB178460)                                                                Will Use

       DX-1565                Bad River Band of the Lake Superior Tribe of Chippewa Indians Water Quality Standards; Bad River Band of the Lake   Will Use
                              Superior Tribe of Chippewa Indians Water Quality Standards (BRB004869 - BRB004897)

       DX-1566                NDPES Small and Large Construction Activities, General Permit Appendix A (ENB00664413 - ENB00664416)                Will Use


       DX-1567                EPA Section 404 of the Clean Water Act, Clean Water Act Section 502: General Definitions (ENB00664357 -             Will Use
                              ENB00664360)

       DX-1568                Chapter 5 Weathering and Soil, 5.2 Chemical Weathering (Steven Early, Physical Geology - 2nd Edition)               Will Use
                              (ENB00664377 - ENB00664384)

       DX-1569                USACE Nationwide Permit 13 (ENB00665191 - ENB006651203)                                                             Will Use


       DX-1570                Development and Application of a Deterministic Bank Stability and Toe Erosion Model for Stream Restoration          Will Use
                              (Andrew Simon) (ENB00664533 - ENB00664554)


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Date       Identification                                                      Description                                Offers, Objections,
        No.        Witness                                                                                                Rulings, Exceptions
       DX-1571                Maynord, USACE Riprap Design for Flood Channels (ENB00664401 - ENB00664409)                 Will Use


       DX-1572                Summary Exhibit: Figures and Tables from Weatherly Expert Report                            Will Use


       DX-1573                Summary Exhibit: Figures and Tables from Weatherly Rebuttal Expert Report                   Will Use

       DX-1574                Summary Exhibits: Weatherly Exhibits                                                        Will Use


       DX-1575                Email re: Image (BRB251136 - BRB251149)                                                     Will Use


       DX-1576                Email re: land ownership analysis: Enbridge Line 5 on Reservation (BRB078042 - BRB078042)   Will Use


       DX-1577                USACE Cover Letter - redline (BRB053741 - BRB053759)                                        Will Use


       DX-1578                USACE Cover Letter - redline (BRB053760 - BRB053777)                                        Will Use


       DX-1579                USACE Cover Letter - redline (BRB053778 - BRB053797)                                        Will Use


       DX-1580                USACE Cover Letter - redline (BRB053798 - BRB053815)                                        Will Use


       DX-1581                USACE Cover Letter - redline (BRB053816 - BRB053836)                                        Will Use

       DX-1582                USACE Cover Letter - redline (BRB053837 - BRB053854)                                        Will Use


       DX-1583                USACE Cover Letter - redline (BRB053855 - BRB053875)                                        Will Use


       DX-1584                USACE Cover Letter - redline (BRB053877 - BRB053894)                                        Will Use


       DX-1585                USACE Cover Letter - redline (BRB053966 - BRB053983)                                        Will Use


       DX-1586                USACE Cover Letter - redline (BRB053984 - BRB054004)                                        Will Use


       DX-1587                USACE Cover Letter - redline (BRB054023 - BRB054042)                                        Will Use


       DX-1588                USACE Cover Letter - redline (BRB054043 - BRB054063)                                        Will Use


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Date       Identification                                                       Description                          Offers, Objections,
        No.        Witness                                                                                           Rulings, Exceptions
       DX-1589                USACE Cover Letter - redline (BRB054064 - BRB054086)                                   Will Use


       DX-1590                Nature of Activity (BRB068160 - BRB068162)                                             Will Use


       DX-1591                Tribal Trust Ownership of Parcels Containing TransCanada ROW (BRB084924 - BRB084924)   Will Use

       DX-1592                Photograph (sinkhole) (BRB088506 )                                                     Will Use


       DX-1593                Photograph (sinkhole) (BRB088507 - BRB088507)                                          Will Use


       DX-1594                Photograph (BRB250947)                                                                 Will Use


       DX-1595                Photograph (BRB250948)                                                                 Will Use


       DX-1596                Photograph (BRB250949)                                                                 Will Use


       DX-1597                Photograph (BRB250950)                                                                 Will Use


       DX-1598                Photograph (BRB250951)                                                                 Will Use


       DX-1599                Photograph (BRB250952)                                                                 Will Use

       DX-1600                Photograph (BRB250953)                                                                 Will Use


       DX-1601                Photograph (BRB250954)                                                                 Will Use


       DX-1602                Photograph (BRB250956)                                                                 Will Use


       DX-1603                Photograph (BRB250957)                                                                 Will Use


       DX-1604                Photograph (BRB250958)                                                                 Will Use


       DX-1605                Photograph (BRB250959)                                                                 Will Use


       DX-1606                Photograph (ENB00704745)                                                               Will Use


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Date       Identification                                       Description                        Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1607                Photograph (ENB00704853)                                             Will Use


       DX-1608                Drone Video (ENB00704868)                                            Will Use


       DX-1609                Drone Video (ENB00704870)                                            Will Use

       DX-1610                Drone Video (ENB00704872)                                            Will Use


       DX-1611                Drone Video (ENB00704875)                                            Will Use


       DX-1612                Photograph (ENB00705246)                                             Will Use


       DX-1613                Photograph (ENB00705276)                                             Will Use


       DX-1614                Photograph (ENB00707496)                                             Will Use


       DX-1615                Photograph (ENB00707499)                                             Will Use


       DX-1616                Photograph (ENB00707501)                                             Will Use


       DX-1617                Photograph (ENB00707505)                                             Will Use

       DX-1618                Photograph (ENB00707508)                                             Will Use


       DX-1619                Photograph (ENB00707509)                                             Will Use


       DX-1620                Photograph (ENB00707510)                                             Will Use


       DX-1621                Photograph (ENB00707511)                                             Will Use


       DX-1622                Photograph (ENB00707512)                                             Will Use


       DX-1623                Photograph (ENB00707513)                                             Will Use


       DX-1624                Photograph (ENB00707514)                                             Will Use


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Date       Identification                                   Description                            Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1625               Photograph (ENB00707518)                                              Will Use


       DX-1626               Photograph (ENB00707521)                                              Will Use


       DX-1627               Photograph (ENB00707525)                                              Will Use

       DX-1628               Photograph (ENB00707532)                                              Will Use


       DX-1629               Photograph (ENB00707534)                                              Will Use


       DX-1630               Photograph (ENB00707535)                                              Will Use


       DX-1631               Photograph (ENB00707537)                                              Will Use


       DX-1632               Photograph (ENB00707540)                                              Will Use


       DX-1633               Photograph (ENB00707541)                                              Will Use


       DX-1634               Photograph (ENB00707548)                                              Will Use


       DX-1635               Video (ENB00707558)                                                   Will Use

       DX-1636               Photograph (ENB00707598)                                              Will Use


       DX-1637               Photograph (ENB00707603)                                              Will Use


       DX-1638               Photograph (ENB00707632)                                              Will Use


       DX-1639               Photograph (ENB00707744)                                              Will Use


       DX-1640               Photograph (ENB00707751)                                              Will Use


       DX-1641               Photograph (ENB00707762)                                              Will Use


       DX-1642               Photograph (ENB00707766)                                              Will Use


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Date       Identification                                   Description                            Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1643               Photograph (ENB00707804)                                              Will Use


       DX-1644               Photograph (ENB00707813)                                              Will Use


       DX-1645               Photograph (ENB00707814)                                              Will Use

       DX-1646               Photograph (ENB00707823)                                              Will Use


       DX-1647               Photograph (ENB00707826)                                              Will Use


       DX-1648               Photograph (ENB00707857)                                              Will Use


       DX-1649               Photograph (ENB00707872)                                              Will Use


       DX-1650               Photograph (ENB00707880)                                              Will Use


       DX-1651               Photograph (ENB00707883)                                              Will Use


       DX-1652               Photograph (ENB00707908)                                              Will Use


       DX-1653               Photograph (ENB00707914)                                              Will Use

       DX-1654               Photograph (ENB00707929)                                              Will Use


       DX-1655               Photograph (ENB00707953)                                              Will Use


       DX-1656               Photograph (ENB00707957)                                              Will Use


       DX-1657               Photograph (ENB00707963)                                              Will Use


       DX-1658               Photograph (ENB00707968)                                              Will Use


       DX-1659               Photograph (ENB00707969)                                              Will Use


       DX-1660               Photograph (ENB00707971)                                              Will Use


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Date       Identification                                                  Description                                               Offers, Objections,
        No.        Witness                                                                                                           Rulings, Exceptions
       DX-1661               Photograph (ENB00707973)                                                                                Will Use


       DX-1662               Photograph (ENB00707979)                                                                                Will Use


       DX-1663               Photograph (ENB00707992)                                                                                Will Use

       DX-1664               Photograph (ENB00707996)                                                                                Will Use


       DX-1665               Photograph (ENB00708000)                                                                                Will Use


       DX-1666               Photograph (ENB00708004)                                                                                Will Use


       DX-1667               Photograph (ENB00708006)                                                                                Will Use


       DX-1668               Photograph (ENB00708017)                                                                                Will Use


       DX-1669               Photograph (ENB00708040)                                                                                Will Use


       DX-1670               Photograph (ENB00708047)                                                                                Will Use


       DX-1671               Drone Video (ENB00708078)                                                                               Will Use

       DX-1672               Video (ENB00708107)                                                                                     Will Use


       DX-1673               Video (ENB00708108)                                                                                     Will Use


       DX-1674               Enbridge Meander Bank Riprap Proposal #3- Tier 1 Review Comments Regarding Application Completion and   Will Use
                             Accuracy (ENB00708313 - ENB00708321)

       DX-1675               Photograph (ENB00708550)                                                                                Will Use


       DX-1676               Photograph (ENB00708551)                                                                                Will Use

       DX-1677               Photograph (ENB00708552)                                                                                Will Use




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Date       Identification                                                 Description              Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1678               Photograph (ENB00708553)                                              Will Use


       DX-1679               Photograph (ENB00708554)                                              Will Use


       DX-1680               Photograph (ENB00708555)                                              Will Use

       DX-1681               Photograph (ENB00708556)                                              Will Use


       DX-1682               Photograph (ENB00708557)                                              Will Use


       DX-1683               Photograph (ENB00708558)                                              Will Use


       DX-1684               Photograph (ENB00708559)                                              Will Use


       DX-1685               Photograph (ENB00708560)                                              Will Use


       DX-1686               Photograph (ENB00708561)                                              Will Use


       DX-1687               Photograph (ENB00708562)                                              Will Use


       DX-1688               Photograph (ENB00708563)                                              Will Use

       DX-1689               Photograph (ENB00708564)                                              Will Use


       DX-1690               Photograph (ENB00708565)                                              Will Use


       DX-1691               Photograph (ENB00708566)                                              Will Use


       DX-1692               Photograph (ENB00708567)                                              Will Use


       DX-1693               Photograph (ENB00708568)                                              Will Use


       DX-1694               Photograph (ENB00708569)                                              Will Use


       DX-1695               20200303102040.pdf (BRB101138 - BRB101139)                            Will Use


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Date       Identification                                                 Description              Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1696               Annotated Photographs (ENB00288880 - ENB00288883)                     Will Use


       DX-1697               Annotated Photograph (ENB00288891)                                    Will Use


       DX-1698               Annotated Photograph (ENB00288893)                                    Will Use

       DX-1699               Photograph (ENB00704785)                                              Will Use


       DX-1700               Photograph (ENB00704861)                                              Will Use


       DX-1701               Photograph (ENB00704886)                                              Will Use


       DX-1702               Photograph (ENB00705250)                                              Will Use


       DX-1703               Photograph (ENB00705252)                                              Will Use


       DX-1704               Photograph (ENB00705253)                                              Will Use


       DX-1705               Photograph (ENB00705254)                                              Will Use


       DX-1706               Photograph (ENB00705327)                                              Will Use

       DX-1707               Mashkiiziibii Preliminary Report (ENB00706281 - ENB00706287)          Will Use


       DX-1708               Bad River Meander Site Photographs (ENB00706321 - ENB00706324)        Will Use


       DX-1709               Photograph (ENB00706885)                                              Will Use


       DX-1710               Photograph (ENB00706926)                                              Will Use


       DX-1711               Photograph (ENB00706928)                                              Will Use


       DX-1712               Photograph (ENB00706973)                                              Will Use


       DX-1713               Photograph (ENB00707010)                                              Will Use


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Date       Identification                                           Description                    Offers, Objections,
        No.        Witness                                                                         Rulings, Exceptions
       DX-1714               Photograph (ENB00707016)                                              Will Use


       DX-1715               Photograph (ENB00707028)                                              Will Use


       DX-1716               Photograph (ENB00707038)                                              Will Use

       DX-1717               Photograph (ENB00707039)                                              Will Use


       DX-1718               Photograph (ENB00707043)                                              Will Use


       DX-1719               Photograph (ENB00707053)                                              Will Use


       DX-1720               Photograph (ENB00707055)                                              Will Use


       DX-1721               Photograph (ENB00707060)                                              Will Use


       DX-1722               Photograph (ENB00707077)                                              Will Use


       DX-1723               Photograph (ENB00707084)                                              Will Use


       DX-1724               Photograph (ENB00707087)                                              Will Use

       DX-1725               Photograph (ENB00707090)                                              Will Use


       DX-1726               Drone Video (ENB00707293)                                             Will Use


       DX-1727               Drone Video (ENB00707295)                                             Will Use


       DX-1728               Drone Video (ENB00707300)                                             Will Use


       DX-1729               Drone Video (ENB00707301)                                             Will Use


       DX-1730               Drone Video (ENB00707303)                                             Will Use


       DX-1731               Photograph (BRB253344 - BRB253344)                                    Will Use


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Date       Identification                                                    Description                                                   Offers, Objections,
        No.        Witness                                                                                                                 Rulings, Exceptions
       DX-1732               Photograph (BRB253431 - BRB253431)                                                                            Will Use


       DX-1733               NRD Strategy Meetings (BRB254117 - BRB254120)                                                                 Will Use


       DX-1734               Exhibit D - Map of Project Site (BRB255447 - BRB255447)                                                       Will Use

       DX-1735               Drawings: Potato River Road FLOOD DAMAGE REPAIRS - SITE 1 (BRB255522 - BRB255523)                             Will Use


       DX-1736               Bad River Band of Lake Superior Tribe of Chippewa Indians Instructions for Project Review Form (BRB255523 -   Will Use
                             BRB255523)

       DX-1737               Administrative Order on Consent (BRB153377 - BRB153394)                                                       Will Use


       DX-1738               Copy of Scanned File Folder: Strand-2-5.pdf (BRB178345-BRB178460)                                             Will Use


       DX-1739               Copy of Scanned File Folder: Trans Canada (2).pdf (BRB178894-BRB179089)                                       Will Use

       DX-1740               Copy of Scanned File Folder- collection of various documents: Enbridge (3).pdf (BRB184511 -BRB184537)         Will Use


       DX-1741               Copy of Scanned File Folder: Enbridge.pdf (BRB184836-BRB184907)                                               Will Use


       DX-1742               Copy of Scanned File Folder: Pipelines on the Bad River Reservation (BRB187805 -BRB187880)                    Will Use


       DX-1743               Copy of Scanned File Folder: Trans Canada.pdf (BRB188769 -BRB188849)                                          Will Use


       DX-1744               USACE Cover Letter (BRB194839-BRB194857)                                                                      Will Use


       DX-1745               Bad River Meander Rip Rap Stabilization Project0 MNRD Project Review Form Responses (BRB209573 -BRB209590)    Will Use


       DX-1746               Leoso Notes (BRB238412 )                                                                                      Will Use


       DX-1747               Questions for NNG Brushing Project (BRB238413 )                                                               Will Use

       DX-1748               Great Lakes Gas Transmission Company Bad River Project - collection of documents (BRB251104 - BRB251121)      Will Use




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Date       Identification                                                      Description                                                           Offers, Objections,
        No.        Witness                                                                                                                           Rulings, Exceptions
       DX-1749               Potato River Road Flood Damage Repairs - Site 1 (BRB251178 - BRB251226)                                                 Will Use


       DX-1750               Exhibit A: Conditional Certification- Clean Water Act Section 401 Certification of the Army Corps of Engineers Permit   Will Use
                             for the Bad River Potato River Road Project (BRB251235 - BRB251236)

       DX-1751               Potato River Road Site 1 (Upper Vaughn) 2020-07-20 (BRB251257 - BRB251259)                                              Will Use


       DX-1752               Potato River Road Project Map (BRB251276 - BRB251276)                                                                   Will Use


       DX-1753               Strategy Meeting Notes starting with 11/06/2020 (BRB251312 - BRB251671)                                                 Will Use


       DX-1754               Ben Lee, PE Bio (Printout From The Fish Creek Restoration Website)                                                      Will Use


       DX-1755               Aquatic Habitat Enhancement (Printout From The Fish Creek Restoration Website)                                          Will Use


       DX-1756               River Bank and Bluff Stabilization (Printout From The Fish Creek Restoration Website)                                   Will Use

       DX-1757               Picture Of Mr. Lee In The River                                                                                         Will Use


       DX-1758               Picture of log jam                                                                                                      Will Use


       DX-1759               Bad River Meander Rip Rap Stabilization Project - MNRD Project Review Form Responses (BRB209573 -                       Will Use
                             BRB209590)

       DX-1760               Slope 18 Improvements - MNRD Project Review Form Responses (BRB212460 - BRB212463)                                      Will Use


       DX-1761               Map (ENB00708602)                                                                                                       Will Use

       DX-1762               Photograph with Annotations (ENB00708652)                                                                               Will Use


       DX-1763               Meander Critical Span Length Calculation Spreadsheet (Deb Tetteh -Wayoe Exhibit 8)                                      Will Use


       DX-1764               Cross Section of Pipe                                                                                                   Will Use


       DX-1765               Monument Used at Meander                                                                                                Will Use




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Date       Identification                                                       Description                                                        Offers, Objections,
        No.        Witness                                                                                                                         Rulings, Exceptions
       DX-1766               Everyday products that use crude oil/propane                                                                          Will Use


       DX-1767               Everyday products that use petrol                                                                                     Will Use


       DX-1768               Riprap Rock                                                                                                           Will Use

       DX-1769               Summary Exhibit- land ownership and acquisition history of 12 allotted parcels                                        Will Use


       DX-1770               Summary Exhibit- Enbridge’s proposed meander projects and Band’s responses and rejections                             Will Use


       DX-1771               Summary Exhibit- Enbridge’s proposed Slope 18 projects and Band’s responses and rejections                            Will Use


       DX-1772               Summary Exhibit- Band’s proposed Clean Water Act violations                                                           Will Use


       DX-1773               Summary Exhibit- Band refusals to grant access to the Reservation                                                     Will Use


       DX-1774               Summary Exhibit- use of rip rap on the Reservation by persons/entities other than Enbridge                            Will Use


       DX-1775               Summary Exhibit-other pipelines/linear infrastructure on the reservation and whether or not the BIA easements have    Will Use
                             expired.

       DX-1776               Summary Exhibit- Chart summarizing all of the integrity programs Enbridge runs to keep and results of the integrity   Will Use
                             programs




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